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      Don't Do As I Say Or As I Do - State Constitutional Law In The Texas Supreme Court
         I.       Introduction
        On the evening of June 24, 1993, sixteen-year-old Elizabeth Pena and fourteen-year-old
Jennifer Ertman were returning to their Houston home when they encountered Jose Ernesto
Medellin, a Texas resident who was born in Mexico but lived in the United States most of his life
and spoke, read, and wrote fluent English. After a failed attempt to engage Elizabeth in
conversation, Medellin grabbed her, threw her to the ground, robbed her of her cartoon anime
watch, and then participated in the brutal gang rape and murder of both innocent girls. When
Medellin ran into Christina Cantu later the next morning, he bragged that the murder would have
been easier with a gun, recounted his strangulation of one of the girls with a shoelace to Cantu,
and then showed Christina his blood-soaked underwear. Once Christina convinced her husband to
report the heinous crime to the Houston Police Department and Texas Rangers, it was too late.
Texas authorities found both bodies in a state of severe decomposition and were only able to
identify both girls through their dental records.
         Medellin was taken into custody five days later. And shortly thereafter, was read his
Miranda warnings, signed a written waiver of his Fifth Amendment rights, 1 and in a remorseless
fashion told Houston police officers how each girl had pleaded for her life before he killed them.
In the ensuing trial before the Harris County Criminal Court, Medellin was convicted of murder
during the course of a sexual assault - a capital offense in the Lone Star State and, sentenced to
death. Only after the Texas Court of Criminal Appeals, the state's court of last resort for criminal
matters, affirmed the conviction on direct review, did Medellin's lawyers argue for the first time,
in the words of Justice Cardozo, that he ought to go "free because the constable ... [had] blundered"
in not notifying the Mexican consulate that an individual who had spent the vast majority of his
life in Texas was being detained as was ostensibly required by the Vienna Convention on Consular
Relations. Because of ignorance regarding how a single international law claim interacted with
state procedures, after nearly two additional years of litigation before the International Court of
Justice (ICJ) and the Texas Criminal Appeals Court, the Supreme Court finally ended the matter
by holding that Medellin's attorneys had procedurally defaulted on their claims under Texas law
and that neither President Bush nor the ICJ could compel Texas courts to reopen the matter. The
result is that Jose Medellin might well have been a free man today had his lawyers paid attention
to Texas' Rules of Appellate Procedure.
        This is not to suggest that Medellin did not deserve the sentence he received, that the author
personally wishes that Medellin's attorneys would have raised the Vienna Convention claim, or
that the Constitution imposes limits on Texas' ability to execute grown men who rape and murder
helpless teenagers, it is only to indicate that many attorneys on both sides of the political spectrum
may be disserving their clients by not raising state claims out of ignorance. This article explores a
a similar malicious habit in the Texas judiciary and provides a critique of the Texas Supreme
Court's recent embrace of federal rules and standards in State constitutional cases at the expense
of the 1876 Texas Constitution. The piece proceeds in three parts. Part II provides a brief overview

1
  Miranda technically does not purport to be an interpretation of the Fifth Amendment's text but rather imposes a
prophylactic rule to avoid violations of the Self-incrimination Clause. See Dickerson v. United States, 530 U.S. 428
(2000); see also Akhil Reed Amar and Renee B. Letlow, Fifth Amendment First Principles: The Self-Incrimination
Clause, 93 MICH. L. REV. 857 (1995); Yale Kamisar, Can (Did) Congress 'Overrule' Miranda?, 85 CORNELL L.
REV. 883 (2000).

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of State Supreme Court lock-stepping and concludes that the practice is at odds with the political
and legal tradition that prevailed during both the ratification of the Bill of Rights and Fourteenth
Amendment. Part III focuses on the Texas Supreme Court's lockstepping practices in State takings
cases involving oil and gas matters and concludes that the Court's current embrace of federal
doctrine has created a regime that is at odds with maximum mineral production and the desires of
leading political elites in the State. Part IV highlights how the Office of the Texas Solicitor General
can assist the State Supreme Court in avoiding lock-stepping.
    II.      State Supreme Court Lockstepping
    State constitutions are the foundation of American constitutional law. 2 By 1783 - four years
before the federal Constitution was sent to the States for ratification - every state except Rhode
Island and Connecticut had formally adopted a written constitution and the majority of charters
contained declarations of rights. 3 Of course, these State constitutions not only pre-dated their
federal counter-part but also served as the template for several provisions in the national compact. 4
Nowhere was this synergy clearer than during the ratification debate on the need to secure the
same rights against the national government that the People enjoyed against their States. 5 The fact
that the federal Constitution omitted a declaration of rights when it was submitted to the states
"stood in sharp contrast to the state constitutions ... virtually all of which contained explicit                      •:
provisions" to that effect. 6 Thus, when James Madison and his Federalist colleagues eventually
relented and agreed to propose twelve draft articles that would eventually become the bill of
rights, 7 the constitutions of the several states served as a model. 8 Indeed, Donald Lutz has
demonstrated that the Federal Bill of Rights, rather than having its origins in Magna Charta or the
English Bill of Rights of 1689, emerged from state and colonial antecedents. 9
     More specifically, Madison refrained from using the amendments proposed by the state
ratification conventions as a condition for approval of the Constitution because most of those

2
  See generally Gordon Wood, THE CREATION OF THE AMERICAN REPUBLIC, 1776-1787 (1969).
3
  Hans Linde, First Things First: Rediscovering the State's Bills of Rights, 9 U. BALT. L. REV. 379, 381 (1980).
4
  Saul Cornell, THE OTHER FOUNDERS: ANTI-FEDERALISM AND THE DISSENTING TRADITION IN AMERICA, 1788-1828
(1999); see also John Adams, THOUGHTS ON GOVERNMENT (1776); Thomas Jefferson, NOTES ON THE STATE OF
VIRGINIA (1785).
5
  David J. Siemers, RATIFYING THE REPUBLIC 164 (2002).
6
  Seminole Tribe of Florida v. Florida, 517 U.S. 44, 137 (1996) (Souter J., dissenting).
7
  Two of the amendments that the First Congress proposed were not ratified in the late eighteenth century. The first
amendment, which limited congressional pay raises, incidentally enough, was ratified in 1992 as the Twenty-Seventh
Amendment at the behest of an average term paper written by Gregory Watson, a sophomore economics undergraduate
student at the University of Texas at Austin, who served as an aide to Texas State Senator Ric Williamson. Jonathan
D. Mcpike, Merit Pay and Pain: Linking Congressional Pay to Performance, 86 IND. L.J. 335 n.300 (2011); see also
Richard B. Bernstein, The Sleeper Wakes: The History and Legacy of the Twenty-Seventh Amendment, 61 FORDHAM
L. REV. 497, 536 (1992). The second amendment dealt with congressional apportionment. For an enlightening
discussion on implicit ratification time limits on amendment ratification, see Lawrence Tribe, A Constitution We Are
Amending: In Defense ofa Restrained Judicial Role, 97 HARV. L. REV. 433 (1983); Walter Dellinger, The Legitimacy
of Constitutional Change: Rethinking the Amendment Process, 97 Harv. L. Rev. 386, 431 (1983); John R. Vile,
Limitations on the Constitutional Amending Process 2 CONSTITUTIONAL COMMENTARY 373 (1985); Sanford
Levinson, Authorizing Constitutional Text: on the Purported Twenty-Seventh Amendment. 11 CONSTITUTIONAL
COMMENTARY 101 (1994 ); Michael S. Paulsen, A General Theory of Article V: The Constitutional Lessons of the
Twenty-Seventh Amendment, 103 Yale L.J. 677 (1993); 16 Op. O.L.C. 85 (1992).
8
  Donald Lutz, The State Constitutional Pedigree of the U.S. Bill of Rights, 22 PUBLIUS 19 (1992); Leonard Levy,
ORIGINS OF THE BILL OF RIGHTS 1-11 ( 1999).
9
  Donald Lutz, THE ORIGINS OF AMERICAN CONSTITUTIONALISM (1988).

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provisions either denied power to the federal government or required a two-thirds vote to exercise
certain prerogatives in Article I §8. 10 Among "the colonial documents that stood as background to
the state bills of right [were] the New York Charter of Liberties and Privileges (1683), the Laws
and Liberties of New Hampshire (1682), Penn's Charter of Liberties (1682), the General Laws and
Liberties of Connecticut (1672), the Maryland Toleration Act (1649), the Laws and Liberties of
Massachusetts (164 7), and the Massachusetts Body of Liberties (1641 ). " 11 (See Tables 1 and 2)
                                                        Table 1
                                  Prevalence of Rights bv Number of States
         Right           Number of          Right         Number of         Right                     Number of
                           States                           States                                      States
     Free Exercise           13             Godin             6           Property                        3
                                          Preamble                        Escheats
       Civil Jury            12          Ceremonial           6        Imposition of                     3
                                                                                                             -
                                            Deism                       Martial Law
     Criminal Jury           11         Ex Post Facto         6           Debtors'                       3
                                                                           Prison
      Free Press             10            Bills of           6         Emigration                       3
                                          Attainder
      Excessive              10            Takings            6             Equal                        3
        Fines                                                            Protection
       Reform                9              Legal             6          Inviolable                      3
     Government                           Recourse                      Constitution
      Suffrage               9          Trial in State        6            Native                        3
                                                                         American
                                                                           Rights
     Subordinate             9            Legislator          6         Freedom of                       2
      Militarv                         Speech Rights                       Speech
     Due Process             9             Duty to            6         Public Trial                     2
                                       Provide Public
                                           Schools
       Excessive             9              Taxes             6         Retroactive                      2
          Bail                                                          Civil Laws
       Privileges            9           Bear Arms            5         Corruption                       2
          and                                                             of Blood
      Immunities
     Establishment             8           Not to Bear                5             Treason              2
        Clause                                Arms
-        Oaths                8             Religious                 5           Impairment             2
                                           Qualification                          of Contract
         Free                 8
                                   -       Quartering of
                                                               -      5           Monopolies             2
       Elections                             Soldiers


10
     Jack Rakove, JAMES MADISON AND THE CREATION OF THE AMERICAN REPUBLIC (2007).
11
     Donald Lutz, The State Constitutional Pedigree of the U.S. Bill ofRights, 22 PUBLIUS 33 (1992)

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 Power over          8           Impartial or            5       Grand Jury         2
 Government                     Independent
   Offices                          Judge
  Standing           8          Separation of            5        Privilege         2
   Armies                          Powers                        from Civil
                                                                   Process
 Search and          8          Immigration              5         Forced           2
   Seizure                                                        Bondage
  Probable           8             Habeas                4       One Person,         1
    Cause                          Corpus                         One Vote
     Self-           8             Suicide               4        Property           1
Incrimination
Confrontation        8         Proportionality           4      Jury as Fact         1
                                                                   Finder
 Informed of         8           Sanguinary              4        Uniform            1
    Charges                        Laws                         Government
    Cruel &          8           Feudalism               4
    Unusual
    Titles of       8          Privilege from            4
    Nobility                       Arrest
   Power to          8
    Suspend
                                                    II
     Laws
   Assembly         7
 and Petition
    Right to        7
    Counsel
 Speedy Trial       7
     Obtain         7
   Witnesses
    Natural         7
  Inalienable
     Rights
 Fundamental        7
   Principles


                                             Table 2

                             Prevalence of Rig!its by Population                         --
    Right        Number of          Right          Number of        Right        Number of
                 States(%)                         States(%)                     States(%)
 Free Exercise      94             God in              42          Property          15
                                  Preamble                         Escheats
  Civil Jury        92           Ceremonial            60        Imposition of      15
                                   Deism                          Martial Law


                                                4
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                     -                                 52                  25
 Criminal Jury             88   Ex Post Facto                Debtors'
                                                              Prison
  Free Press               78      Bills of
                                                  --   50   Emigration     16
                                                                                --
                                  Attainder       _,
  Excessive                78     Takings              50      Equal       24
    Fines                                                    Protection
                                --
   Reform                  74        Legal             38    Inviolable    25
 Government                       Recourse                  Constitution
   Suffrage                67    Trial in State        50      Native      17
                                                             American
                                                               Rig__hts
 Subordinate               78     Legislator           39   Freedom of     14
  Military                      Speech Rights                  Speech
 Due Process               83      Duty to             41   Public Trial   14
                                Provide Public
                                   Schools
  Excessive                78       Taxes              47   Retroactive    5
     Bail                                                   Civil Laws
  Privileges               74     Bear Arms            44   Corruption     21
     and                                                     of Blood
 Immunities
Establishment              49    Not to Bear           29     Treason      13
   Clause                           Arms
    Oaths
                 -         43     Religious            30   Impairment     18
                                Qualification               of Contract
    Free                   69   Quartering of          36   Monopolies     19
  Elections                       Soldiers
 Power over                69   Impartial or           36   Grand Jury     22
 Government                     Independent
   Offices                          Judge
  Standing                 69   Separation of          53    Privilege     11
   Armies                          Powers                   from Civil
                                                              Process
 Search and                69    Immigration           36     Forced       4
   Seizure                                                   Bondage
  Probable
                 -         69      Habeas              28   One Person,    2
    Cause                          Corous                    One Vote -
     Self-                 69      Suicide             23    Property      11
Incrimination
Confrontation
                         - 69   Proportionality        21   Jury as Fact   2
                                                               Finder
 Informed of               69    Sanguinary            21     Uniform      20
   Charges                         Laws                     Government
   Cruel &                 73    Feudalism             48
   Unusual


                                                  5
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    Titles of       74         Privilege from        31
    Nobility                       Arrest
   Power to         69
    Suspend
     Laws
   Assembly         49
 and Petition
    Right to        43
    Counsel
 Speedy Trial       58
     Obtain         53
   Witnesses
    Natural         59
  Inalienable
     Rights
 Fundamental        68
   Principles


                                          Table 3
                       Distribution of Rights Across the States (1787)
                                                                                             -
            State                   Date of Constitution           Number of Rights in the
                                                                       Constitution
      New Hampshire                         1784                            50
       Pennsylvania                         1776                            48
       Massachusetts                        1780                            48
         Maryland                           1776                            40
      North Carolina                        1776                            38
         Delaware                           1776                            35
         Virginia                           1776                            34
         Georgia                            1777                            19
        New York                            1777                            18
        New Jersey                          1776                            10
      South Carolina                        1778                             9
       Rhode Island                         1663                             8
        Connecticut                         1662                             4


                                          Table 4
                         Distribution of Rights Across States 1787
            State                   Date of Constitution           Number of Rights in
                                                                      Constitution               11

      New Hampshire                         1784                          50
       Pennsylvania                         1776                          48
       Massachusetts                        1780                          48

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         Maryland                                         1776                                       40
       North Carolina                                     1776                                       38
                                                                                                     35
I   - - Delaware                                          1776                                                           -
I         Virginia                                        1776                                       34
                                         '
          Georgia                                         1777                                       19
         New York                                         1777                                       18
        New Jersey                                        1776                                       10
       South Carolina                                     1778                                        9
        Rhode Island                                      1663                                        8
        Connecticut                                       1662                                        4


        Of course, the resulting Bill of Rights, however, only protected a few of these privileges. 12
The ratification of these provisions, however, initially had little, if any, practical effect on the
operation of the governments of the several states, because in the words of Justice Kennedy, "the
framers split the atom of sovereignty." 13 Indeed, as a matter of elementary political theory in the
eighteenth century, most theorists assumed that sovereignty "must reside somewhere in every
political unit [as] a single, undivided, final power higher in legal authority than any other power." 14
This assumption was echoed repeatedly by both James Madison and Alexander Hamilton in The
Federalist No. 9, 15 32, 16 and 51 17 and the Supreme Court's unanimous decision in Barron v. City


12
   For a nice yet sophisticated and scholarly introduction to the topic, see Hugo Black, THE BILL OF RIGHTS (1960);
Learned Hand, THE BILL OF RIGHTS (1958); Akhil Amar, THE BILL OF RIGHTS (1998).
13
   US. Term Limits, Inc. v. Thornton, 514 U.S. 779 (1995) (Kennedy, J., concurring).
14
   Bernard Bailyn, THE IDEOLOGICAL ORIGINS OF THE AMERICAN REVOLUTION 198 (1967).
15
   The Federalist No. 9, at 323 (Clinton Rossiter ed., 1961) ("The definition ofa CONFEDERATE REPUBLIC seems
simply to be "an assemblage of societies," or an association of two or more states into one state. The extent,
modifications, and objects of the federal authority are mere matters of discretion. So long as the separate organization
of the members be not abolished; so long as it exists, by a constitutional necessity, for local purposes; though it should
be in perfect subordination to the general authority of the union, it would still be, in fact and in theory, an association
of states, or a confederacy. The proposed Constitution, so far from implying an abolition of the State governments,
makes them constituent parts of the national sovereignty, by allowing them a direct representation in the Senate, and
leaves in their possession certain exclusive and very important portions of sovereign power. This fully corresponds,
in every rational import of the terms, with the idea ofa federal government").
16
   The Federalist No. 32, at 198 (Clinton Rossiter ed., 1961) ("[A]s the plan of the convention aims only at a partial
union or consolidation, the State governments would clearly retain all the rights of sovereignty which they before had,
and which were not, by that act, EXCLUSIVELY delegated to the United States. This exclusive delegation, or rather
this alienation, of State sovereignty, would only exist in three cases: where the Constitution in express terms granted
an exclusive authority to the Union; where it granted in one instance an authority to the Union, and in another
prohibited the States from exercising the like authority; and where it granted an authority to the Union, to which a
similar authority in the States would be absolutely and totally CONTRADICTORY and REPUGNANT. I use these
terms to distinguish this last case from another which might appear to resemble it, but which would, in fact, be
essentially different; I mean where the exercise of a concurrent jurisdiction might be productive of occasional
interferences in the POLICY of any branch of administration, but would not imply any direct contradiction or
repugnancy in point of constitutional authority").
17
   The Federalist No. 51, at 323 (Clinton Rossiter ed., 1961) ("[i]n a single republic, all the power surrendered by the
people is submitted to the administration of a single government; and the usurpations are guarded against by a division
of the government into distinct and separate departments. In the compound republic of America, the power surrendered
by the people is first divided between two distinct governments, and then the portion allotted to each subdivided
among distinct and separate departments. Hence a double security arises to the rights of the people. The different
governments will control each other, at the same time that each will be controlled by itself').

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ofBaltimore, which rejected the proposition that the federal bill of rights applied against the States,
confirmed this theory of dual sovereignty. 18
          To quote former Oregon Supreme Court Justice Hans Linde, however, today, "most state
courts" including the Texas Supreme Court as this article will demonstrate, "adopt federal
constitutional law as their own. Bowing to the nationalization of constitutional discourse, they
'tend to follow whatever doctrinal vocabulary is used by the United States Supreme Court,
discussed in the law reviews, and taught" in the nation's elite law schools. 19 Thus, Texans do not
claim the right not "to give evidence against" 20 themselves rather they "take the fifth" and expect
"Miranda warnings." 21 And journalists in California "do not invoke their prerogative to "speak,
write and publish ... sentiments on all subjects"22 but demand their First Amendment rights. Indeed,
"it is a fiction too long accepted that provisions in state constitutions textually identical to the Bill
of Rights were intended to mirror their federal counterpart. The lesson of history is otherwise: the
Bill of rights was based upon the corresponding provisions of the first state constitutions, rather
than the reverse." 23 This emphasis on the U.S. Supreme Court at the expense of State courts oflast
resort is not completely unprecedented. Indeed, a State Supreme Court's authority to interpret its
state constitution is limited by the Supreme Court to the extent that the latter's expansive
interpretation of individual rights provisions in the first eight amendments presents the former with
less opportunities to do the same. Indeed, during the zenith of the activist Warren Court, the
"Supreme Court took such complete control of the field that state judges could sit back in the
conviction that their part was simply to await the next landmark decision." 24 The Court's docket
numbers confirm this position as more than half of the docket in the 1960s involved appeals from
state court decisions while only 30% do now. 25
        This obsession with federal constitutional doctrine is all the more puzzling because state
constitutions were intended to act as, and turned out to be, the primary guarantors of individual


18
   Barron v. Baltimore, 32 U.S. 243 (1833); see also Texas v. White, 74 U.S. 700 (1869).
19
   Hans Linde, E Pluribus - Constitutional Theory and State Courts, 18 GA. L. REV. 165 (1984); Employment Div.,
Dep't of Human Res. of State of Or. v. Smith, 485 U.S. 660,665, 108 S. Ct. 1444, 1447, 99 L. Ed. 2d 753 (1988);
Delaware v. VanArsdall, 475 U.S. 673,701, 106 S. Ct. 1431, 1446, 89 L. Ed. 2d 674 (1986) (Stevens, J., dissenting);
Massachusetts v. Upton, 466 U.S. 727, 738, 104 S. Ct. 2085, 2091, 80 L. Ed. 2d 721 (1984) (Stevens, J., concurring);
Miller v. Griffin-Alexander Drilling Co., 873 F.2d 809, 813 (5th Cir. 1989); Ex parte Tucci, 859 S.W.2d 1, 15 n.41
(Tex. 1993); Scott v. State, 80 S.W.3d 184, 193 n.4 (Tex. App. 2002); Succession of Lauga, 624 So. 2d 1156, 1167
(La. 1993); State v. Skok, 318 Conn. 699, 724, 122 A.3d 608, 623 (2015) (Zarella, J ., concurring); State v. Oliver, 188
Ga. App. 47, 55, 372 S.E.2d 256, 263 (1988) (Beasley, J., concurring); Com. v. Gonsalves, 429 Mass. 658, 669, 711
N.E.2d 108, 115 (1999) (Ireland, J., concurring); State v. Saari, 152 Vt. 510,522,568 A.2d 344,351 (1989) (Mahady,
J., concurring); People v. Tis/er, 103 Ill. 2d 226,263,469 N.E.2d 147, 165 (1984) (Goldenhersh, J., dissenting);
20
   TEX. CONST. Art. I §10; In re Medina, 475 S.W.3d 291,294 (Tex. Crim. App. 2015).
21
   See, e.g., L.M. Sixel, The Right to Avoid Self-Incrimination Has Limits On Job, ROUST. CHRON., (October 11,
2002); Speaking of Silence: Court Weakens Miranda Rights, Rules Silence Is No Protection Against Self-
Incrimination, ROUST. CHRON., (June 9, 2010).
22
   CALI. CONST. Art. I §2(a).
23
   People v. Brisendine, 531 P.2d 1099, 113 (Cal.1975); see also Edgewood Independent School District v. Kirby, 777
S. W.2d 391 (Tex.1989); Morath v. The Texas Taxpayer and Student Fairness Coalition, 490 S. W.3d 826 (Tex.2016).
24
   Robert Welsh and Ronald Collins, Taking State Constitutions Seriously, CENTER MAGAZINE ( 1981 ).
25 Brett Gerry, Parity Revisited: An Empirical Comparison ofState and Lower Federal Court Interpretations ofNoll an

v. California Coastal Commission, 23 HARV. J. L. & PUB. POL'Y 233 91999); John Kilwein and Richard Brisbin, US.
Supreme Court Review ofState High Court Decisions - From the Warren through the Rehnquist Courts, 89 Judicature
146, 147 (2005).

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rights for most of American history. 26 The modem-day presumption that similarly worded state
and federal constitutional provisions bear identical meanings stems in large part from the
Fourteenth Amendment's ratification. 27 Although the Fuller, Waite, White, and Taft Courts
adopted constrained readings of the Privileges and Immunities 28 and Equal Protection Clauses 29
while enforcing a robust reading of the Due Process Clause in "right to contract" cases, 30 the

26
    Id.; The Slaughter-House Cases, 83 U.S. 36 (] 873); James Gardner, The Failed Discourse of State
Constitutionalism, 90 MICH. L. REV. 761, 773 (1992); Robert Fitzpatrick, Note, Neither Icarus or Ostrich, State
Constitutions as an Independent Source ofIndividual Rights, 79 N.Y.U. L. REV. 1833 (2004).
27
   McDonald v. City of Chicago, 561 U.S. 742 (2010) (plurality opinion) ("The constitutional Amendments adopted
in the aftermath of the Civil War fundamentally altered our country's federal system).
28
   See, e.g., Civil Rights Cases, 109 U.S. 3 (1883).
29
   See, e.g., Pace v. Alabama, 106 U.S. 583 (1883); Gong Lum v. Rice, 275 U.S. 78 (1927); Giles v. Harris, 189 U.S.
475 (1903); Plessy v. Ferguson, 163 U.S. 537 (1896); Cumming v. Richmond County Board of Education, 175 U.S.
528 (1899).
30
   Lochner v. New York, 198 U.S. 45 (1905); see also, John E Nowak and Ronald Rotunda, TREATISE ON
CONSTITUTIONAL LAW: SUBSTANCE AND PROCEDURE §15.2 (2007); Edwards v. Kearzey, 96 U.S. 595,596, 24 L. Ed.
793 (1877); Allgeyer v. State of La., 165 U.S. 578, 583, 17 S. Ct. 427, 429, 41 L. Ed. 832 (1897); United States v.
Dewitt, 76 U.S. 41, 42, 19 L. Ed. 593 (1869); Catting v. Godard, 183 U.S. 79, 101, 22 S. Ct. 30, 39, 46 L. Ed. 92
(1901); Dobbinsv. City ofLos Angeles, 195 U.S. 223, 25 S. Ct. 18, 49 L. Ed. 169 (1904); McLean v. State ofArkansas,
211 U.S. 539, 29 S. Ct. 206, 53 L. Ed. 315 (1909); Truax v. Corrigan, 257 U.S. 312, 42 S. Ct. 124, 66 L. Ed. 254
(1921); State of Missouri ex rel. Sw. Bell Tel. Co. v. Pub. Serv. Comm'n of Missouri, 262 U.S. 276, 43 S. Ct. 544, 67
L. Ed. 981 (1923); Charles Wolff Packing Co. v. Court of Indus. Relations of State of Kansas, 262 U.S. 522, 526, 43
S. Ct. 630,632, 67 L. Ed. 1103 (1923); Shafer v. Farmers' Grain Co. of Embden, 268 U.S. 189, 45 S. Ct. 481, 69 L.
Ed. 909 (1925); Tyson & Bro.-United Theatre Ticket Offices v. Banton, 273 U.S. 418, 47 S. Ct. 426, 71 L. Ed. 718
(1927); Ribnik v. McBride, 277 U.S. 350, 48 S. Ct. 545, 72 L. Ed. 913 (1928); Williams v. Standard Oil Co. of
Louisiana, 278 U.S. 235, 49 S. Ct. 115, 73 L. Ed. 287 (1929); St. Louis Cotton Compress Co. v. State of Arkansas,
260 U.S. 346, 347, 43 S. Ct. 125, 125, 67 L. Ed. 297 (1922); New York Life Ins. Co. v. Head, 234 U.S. 149, 34 S. Ct.
879, 58 L. Ed. 1259 (1914); State of Louisiana ex rel. Elliott v. Jumel, 107 U.S. 711, 2 S. Ct. 128, 27 L. Ed. 448
(1883); Fisk v. Police Jury ofJefferson, 116 U.S. 131, 135, 6 S. Ct. 329,331, 29 L. Ed. 587 (1885); Port ofMobile v.
Watson, 116 U.S. 289, 296, 6 S. Ct. 398,402, 29 L. Ed. 620 (1886); Seibert v. United States, 122 U.S. 284, 7 S. Ct.
1190, 30 L. Ed. 1161 (1887); Bank ofMinden v. Clement, 256 U.S. 126, 41 S. Ct. 408, 65 L. Ed. 857 (1921); but see
Munn v. People of State of Illinois, 94 U.S. 113, 114, 24 L. Ed. 77 (1876); Muller v. State of Oregon, 208 U.S. 412,
28 S. Ct. 324, 52 L. Ed. 551 (1908); Block v. Hirsh, 256 U.S. 135, 41 S. Ct. 458, 65 L. Ed. 865 (1921); Bos. Beer Co.
v. State of Massachusetts, 97 U.S. 25, 24 L. Ed. 989 (1877) Ruggles v. People of State ofIllinois, 108 U.S. 526, 2 S.
Ct. 832, 27 L. Ed. 812 (1883); Stone v. Farmers' Loan & Tr. Co., 116 U.S. 307, 6 S. Ct. 334, 29 L. Ed. 636 (1886);
Morgan's Louisiana & T. R. & S.S. Co. v. Bd. of Health of State ofLouisiana, 118 U.S. 455, 6 S. Ct. 1114, 30 L. Ed.
237 (1886); Johnson v. Chicago & P. Elevator Co., 119 U.S. 388, 7 S. Ct. 254, 30 L. Ed. 447 (1886); Dow v.
Beidelman, 125 U.S. 680, 8 S. Ct. 1028, 31 L. Ed. 841 (1888); Kiddv. Pearson, 128 U.S. 1, 9 S. Ct. 6, 8, 32 L. Ed.
346 (1888); Georgia R.R. & Banking Co. v. Smith, 128 U.S. 174, 9 S. Ct. 47, 48, 32 L. Ed. 377 (1888); Mugler v.
Kansas, 123 U.S. 623, 8 S. Ct. 273, 295, 31 L. Ed. 205 (1887); Budd v. People, 143 U.S. 517, 12 S. Ct. 468, 36 L. Ed.
247 (1892); Brass v. N. Dakota ex rel. Stoeser, 153 U.S. 391, 14 S. Ct. 857, 860, 38 L. Ed. 757 (1894); Louisville &
N.R. Co. v. Kentucky, 161 U.S. 677, 16 S. Ct. 714, 716, 40 L. Ed. 849 (1896); Minneapolis & St. L.R. Co. v. State of
Minnesota, 186 U.S. 257, 22 S. Ct. 900, 46 L. Ed. 1151 (1902); N. Sec. Co. v. United States, 193 U.S. 197, 24 S. Ct.
436, 48 L. Ed. 679 (1904); Chicago, B. & Q.R. Co. v. McGuire, 219 U.S. 549, 31 S. Ct. 259, 55 L. Ed. 328 (1911);
Lindsley v. Nat. Carbonic Gas Co., 220 U.S. 61, 31 S. Ct. 337, 55 L. Ed. 369 (1911); Mondou v. New York, N.H. &
H.R. Co., 223 U.S. 1, 32 S. Ct. 169, 56 L. Ed. 327 (1912); Minnesota Rate Cases, 230 U.S. 352, 33 S. Ct. 729, 57 L.
Ed. 1511 (1913); At!. Coast Line R. Co. v. City of Goldsboro, 232 U.S. 548, 34 S. Ct. 364, 58 L. Ed. 721 (1914);
German All. Ins. Co. v. Lewis, 233 U.S. 389, 34 S. Ct. 612, 58 L. Ed. 1011 (1914); Michigan Cent. R. Co. v. Michigan
R. Comm'n, 236 U.S. 615, 35 S. Ct. 422, 59 L. Ed. 750 (1915); Chicago & A.R. Co. v. Tranbarger, 238 U.S. 67, 35 S.
Ct. 678, 59 L. Ed. 1204 (19 I 5); Rast v. Van Deman & Lewis Co., 240 U.S. 342, 36 S. Ct. 370, 60 L. Ed. 679 (1916);
New York Cent. R. Co. v. White, 243 U.S. 188, 37 S. Ct. 247, 61 L. Ed. 667 (1917); Union Dry Goods Co. v. Georgia
Pub. Serv. Corp., 248 U.S. 372, 39 S. Ct. 117, 63 L. Ed. 309 (1919); Producers' Transp. Co. v. R.R. Comm'n a/State
of Cal., 251 U.S. 228, 40 S. Ct. 131, 64 L. Ed. 239 (1920); Bd. a/Trade a/City of Chicago v. Olsen, 262 U.S. 1, 43
S. Ct. 470,475, 67 L. Ed. 839 (1923); State of Washington ex rel. Stimson Lumber Co. v. Kuykendall, 275 U.S. 207,

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gradual acceptance of the "selective incorporation" doctrine in the mid-twentieth century enforced
most of the provisions in the first ten amendments against states and their instrumentalities. 31 But
while selective incorporation and the Supremacy Clause set a floor for state protection of
constitutional rights, they do not dictate that State Supreme Courts must interpret provisions in
their state constitutions in lockstep with their federal counter-parts - even when the clauses are
identically worded. 32
        The hierarchical nature of the legal profession, for ill or good, has exacerbated this
dilemma. In the words of New Hampshire Supreme Court Justice, Charles Douglas, law clerks
working for State Supreme Court Justices are often drawn from a handful of institutions where,
outside of torts, contracts, and property- which tend to feature a steady diet of cases from the New
York Court of Appeals, California Supreme Court, or Court of Queen's Bench, they "have only
been taught or are familiar with federal cases." As the geographically diverse class, "fans out after
graduation" to positions of influence in their home states, the "federal bias spreads." This lack of


48 S. Ct. 41, 72 L. Ed. 241 (1927); Holden v. Hardy, 169 U.S. 366, 18 S. Ct. 383, 42 L. Ed. 780 (1898); Hopkins v.
United States, 171 U.S. 578, 586, 19 S. Ct. 40, 43, 43 L. Ed. 290 (1898); United States v. Joint-Traffic Ass'n, 171 U.S.
505, 509, 19 S. Ct. 25, 27, 43 L. Ed. 259 (1898); Austin v. State of Tennessee, 179 U.S. 343, 343, 21 S. Ct. 132, 45 L.
Ed. 224 (1900); Williams v. Fears, 179 U.S. 270, 21 S. Ct. 128, 45 L. Ed. 186 (1900); W W Cargill Co. v. State of
Minnesota, 180 U.S. 452, 21 S. Ct. 423, 45 L. Ed. 619 (1901); Nuttingv. Com. of Massachusetts, 183 U.S. 553,558,
22 S. Ct. 238,240, 46 L. Ed. 324 (1902); Booth v. People of State of Illinois, 184 U.S. 425, 22 S. Ct. 425, 46 L. Ed.
623 (1902); Patterson v. Eudora, 190 U.S. 169, 23 S. Ct. 821, 47 L. Ed. 1002 (1903); Atkin v. State of Kansas, 191
U.S. 207, 24 S. Ct. 124, 48 L. Ed. 148 (1903); Jacobson v. Commonwealth of Massachusetts, 197 U.S. 11, 25 S. Ct.
358, 49 L. Ed. 643 (1905); Nw. Nat. Life Ins. Co. v. Riggs, 203 U.S. 243, 27 S. Ct. 126, 51 L. Ed. 168 (1906); Berea
Coll. v. Commonwealth of Kentucky, 211 U.S. 45, 29 S. Ct. 33 , 53 L. Ed. 81 (1908); Prudential Ins. Co. of Am. v.
Cheek, 259 U.S. 530, 42 S. Ct. 516, 66 L. Ed. 1044 (1922); U.S. ex rel. Milwaukee Soc. Democratic Pub. Co. v.
Burleson, 255 U.S. 407, 41 S. Ct. 352, 65 L. Ed. 704 (1921); Munday v. Wisconsin Tr. Co., 252 U.S. 499, 40 S. Ct.
365, 64 L. Ed. 684 (1920); Provident Sav. Life Assur. Soc. v. Commonwealth ofKentucky, 239 U.S. 103, 36 S. Ct. 34,
60 L. Ed. 167 (1915); Equitable Life Assur Soc of U.S. v. Pennsylvania, 238 U.S. 143, 35 S. Ct. 829, 59 L. Ed. 1239
(1915); At!. Coast Line R. Co. v. Riverside Mills, 219 U.S. 186, 31 S. Ct. 164, 55 L. Ed. 167 (1911); Bothwell v.
Buckbee-Mears Co., 275 U.S. 274, 48 S. Ct. 124, 72 L. Ed. 277 (1927); Highland v. Russell Car & Snowplow Co.,
279 U.S. 253, 49 S. Ct. 314, 73 L. Ed. 688 (1929); Nw. Fertilizing Co. v. Vil!. of Hyde Park, 97 U.S. 659, 24 L. Ed.
1036 (1878); Kirtland v. Hotchkiss, 100 U.S. 491, 492, 25 L. Ed. 558 (1879); Connecticut Mut. Life Ins. Co. v.
Cushman, 108 U.S. 51, 2 S. Ct. 236, 27 L. Ed. 648 (1883); Denny v. Bennett, 128 U.S. 489, 9 S. Ct. 134, 32 L. Ed.
491 (1888); Oshkosh Waterworks Co. v. City of Oshkosh, 187 U.S. 437, 23 S. Ct. 234, 47 L. Ed. 249 (1903). Similar
results were accomplished through the use of the dormant commerce clause, takings clause, sovereign immunity
doctrine, and constructions of the Fourteenth Amendment that treated corporations as natural persons. See Hall v. De
Cuir, 95 U.S. 485, 24 L. Ed. 547 (1877); Hannibal & St. JR. Co. v. Husen, 95 U.S. 465,466, 24 L. Ed. 527 (1877);
Antoni v. Greenhaw, 107 U.S. 769, 2 S. Ct. 91, 27 L. Ed. 468 (1883); Wabash, St. L. & P. Ry. Co. v. State ofIllinois,
118 U.S. 557, 7 S. Ct. 4, 30 L. Ed. 244 (1886); Philadelphia & S. M S.S. Co. v. Com. of Pennsylvania, 122 U.S. 326,
7 S. Ct. 1118, 30 L. Ed. 1200 (1887); Santa Clara Cty. v. S. Pac. R. Co., 118 U.S. 394, 6 S. Ct. 1132, 30 L. Ed. 118
(1886); Covington & C. Bridge Co. v. Commonwealth of Kentucky, 154 U.S. 204, 14 S. Ct. 1087, 1088, 38 L. Ed. 962
(1894); Missouri Pac. Ry. Co. v. Nebraska, 164 U.S. 403, 17 S. Ct. 130, 41 L. Ed. 489 (1896); John A. Carton & Co.
v. Illinois Cent. R. Co., 59 Iowa 481, 13 N.W. 67 (1882).
31
    William Domnarski, THE GREAT JUSTICES, 1941-54: BLACK, DOUGLAS, FRANKFURTER, AND JACKSON IN
CHAMBERS XXX (2006); Cantwell v. Connecticut, 310 U.S. 296 (1940); Everson v. Board of Education, 330 U.S. 1
(1947); Gitlow v. New York, 268 U.S. 652 (1925); Near v. Minnesota, 283 U.S. 697 (1931); DeJonge v. Oregon, 299
U.S. 353 (1937); Edwards v. South Carolina, 372 U.S. 229 (1963); Kerv. California, 374 U.S. 23 (1963); Hurtado v.
California, 110 U.S. 516 (1884); Benton v. Maryland, 395 U.S. 784 (1969); Malloy v. Hogan, 378 U.S. 1 (1964);
Chicago, Burlington & Quincy Railroad Co. v. City of Chicago, 166 U.S. 226 (1897); In re Oliver, 333 U.S. 257
(1948); Duncan v. Louisiana, 391 U.S. 145 (1968); Pointer v. Texas, 380 U.S. 400 (1965); Argersinger v. Hamlin,
407 U.S. 25 (1972).
32
   Barry Latzer, Four-Half Truths About State Constitutional Law, 65 TEMP. L. REV. 1123 (1992).

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attention is particularly puzzling given that research and argument novelty is often seen as an
indispensable criterion for elevation to tenure in all of the nation's elite law schools - many of
which each employ several faculty members who collectively have written all there might be to
write from every conceivable ideological direction on constitutional law. Such a pattern is
counterintuitive because an article exploring the ninth tier of review in equal protection cases that
has ostensibly eluded members of the bench and bar is likely less certain to catch the attention of
a tenure committee than a comprehensive analysis of a heretofore neglected state constitutional
provision that uses all of the traditional modalities to conclude that the clause offers more or less
protection than its federal counterpart? 33 Finally, the current position of the several State courts is
also baffling because "a lawyer today representing someone who claims some constitutional
protection and who does not argue that the state constitution provides that protection is skating on
the edge of malpractice. " 34 This is particularly the case because §3 87 of the Second Restatement
of Agency and Canon 7 of the American Bar Association's Model Rules of Professional Conduct
compel lawyers to represent their clients zealously "within the bounds of the law. " 35 Comment 1
to Rule 1.3 of the Model Rules of Professional Conduct, moreover, obliges lawyers to "act with
commitment and dedication to the interests of the client."36 However, given that lawyers litigating
constitutional issues in state courts rarely, if ever, make claims based on the state constitution -
even in matters where the two closest provisions on point have been interpreted differently - state
courts could simply remedy the matter by sanctioning advocates who gloss over the claim in their
briefs; indeed, the Vermont and Florida Supreme Courts already have. 37
        The Fourteenth Amendment thesis, though, has limited explanatory capacity because it
assumes that State Supreme Courts only defer to Supreme Court precedent when interpreting state
constitutional provisions that have a federal analogue. State courts of last resort, though, have
adopted the federal analysis when interpreting structural constitutional provisions that the selective
incorporation doctrine purportedly left lie sleeping. To take just one example, consider the political
question doctrine a requirement that most first year law students are taught is a sui generis feature
of Article Ill's Case and Controversy Clause and a product of the fact that, in the unforgettable
words of Yale Law School Professor Harold Koh, "federal courts are courts of limited subject
matter jurisdiction."38 The doctrine is usually reserved for peculiar disputes that, ifresolved, would
produce tension between the three branches such as where there is a "textually demonstrable
constitutional commitment of the issue to a coordinate political department;" 39 or "a lack of
judicially discoverable and manageable standards for resolving" 40 a matter; or it is impossible to
decide a dispute "without an initial policy determination" 41 unfit for an Article III court's
resolution; or unfeasible to resolve the matter "without expressing ... the respect due coordinate
branches of government; or an unusual need for unquestioning adherence to a political decision ... ;
or the potentiality of embarrassment from multifarious pronouncements by various departments


33
   Phillip Bobbitt, CONSTITUTIONAL FATE (1982).
34
   Robert Welsh and Ronald Collins, Taking State Constitutions Seriously, 14 The Center Mag. 6, 12 (Sept/Oct. 1981 ).
35
   RESTATEMENT (SECOND) OF AGENCY §387 (1957); MODEL CODE OF PROFESSIONAL RESPONSIBILITY Canon 7
(1981).
36
   MODEL RULES OF PROFESSIONAL CONDUCT 1.3 cmt. 1 (1995).
37
   State v. Jewett, 500 A.2d 233 (Vt. 1985); Traylorv. State, 596 So.2d 957 (Fla. 1992).
38
   Louis Henkin, Is There a "Political Question" Doctrine?, 85 YALE L.J. 597 (1976).
39
   Nixon v. United States, 506 U.S. 224 (1993).
40
   Luther v. Borden, 48 U.S . 1 (1849); but see Gaffney v. Cummings, 412 U.S. 735 (1973).
41
   Coleman v. Miller, 307 U.S. 433 (1939).

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on one question." 42 Some State Supreme Courts, though, have adopted similar rules for their
constitutions even though their constitutions mention no such doctrine and state courts are tribunals
of general, not limited, jurisdiction. 43 This difference is reflected in, among other things, the
practice of State Supreme Courts in North Carolina, Alabama, Florida and other states of rendering
advisory opinions or adopting laxer standing requirements than Article III imposes. 44 Other state
courts have heavily relied upon the Supreme Court's reading of the federal Speech and Debate
Clause45 and Presentment Clause46 in interpreting corresponding state constitutional provisions
without pausing to reflect on the merits of the theories of political economy that the doctrines
presuppose. 47
         While it is true that the U.S. Constitution secures a common degree of protection for
citizens of all fifty states, the Supreme Court has appropriately chosen to exercise restraint in
adopting and enforcing broad readings of the bill of rights and Fourteenth Amendment. This is so
for at least two reasons. First, in the words of Justice Brandeis "[i]t is one of the happy incidents
of the federal system that a single courageous state may, if its citizens choose, serve as a laboratory;
and try novel social and economic experiments without risk to the rest of the country."48 Supreme
Court precedent, though, "is binding on all jurisdictions within the union." 49 As Sixth Circuit Judge
Jeffery Sutton has noted, once the Court settles a matter, further experimentation with potentially
rewarding alternative approaches in other jurisdictions is foreclosed. so Indeed, state criminal law

42
   Bakerv. Carr, 369 U.S. 186,217 (1962); Schlesinger v. Reservists Committee to Stop the War, 418 U.S. 208 (1974).
43
   Aldinger v. Howard, 427 U.S. 1 (1976); Brown v. McDaniel, 244 Ark. 362 (1968); Witten v. Sternberg, 475 S.W.2d
496 (Ky. 1971); Leslie v. Griffin, 25 S.W.2d 820 (Tex. Civ. App. 1930); Prudential- Bache Sec., Inc. v. Commissioner
of Revenue, 412 Mass. 243, 588 N.E.2d 639, 642 (1992); Bennett v. Board of Trustees for Univ. of N. Colorado, 782
P.2d 1214, 1216 (Colo.App.1989), cert. denied, 797 P.2d 748 (Colo.1990); Pace Constr. Co. v. Missouri Highway
and Transp. Comm'n, 759 S.W.2d 272,274 (Mo.App.1988); Terracor v. Utah Bd. of State Lands & Forestry, 716
P.2d 796, 798-99 (Utah 1986); State by McClure v. Sports and Health Club, Inc., 370 N.W.2d 844, 850 (Minn.1985),
appeal dism'd, 478 U.S. 1015, 106 S.Ct. 3315, 92 L.Ed.2d 730 (1986); Smith v. Allstate Ins. Co., 483 A.2d 344,346
(Me.1984);Ardmare Constr. Co. v. Freedman, 191 Conn. 497,467 A.2d 674,675 n. 4, 676-77 (1983); Horn v. County
a/Ventura, 24 Cal.3d 605, 156 Cal.Rptr. 718,726,596 P.2d 1134, 1142 (1979); Stewartv. Board a/County Comm'rs
ofBig Horn County, 175 Mont. 197,573 P.2d 184, 186, 188 (1977); State ex rel. Albritton v. Moore, 238 La. 728, 116
So.2d 502, 504 (1959).but see Ex parte Rodriguez, 39 Tex. 705 (1874).
44
   Advisory Opinion in re Homesteads and Exemptions of 1869, 227 N.C. 715, 43 S.E.2d 73 (1947); FLA. CONST.
art. IV,§ l(c); N. Broward Hosp. Dist. v. Fornes, 476 So.2d 154, 155 (Fla.1985); Alabama Alcoholic Beverage Control
Boardv. Henri-Duval Winery, L.L.C., 890 So.2d 70 (Ala.2003); Mangum v. Raleigh Board ofAdjustment, 362 N.C.
640, 642, 669 S.E.2d 279, 282 (2008); In re Opinions of the Justices, In re Amend. to Sec. 93 of the Const., No. 1, 96
So. 487 (Ala. 1923); but see Alamo Express, Inc. v. Union City Transfer, 309 S.W.2d 815, 827-28 (Tex. 1958); Gattis
v. Duty, 349 S.W.3d 193,203 (Tex. App. 2011); Louisville/Jefferson Cty. Metro Gov't v. Metro Louisville Hosp. Coal.,
Inc., 297 S.W.3d 42, 44 (Ky. Ct. App. 2009)
45
   Joseph Blocher, Reverse Incorporation ofState Constitutional Law, 84 S. CAL. L. REV. 323 (2011)
46 Id.
47
   Jessen Assocs., Inc. v. Bullock, 531 S.W.2d 593 (Tex. 1975); FLA. CONST. art. III,§ 8(b); ALA. CONST. art. V
§125.
48
   New State Ice Co. v. Liebmann, 285 U.S. 262, 311 (1932) (Brandeis J., dissenting).
49
   Traylor v. State, 596 So.2d 957 (Fla. 1992).
50
   Jeffery Sutton, 51 IMPERFECT SOLUTIONS: STATES AND THE MAKING OF AMERJCAN CONSTITUTIONAL LAW 174
(2018). While many scholars have endorsed theories of federalism that are predicated on the assumption that mobile
populations that can leave jurisdictions with policies that they disagree with, Yale Law School Professor Susan Rose-
Ackerman has demonstrated that federalism would still have a significant impact on State policy formation even if
one were to presume that only capital was mobile. See Susan Rose-Ackerman, Does Federalism Matter? Political
Choice in a Federal Republic, 89 J.POL.ECON. 152 (1981). The theory here is that, in a unitary system of government,
a law will pass if and only if

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scholars have elaborated on the benefits of under-enforcing constitutional commands and statutory
provisions in other contexts. While under-enforcement can be the product of a large offender
class, 51 limited resources for minor offense prosecution, 52 the target demographics' exclusion
from, or inclusion in, the governing coalition, 53 the lamentable but inevitable over-breath of many
criminal codes, or police training, 54 in the constitutional context, the Court's rightful unwillingness
to exercise jurisdiction over a contested matter such as assisted suicide might reflect the morally
ambiguous status of the practice. 55 Third, because Supreme Court precedent applies with equal
force through the fifty diverse and independent states, this uniformity may fail to take account of
regional differences that bear on a rule's or standard's ability to further the attainment of pareto-
optimality in the state. 56 To take one example, consider the special English common law rule
applicable to straying farm animals and its rejection in western states such as Texas and California.
It is difficult to use fencing to prevent cattle, sheep, and other domestic farm animals from straying
onto adjacent parcels. These straying animals can and do inflict considerable damage on
neighboring property particularly in areas of dense cultivation. In states such as Maine, New
Hampshire, or Massachusetts, however, the alternative to fencing is costly because barrier erection
would often pose prohibitive costs as abandoning fruit, berry, or vegetable cultivation that would
otherwise take place on the land would be impractical and ranching is not a primary source of
income in these regions. Under these conditions, a rule of strict liability is optimal because it forces




Where y is the status quo in a unitary system, x is a proposed legislative change, R is the binary relation of weak
preference, and N signifies the number of people in each subset. The math for securing the passage of legislation is
different,,though, for a federal system as a law will pass only if:



People living in x-type states have xRz or z(G)Rx or both. Those in set B(G) have xRw(G), w(G) Rx or both. In a unitary
system, voters have xRy, yRx or both. See the table below for a matrix of possible policy preference combinations.

                               xRz(Q}                Z(G)Rx                   xRw(G)                 W(G)Rx
        xRy                                     A3(positive spill-ins                           B3(positive spill-ins
                             A1 (favor x)                                   B1(favorx)
                                                       tox)                                            to x)
        yRx            A2(negative spill-ins                            B2(negative spill-ins
                                                   A4 (oppose x)                                    B4(oppose x)
~
                              to x)                                            to x)

Thus

    (3) N(A3 U B3)   :S;~   N(A2 U B2).

Or in other words, the existence of states and cities that regulate activities may cause some voters to favor central
control of an activity that they would prefer to be unregulated under other conditions.
51 Margaret Raymond, Penumbra/ Prosecution, 105 COLOM. L. REV. 583 (2005).
52 Samuel Buell, The Upside Over Overbreadth, 83 N .Y.U. L. REV. 1491 (2008).
53 John Hart Ely, DEMOCRACY AND DISTRUST: A THEORY OF JUDICIAL REVIEW 73-105 ( 1980).
54 See Irving Zelchner, Book Review, NEW JERSEY LAWYER 51 ( 1981 ).
55 See, e.g., Alexander Bickel, The Supreme Court, 1960 Term - Foreword: The Passive Virtues, 75 HARV. L. REV.
40 (1961); See Confirmation Hearing on the Nomination ofSamuel A. Alita, Jr. to be an Associate Justice of
the Supreme Court of the United States Before the S. Comm. on the Judiciary, 109th Cong. 381 (2006) (statement of
Samuel A. Alito).
56 San Antonio Independent School District v. Rodriguez, 411 U.S. I (1973).

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the owner to consider either reducing the size of her herd or posting a 'GTT sign' and moving to
an area with less cultivation. 57 Conditions were different, however, in the West. Because livestock
raising was not a marginal activity and millions of acres were unsuited for cultivation in the
absence of sophisticated irrigation systems, fencing construction was cheaper and the state courts
accordingly adopted the negligence standard for tort suits involving straying cattle. 58
Decentralization provides additional gains because only a few states are sufficiently large to
warrant the application of a similar "federalism discount" in the decisional process. 59 Indeed, while
this paper is focused specifically on Texas, one might suspect, as many in the legal academy do,
that the different modes of selection for state court judges (as opposed to their federal counterparts)
would naturally facilitate an inclination to capitalize on this institutional dynamic (see Table 3). 60
                                                  Table 5
     Retention Method                 State               Current Appointment         Original Method
                                                                Method
     Retention Election         Pennsylvania                    Partisan                     Leg.
                                  Maryland                     Merit Plan                    Gov.
                                   Indiana                     Merit Plan                    Gov.
                                   Illinois                     Partisan                     Leg.
                                  Missouri                     Merit Plan                    Gov.
                                   Florida                     Merit Plan                    Leg.
                                    Iowa                       Merit Plan                    Leg.
                            California                            Gov.             Partisan
                            Kansas                             Merit Plan          Partisan
                            Nebraska                           Merit Plan          Partisan
                            Colorado                           Merit Plan          Partisan
                            South Dakota                       Merit Plan          Partisan
                            Wyoming                            Merit Plan          Partisan
                            Utah                               Merit Plan          Partisan
                            Oklahoma                           Merit Plan          Partisan
                            Arizona                            Merit Plan          Nonpartisan
                            New Mexico                         Gov. with           Partisan
                                                              Commission
                            Alaska                             Merit Plan          Merit Plan
 Nonpartisan Election       Georgia                           Nonpartisan          Leg.
                            North Carolina                    Nonpartisan          Leg.
                            Kentucky                          Nonpartisan          Gov.
                            Tennessee                          Gov. with           Leg.
                                                              Commission
                            Ohio                              Nonpartisan          Leg.

57
   Michael Ari ens, LONE STAR LAW: A LEGAL HISTORY OF TEXAS 1-20 (2011 ).
58
   Coby Dolan, Examining the Viability ofAnother Lord of Yesterday: Open Range Laws and Livestock Dominance
in the Modern West, 5 ANIMAL LAW 147 (1999).
59
   Jeffrey Sutton, San Antonio Independent School District v. Rodriguez and Its Aftermath, 94 VA. L. REV. 1963
(2008); Angela Morris, Texas Supreme Court Allows UNT Law Grads to Take Bar Exam, TEXAS LAWYER (December
14, 2016).
60
   See generally Jed Handelsman Shugerman, THE PEOPLE'S COURTS (2012).

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                                 Mississippi                      Nonpartisan            Leg.
                                 Arkansas
                                                           -      Nonpartisan            Leg.
                                 Michigan                         Nonpartisan            Gov.
                                 Wisconsin                        Nonpartisan            Partisan
                             -   Minnesota                        Nonpartisan            Partisan
                             >--              --
                                 Oregon                           Nonpartisan            Partisan
                                Nevada                            Non partisan           Partisan
                                 Montana                          Nonpartisan            Partisan
                                North Dakota                      Nonpartisan            Partisan
                                 Washington                       Nonpartisan            Partisan
                                 Idaho                            Nonpartisan            Partisan
    Partisan Election            Louisiana                          Partisan             Gov.
                                Alabama
                                                               - Partisan                Leg.
                                                                    Partisan
                             - Texas                                                     Gov.
                                 West Virginia                      Partisan             Partisan
    Governor                    Delaware                      Gov. with Legislative      Gov.
                                                                    Consent
                              New York                             Gov. with             Gov.
                                                                  Commission
                              Maine                                  Gov.                Gov.
 Legislative Election         South Carolina                          Leg.               Leg.
                              Vermont                              Gov. with             Leg.
                                                                  Commission
-
 Legislative                  Connecticut                          Gov. with             Leg.
 Appointment                                                      Commission
                       Virginia                                       Leg.               Leg.
 Judicial Nominating Hawaii                                        Merit Plan            Merit Plan
 Committee
 Judges Serve Until 70 New Jersey                                     Gov.               Gov.
                       New Hampshire                                  Gov.               Gov.
                                                               -
                       Massachusetts                                  Gov.               Gov.
 Life Tenure           Rhode Island                                 Leg. With            Leg.
                                                                   Commission


        To be sure there are certain steps that the several States could take to ameliorate this issue.
Although all fifty states require newly minted (or cross-jurisdictional) lawyers to take an oath to
"solemnly swear that [they] will support the Constitutions of the United States, and ofth[e] state"
where they intend to practice, only seven states - Delaware, Florida, Indiana, Louisiana,
Mississippi, Pennsylvania, and Tennessee - even bother to ask questions about their state
constitutions on their bar exams. 61 Two states which have adopted the Uniform Bar Exam - New
York and Washington - still, to the chagrin of many third year students and recent clerks, still

61
   DEL. Bo. B. EXAM'RS R. 12; FLA. Bo. B. EXAM ' RS 4-22 ; IND. Bo. L. EXAM'RS,
http://www.in.gQY[judiciary/ble/2375.htm; LA. SUP. CT. R. XVII, §7(A); MISS. B. R. IX.5; PA. B . ADMIS. R. 203 , att.
I; TENN. SUP. CT. R. 7, art. IV, §4.04.
see, e.g., TEXAS GOV'T CODE§ 82.037.

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require applicants to take and pass a separate state-specific examination that does test state
constitutional law. 62 Finally, two western states - Arizona and Montana - require testers to take a
seminar on state constitutional law prior to admission to the bar. 63 While State Supreme Courts
and Bar Examination Committees have the prerogative "to prescribe the curriculum for its"
admissions test, 64 state constitutional law ought to be tested in at least one question. Here, one that
arguably intersects with the previous discussion of the Fourteenth Amendment's requirements:
true or false: may a claimant successfully challenge the validity of a state or local law under the
State's constitution even after the U.S. Supreme Court holds that relief is not available under an
identically worded provision in the U.S. Constitution?" 65 The inquiry is admittedly an opportunity
for easy points but, one wouldn't know it, if she or he examined a few appellate briefs on Westlaw
or LexisNexis. 66
        The locus of the blame, though, lies with the Supreme Court because it has refused to
accord State courts of last resort sufficient respect when searching for adequate and independent
state grounds in their decisions. Thus, "when ... a state court decision fairly appears to rest primarily
on federal law, or to be interwoven with the federal law, and when the adequacy and independence
of any possible state law ground is not clear from the face of the opinion," the presumption is not
that the matter is unreviewable under the statute authorizing certiorari review of state Supreme
Court provisions, 28 U.S.C. §1257. 67 Rather, the Court "accept[s] as the most reasonable
explanation that the state court decided the case the way it did because it believed that federal law
required it to do so." 68
         As the Oregon Supreme Court stated in Sterling v. Cupp "[t]he proper sequence is to
analyze the state's law, including its constitutional law, before reaching a federal constitutional
claim. " 69 This is required, "not for the sake either of parochialism or of style, but because the state
does not deny any right claimed under the federal Constitution when the claim before the court in
fact is fully met by state law." 70 The text of the Fourteenth Amendment itself arguably compels
state courts to consider state constitutional claims before deciding federal ones for how might a
state deny an individual of"due process" or "equal protection" if it's governing charter satiates the
federal standard? After all, nothing prevents a state constitution from forming "part of the total
state action in a case" and supplying the "process" or "protection" that is due. 71 This exact policy



62
   N.Y. BD. L. EXAM'RS R. 6000.3(c); WASH. ADMIS. & PRAC. R. 5(b)(l).
63
   See ARIZ. SUP. CT. R. 34Q); MONT. B. ADMIS. R. VIII.
64
   Epperson v. State ofArk., 393 U.S. 97, 107 (1968).
65
   Jeffery Sutton, 51 IMPERFECT SOLUTIONS: STATES AND THE MAK.ING OF AMERICAN CONSTITUTIONAL LA w 194
(2018).
66
   Id. at 1-40.
67
   Michigan v. Long, 463 U.S. 1032, 1040 (1983).
6s Id.
69
   Sterling v. Cupp, 290 Or. 611,614,625 P.2d 123, 126 (1981).
70
   Id.; see also State v. Kennedy, 295 Or. 260 (1983); State ex rel. Oregonian Pub. Co. v. Deiz, 289 Or. 277 (1980);
State v. Spada, 286 Or. 305 (1979); State v. Sims, 287 Or. 349, 353 n.l, 599 P.2d 461 (1979); State v. Spada, 286 Or.
305, 309, 594 P.2d 815 (1979); State v. Smyth, 286 Or. 293 (1979); State v. Scurlock, 286 Or. 277 (1979); State v.
Heintz, 286 Or. 239 (1979) (concurring opinion); State v. Greene, 285 Or. 337 (1979) (concurring opinion); State v.
Flores, 280 Or. 273 (1977); Brown v. Multnomah County Dist. Ct., 280 Or. 95 (1977); State v. lvmy, 278 Or. 499
(1977); State v. Valdez, 277 Or. 621 (1977); State v. Florance, 270 Or. 169 (1974); State v. Brown, 262 Or. 442 (1972).
71
   Hans Linde, Without Due Process: Unconstitutional Law in Oregon, 49 OR. L. REV. 125, 144 (1970).

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rationale underlies the canon of constitutional avoidance as the canon, properly applied, 72 first
requires judges to engage in a preliminary factual inquiry to determine whether a litigant's claim
poses a risk of requiring constitutional adjudication at all. 73 Indeed, application of this reading of
the Due Process Clause to State action has at least three benefits in this context. First, the practice
accords proper respect to State officials by correctly presuming that these individuals preferred not
to press the limits of the Constitution through their conduct. 74 Second, the practice provides "a low
salience mechanism for ... underenforced constitutional norms" 75 by permitting state executive
officials to "reflect and deliberate before plunging into constitutionally sensitive issues." 76 Third,
insisting on complete state process here will ensure that judges will be less likely to adjudicate
cases instrumentally through their use of the canon and settle the expectations of state officials
who begin to make preparations in anticipation of litigation.
     III.      Lockstepping in the Texas Supreme Court and Court ofAppeals in Oil and Gas Takings
               Cases
       These lessons have ready application in oil and gas estate takings cases within Texas and
matters implicating constitutional amendments limiting excessive expenditures on the state level.
As seasoned energy litigators know, in Texas, the rule of capture is a common law rule that
exempts drilling landowners from liability for draining oil and gas from underneath their
neighbor's land- subject to restraints from reasonable regulation and countervailing common law
causes of action for trespass, negligence, and nuisance. 77 The doctrine is a direct corollary of the

72
   Anthony Vitarelli, Constitutional Avoidance Step Zero, 199 YALE L.J. 836 (201 O); see also Mossman v.
Higginson, 4 U.S. 12 (1800).
73
   William N. Eskridge Jr., INTERPRETING LAW (2006); Antonin Scalia and Bryan Gardner, READING LAW 259(2012);
United States v. Delaware & Hudson Co., 213 U.S. 366 (1909); DeBartolo Corp. v. Gulf Coast Trades Counc., 485
U.S. 568 (1988); Crowell v. Benson, 285 U.S. 22 (1932); United States v. X-Citement Video, Inc., 513 U.S. 64 (1994);
Amy Coney Barrett, Substantive Canons and Faithful Agency, 90 B.U. L. REV. 109 (2010); Matthew Stephenson, The
Price of Public Action: Constitutional Doctrine and the Judicial Manipulation of Legislative Enactment Costs, 118
Yale L.J. 2 (2008); Cass Sunstein, Nondelegation Canons, 67 U. Chi. L. Rev. 315 (2000); Ernest Young,
Constitutional Avoidance, Resistance Norms, and the Preservation of Judicial Review, 78 Tex. L. Rev. 1549 (2000);
Adrian Vermeule, Saving Constructions GEO. L.J. 1945, 1949 (1997); see also Jonathan F. Mitchell, Reconsidering
Murdock: State-Law Reversals as Constitutional Avoidance, 77 U. CHI. L. REV. 1335 (2010); but see Richard Posner,
Statutory Interpretation - In the Classroom and In the Courtroom, 50 U. Chi. L. Rev. 800 (1983); Frank Easterbrook,
Do Liberals and Conservatives Differ in Judicial Activism?, 73 U. COLO. L. REV. 1401 (2002).
74
   Cf, Richard Hasen, Constitutional Avoidance and Anti-Avoidance by the Roberts Court, SUP. CT. REV. 181 (2009);
see also Rust v. Sullivan, 500 U.S. 173 (1991); Clark v. Martinez, 543 U.S. 371 (2005); United States v. Delaware &
Hudson Co., 213 U.S. 366 (1909); Blodgett v. Holden, 275 U.S. 142 (1927) (Holmes, J., concurring); Bondv. United
States, 572 U.S._ (2014); Heckler v. Mathews, 465 U.S. 728, 741 (1984); Ashwander v. Tennessee Valley Auth.,
297 U.S. 288 (1936) (Brandies, J., concurring)
75
   William Eskridge, Phillip Frickey, and Elizabeth Garrett, CASES AND MATERIALS ON LEGISLATION: STATUTES AND
THE CREATION OF PUBLIC POLICY 918 (2007).
76
   William Eskridge, DYNAMIC STATUTORY INTERPRETATION 286 (1994).
77
   Bruce Kramer and Owen Anderson, The Rule of Capture -An Oil and Gas Perspective, 35 Envtl. L. 899 (2005);
Robert Hardwicke, The Rule of Capture and Its Implications as Applied to Oil and Gas, 13 Tex. L. Rev. 391 (1935);
Joseph Shade, PRIMER ON THE TEXAS LAW OF OIL AND GAS 5 (2004); Habib Olapade, Practice Note: The Rule of
Capture in Oil and Gas Law, available at jJIIJ~s.: /Wwlli_fl1k~.,li.l1'-~o.n.\/ruJ.l~e., rule:.1:up1 1r_i;-oi 1-g;t&low-Jmbib-
olapade/?published=t; Houston & Texas Central Railway Co. v. East, 98 Tex. 146, 81 S.W. 279 (1904); Barshop v.
Medina County Underground Water Conservation Dist., 925 S. W.2d 618, 625-26 (Tex.1996); Friendswood Dev. Co.
v. Smith-Southwest Indus., Inc., 576 S.W.2d 21, 25 (Tex.1978); City of Corpus Christiv. City ofPleasanton, 154 Tex.
289, 276 S.W.2d 798, 800 (1955); Getty Oil Co. v. Jones, 470 S.W.2d 618 (Tex. 1971). In Texas, the rule of capture
has also been extended to groundwater extraction activities. See Sipriano v. Great Spring Waters of Am., Inc., 1

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first-in-time rule of possession and, in fact, was first recognized in an 1843 Exchequer Case, Acton
v. Blundell where Chief Justice Tindall found that a person "who owns the surface may dig therein,
and apply all that is there found to h[ er] own purposes at h[ er] free will and pleasure. " 78 Of course,
as every first year law student learns, although American courts initially applied the first
possession rule to distinguish domesticated animals from ferae naturae - wild animals such as
foxes, boars, and jackrabbits - reasoning that they were to be disposed of as property interests to
the private person in constructive possession, state courts in the nineteenth century treated oil and
natural gas reservoirs as analogues to wild animals creating the rule of capture in the process. 79
The rule further incentivizes energy production by forcing landowners who are concerned that
their neighbors will tap into their oil, natural gas, or aquifer groundwater to extract the resources
as soon as possible and coheres well with the states' statutes of fraud, taxation measures, and
recording acts. 80 This rule is somewhat contradictory, however, because Texas courts have long
recognized the ownership of oil and gas in place. 81 Under this theory the landowner not only owns
the rights to the oil and gas beneath the property but also, has the right to create a separate mineral
estate in a conveyance even if the minerals have not been extracted and reduced to actual
possession. 82 Once real property has been severed into mineral and surface estates, however, the
mineral owners needs some means to access the oil or natural gas for development. 83 The result is

 S.W.3d 75, 76 (Tex. 1999); Barshop v. Medina Cty. Underground Water Conservation Dist., 925 S.W.2d 618, 625
(Tex. 1996); Lower Nueces River Water Supply Dist. v. City of Pleasanton, 251 S.W.2d 777, 779 (Tex. Civ. App.
 1952); City of Sherman v. Pub. Util. Comm'n of Texas, 643 S.W.2d 681, 686 (Tex. 1983); Petro Pro, Ltd. v. Upland
Res., Inc., 279 S.W.3d 743, 753 n.4 (Tex. App. 2007); City of San Marcos v. Texas Comm'n on Envtl. Quality, 128
S.W.3d 264, 271 (Tex. App. 2004); S. Plains Lamesa R.R., Ltd. v. High Plains Underground Water Conservation
Dist. No. 1, 52 S.W.3d 770, 776 (Tex. App. 2001); Bartley v. Sone, 527 S.W.2d 754, 760 (Tex. Civ. App. 1974), writ
refused NRE (Dec. 31, 1975); Pecos Cty. Water Control & Imp. Dist. No. Iv. Williams, 271 S.W.2d 503, 505 (Tex.
Civ. App. 1954), writ refused NRE; Cantwell v. Zinser, 208 S.W.2d 577, 579 (Tex. Civ. App. 1948); Farb v. Theis,
250 S.W. 290,292 (Tex. Civ. App. 1923); Comanche Duke Oil Co. v. Texas Pac. Coal & Oil Co., 298 S.W. 554,559
(Tex. Comm'n App. 1927); Gen. Crude Oil Co. v. Harris, IOI S.W.2d 1098 (Tex. Civ. App. 1937), writ dismissed;
Edwards Aquifer Auth. v. Day, 274 S.W.3d 742, 756 (Tex. App. 2008), affd, 369 S.W.3d 814 (Tex. 2012). Howard
 Williams and Charles Meyers, OIL AND GAS LAW 218.8 at 243 (2002). Kentucky courts have also adopted the rule.
 See Long v. Louisville & N.R. Co., 128 Ky. 26, 107 S.W. 203, 205 (1908).
78
   Acton v. Blundell, 152 Eng. Rep. 1223, 1235 (Ex. Ch. 1843); Pierson v. Post, 3 Cai. R. 175 (1805); Johnson v.
M'Intosh, 21 U.S. 543 (1823); but see Eric Kades, Dark Side ofEfficiency: Johnson v. M'Intosh and the Expropriation
of American Indian Lands, 148 U. PA. L. REV. 1065, 1190 (2000) ("whatever the ultimate normative conclusion, the
entire process of expropriating America is a stunning example of. .. war and plunder... attempts to whitewash
everything ... cannot paint over these dark facts").
79
   State v. Ohio Oil Co., 49 N.E. 809 (Ind. 1898); Kelly v. Ohio Oil Co., 49 N.E. 399 (Ohio.1897); Westmoreland &
Cambria Natural Gas Co. v. DeWitt, 18 A. 724 (Pa. 1889); Ana Schepens, Prospecting for Oil at the Courthouse:
Recovering for Drainage Caused by Secondary Recovery Operations, 50 ALA. L. REV. 603 (1999).
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   Susan Black-Lieb, Fishing in Muddy Waters: Clarifying the Common Pool Analogy as Applied to the Standard
for Commencement of a Bankruptcy Case, 42 AM. U. L. REV. 337 (1993); Hermann v. Thomas, 143 S.W. 195 (Tex.
Civ. App. - Galveston 1911); Richard Hemingway, THE LAW OF OIL AND GAS 1.9 (1991).
81
   Tex. Co. v. Daugherty, 176 S.W. 717 (Tex. 1915).
82
    Wilderness Cove, Ltd. v. Cold Spring Granite Co., 62 S.W.3d 844 (Tex. App. -Austin 2001, no pet.); Bagby v.
Bredthauer, 627 S.W.2d 190 (Tex. App. - Austin 2001, no pet.); Richard Hemingway, THE LAW OF OIL AND GAS
 1.3 (1991).
83
   Guffey v. Stroud, 16 S.W.2d 527 (Tex.1929); Davis v. Devon Energy Prod. Co., L.P., 136 S.W.3d 419,423 (Tex.
App. 2004); Tarrant County Water Control & Improvement Dist. v. Haupt, 854 S.W.2d 909, 911 (Tex.1993); Key
 Operating & Equip., Inc. v. Hegar, 403 S.W.3d 318, 327 (Tex. App. 2013), rev'd, 435 S.W.3d 794 (Tex. 2014);
 Valence Op. Co. v. Texas Genco, LP, 255 S.W.3d 210, 215-16 (Tex.App.-Waco 2008, no pet.); see also Brown v.
Lundell, 162 Tex. 84, 344 S.W.2d 863 (1961); Cox v. Davison, 397 S.W.2d 200 (Tex.1965); TDC Eng'g, Inc. v.
Dunlap, 686 S.W.2d 346, 348 (Tex. App. 1985), writ refused NRE (July 3, 1985); City of Lubbock v. Coyote Lake

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that Texas courts have read implied easements granting access to as much of the surface as is
reasonably necessary to extract the materials in oil and natural gas leases. 84 Consequently, under
Texas law, mineral owners of a severed estate hold rights of ingress, egress, exploration, and
surface use to facilitate extraction. 85
        The 1876 Texas Constitution was amended in 1890 to create the Texas Railroad
Commission. As regulars at the lege know, the name is something of a misnomer because most of
the state agency's work involves oil and natural gas regulation. 86 The Commission was originally
given extensive powers to regulate express companies as well as railroad rates, operations, and
terminals that were capacious by late nineteenth century standards. 87 The Railroad Commission,
though, temporarily lapsed into obscurity with Congress' creation of the now-defunct Interstate
Commerce Commission (ICC) and the Supreme Court's decision in the Shreveport Rate Cases
permitting the ICC to regulate both interstate and intrastate rates for railroads delivering passengers
and goods from Texas to Louisiana and cities within Texas. 88 Once, however, lege entrusted the
Commission with regulating the state's expanding oil and gas industry in the massive East Texas
Field and Panhandle region, which supplied much of the global demand for petroleum at the time,
the Railroad Commission became one of the most powerful state agencies in the union. 89 In 1917,
the state Constitution was amended again to force lege into passing laws limiting overproduction
and waste of non-renewable resources. 90 The Railroad Commission responded two years later with
the promulgation of Rule 37: the nation's first well-spacing rule, which altered the common law
rule of capture and prohibited the drilling of any well within 300 feet of any other well and within
150 feet of a property line. 91 The Commission is currently the leading body within Texas regulating
the oil and gas industry - passing regulations conserving oil and gas reservoirs by preventing
unnecessary waste, and prorating natural gas production, facilitating the pooling of production
from common reservoirs. 92
       In Texas, however, counties and cities, oddly enough, have concurrent jurisdiction over
mineral resources, and on a not infrequent basis, have passed local ordinances stymying



Ranch, LLC, 440 S.W.3d 267,272 (Tex. App. 2014); Ball v. Dillard, 602 S.W.2d 521,523 (Tex.1980); Petty v. Winn
Exp!. Co., 816 S.W.2d 432, 433-34 (Tex. App. 1991), writ denied (Sept. 18, 1991); Sun Oil Co. v. Whitaker, 483
S.W.2d 808 (Tex.1972).
84
   Akers v. Stevenson, 54 S.W.3d 880 (Tex. App. - Beaumont 2001, pet. Denied); Placid Oil Co. v. Lee, 243 S.W.2d
860, 862 (Tex. Civ. App. - Eastland 1951, no writ).
85
   See, e.g., Yates v. Gulf Oil Corp., 182 F.2d 286, 289 (5th Cir.1950).
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    William Childs, THE TEXAS RAILROAD COMMISSION: UNDERSTANDING REGULATION IN AMERICA To THE MID-
TWENTIETH CENTURY (2005).
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   Randolph Campbell, GONE TO TEXAS: A HISTORY OF THE LONE STAR STATE 329 (2003); The constitutionality of
the Railroad Commission's powers was quickly affirmed by the U.S. Supreme Court. See Reagan v. Farmer's Loan
& Trust Co., 154 U.S. 362 (1894).
88
   Shreveport Rate Cases, 234 U.S. 342 (1914).
89
   Cullen Godfrey, A Brief History of the Oil and Gas Practice in Texas, 68 TEX. B.J. 812 (2005).
90
   Tex. Const. art. XVI. 59(a) ("[T]he preservation and conservation of all such natural resources of the State are
each and all hereby declared public rights and duties; and the Legislature shall pass all such laws as may be
appropriate thereto.").
91
   Jared Hall, Both Eyes Open or One Eye Closed: Does the Reasonable and Prudent Operator Standard Handicap
Mineral Lessees in the Prevention of Drainage?, 7 Tex. Tech. Admin. L.J. 179 (2006); Oxford Oil Co. & Prod. Co.,
22 F.2d 597 (5th Cir.1927); Brown v. Humble Oil & Ref Co., 83 S.W.2d 935 (Tex.1935).
92
   Tex. Nat. Res. Code Ann. 81.05l(a); 85.046; 86.081; 102.011; Tex. Admin. Code 3.1-3.106 (2003).

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 entrepreneurs from extracting minerals. 93 Concurrent municipal oil and gas regulation nonetheless
remains "widespread and ... accepted" within the state. 94 Conflicts naturally arise because, while
the Railroad Commission is often concerned primarily with enforcing state wide uniform
production standards and, for good, has developed a healthy relationship with the entities that it
regulates, local governments in Hill Country with large urban populations such as Bexar County
and Travis County tend to stress attenuated public health concerns when policing non-renewable
ventures. Indeed, since 1935, Texas courts have recognized concurrent municipal authority to
regulate oil and natural gas wells alongside the Railroad Commission. 95 This is so despite the
onerous nature of federal regulations alone. Indeed, industries often benefit from environmental
regulation in part because their preferences for environmental regulation far surpasses that of the
public. 96 It follows that the primary losers in this process are those who lack the incentive or ability
to influence the political process - the dispersed, powerless public that is forced to endure
decreased entrepreneurial competition and pay higher prices for the goods they consume to
subsidize the preferences of environmental interest groups. Because, in the words of James
Buchanan and Gordon Tullock, "the existence of external costs imposed on the individual by
collective action .. .is inherent in the operation of any collective decision-making rule [that has not
obtained unanimous consent], ... minority voters are forced to accede to actions which they cannot
prevent and for which they cannot claim compensation for" resulting damages. Put differently,
non-unanimous voting rules make it possible for some people to obtain goods and services without
being forced to bear their full costs. This phenomenon, of course, is nothing new and can be traced
back to George Stigler's landmark 1971 RAND Journal of Economics article which observed that
"as a rule, regulation is acquired by the [regulated] industry and is designed and operated primarily
for its benefit." 97 Through the savvy use of regulation, those regulated can use government action
to create rents for themselves. To take a familiar example involving lawyers, Thomas Jefferson
once observed that all that was "necessary to form a lawyer" was "access to a library, and directions
in what order the books are to be read." 98 Yet, at least in the United States, the legal profession,
for some good, has artificially limited the supply oflawyers by requiring that pupils first obtain an
undergraduate degree, take the LSAT, attend an accredited law school, pass the MPRE, and pass
the bar exam for the jurisdiction(s) where they wish to practice. 99 While these requirements
increase the overall quality of representation, it cannot be denied that they also permit lawyers to
charge higher prices for their services than would otherwise be the case in a less regulated regime.
Cotton textile mill regulation provides yet another example. Indeed in 1982, Michael Maloney and
Robert McCormick found that Occupational Safety and Health Administration's promulgation of

93
   Jan Laitos and Elizabeth Getches, Multi-Layered, and Sequential, State and Local Barriers to Extractive Resource
Development, 23 VA. ENVTL. L.J. 1 (2004).
94
   Perry Pearce, The Spectrum of Choices: Formulation and Implementation of Regulatory Land Use Decisions
Affecting Mineral Development, in 3 MINERAL DEVELOPMENT AND LAND USE (1995).
95
   See, e.g., Klepak v. Humble Oil & Ref Co., 177 S.W.2d 215 (Tex. Civ. App. - Galveston 1944), writ of error
refused for want of merit without reported opinion; Unger v. State, 629 S.W.2d 811 (Tex. App.-Fort Worth 1982),
petition for discretionary review refused without reported opinion, June 2, 1982; Shelby Operating Co. v. City of
Waskom, 964 S.W.2d 75 (Tex. App.-Texarkana 1997); Tysco Oil Co. v. Railroad Commission, 12 F. Supp. 195 (S.D.
Tex. 1935); Tysco Oil Co. v. Railroad Commission, 12 F. Supp. 202 (S.D. Tex. 1935); BCCA Appeal Grp., Inc. v.
City of Houston, 496 S.W.3d 1 (Tex. 2016)
96
   Richard L. Revesz, Federalism and Environmental Regulation: A Public Choice Analysis, 115 HARV. L. REV.
553 (2001).
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   George Stigler, The Theory ofEconomic Regulation, 2 BELL J. ECON. & MGMT. Ser. 3 (1971 ).
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   Letter from Thomas Jefferson to John Garland Jefferson, 11 June 1790.
99
   Lawrence Friedman, A HISTORY OF AMERICAN LAW 463-501 (2005).

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stricter cotton dust regulations in tandem with the Supreme Court's equal divided affirmance of
the D.C. Circuit's decision in Fri v. Sierra Club, which effectively required the EPA to adopt
stricter cooper-smelting regulations, increased firm costs and reduced textile mill output. 100 Oddly
enough, however, the common stock prices for publicly traded textile companies increased after
this regulatory one-two punch ostensibly in part because the relative benefits of regulation in
raising prices outweighed the direct compliance costs. 101 This is far from an isolated incident as
similar issues have been documented with federal regulation of miles-per-gallon standards. 102
More than that, the EPA itself often restricts market entry in the oil and gas market by imposing
stricter pollution control requirements on new firms whilst permitting existing market participants
to satisfy lower standards. 103 Large upfront investments in pollution abatement equipment raise
the minimal capital demands of doing business harming consumers and small energy start-ups of
all stripes. 104
         Even though Texas, thankfully, is a right to work state, labor unions also benefit from this
arrangement. 105 This is so because "if labor is organized in the polluting industries, unions may
bargain for higher wages to be paid from rents generated by regulatory-derived output
restrictions." 106 Thus "union leaders [are expected to] support stricter enforcement of standards so
long as the gain in worker wages and total dues was greater than the additional cost of
bargaining." 107 A skeptic might counter that the political process will often prevent inefficient
environmental regulation in scenarios where the public clearly opposes regulations and is able to
successfully articulate that preference to political elites. 108 Democratic politics, though, is often
ineffective in constraining rent-seeking for at least two reasons. 109 First, because voters have little
incentive to invest time, money and effort to learn about the details of alternative policies, they
embrace rational ignorance and consequently are unable to understand all the details of energy
legislation or EPA implementation. 110 Second, and perhaps, more importantly, Arrow's Theorem
often correctly predicts that politicians will be unable to aggregate their disparate preferences into
a coherent social ranking. 111 The result is a grave but well documented deficiency in the state
populace's ability to defend its collective interests. 112


100
    Michael Maloney and Robert McCormick, A Positive Theory of Environmental Quality Regulation, 25 J.L. &
ECON. 99 (1982).
101
    Id. at 109-21.
102
    Bruce Yandle, Fuel Efficiency by Government Mandate: A Cost-Benefit Analysis, 6 POL'Y ANALYSIS 291, 300
(1980).
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    Robert Hahn, The Political Economy of Environmental Regulation: Towards a Unifying Framework, 65 PUB.
CHOICE 21, 27 (1990).
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    Thomas Dean and Robert Brown, Pollution Regulation as a Barrier to New Firm Entry: Initial Evidence and
Implications for Future Research, 38 ACAD. MGMT. J. 288,299 (1995); Robert Quinn and Bruce Yandle, Expenditures
on Air Pollution Control Under Federal Regulation, 16 REV. REGIONAL STUD. 11 (1986).
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    Nancy Rose, Labor Rent Sharing and Regulation: Evidence from the Trucking Industry, 95 J. Pol. Econ. 1146
(1987).
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    Bruce Yandle, Economic Agents and the Level ofPollution Control, 40 PUB. CHOICE 105 (1983).
101   Id.
108
     Sam Peltzman, Toward a More General Theory of Regulation, 19 J.L. & ECON. 211 (1976).
109
     A.C. Pritchard and Todd Zywicki, Finding the Constitution: An Economic Analysis of Tradition's Role in
Constitutional Interpretation, 77 N.C.L. REV. 409 (1999).
llO James Fishkin, THE VOICE OF THE PEOPLE: PUBLIC OPINION AND DEMOCRACY 1-16 (1995).
111
     See generally Kenneth Arrow, SOCIAL CHOICE AND INDJVIDUAL VALUES (1951).
11 2
     See generally Mancur Olson, THE LOGIC OF COLLECTIVE ACTION (1965).

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         To the extent that any environmental regulation of Texas' oil and gas facilities is permitted
to occur at all, however, these measures ought to include economic incentive systems such as
pollution charges, transferable pollution permits, and waste deposit and refund programs, to
achieve environmental goals while avoiding many of the dysfunctions of centralized regulation.
Charges, for instance, impose a fee or tax on each ton or other unit of pollution discharged.
Transferable pollution permits achieve the same result by limiting the total units of pollution
permitted, issuing freely-marketable permits equal in number to the units permitted, and requiring
energy producers to have permits equal to their discharges. Because pollution control is costly and
the number of discharge permits is limited, the permits will command a positive price. More than
that, since firms will have to buy a permit for each unit of pollution they emit, they will effectively
pay a tax proportionate to the amount of pollution they emit. By way of contrast, deposit and refund
systems impose a tax on waste-creating activities and then give a refund for each unit of waste that
is recycled or properly disposed of. In effect, they impose a net tax on each unit of waste that an
enterprise fails to recycle or dispose of properly. The decentralized flexibility that comes with
economic incentive systems offers at least six advantages over command and control regulation.
        First, incentive systems achieve large cost savings by giving firms with relatively low
control costs an incentive to control above the level mandated by uniform regulation while
allowing firms with high costs to control less. Indeed, as Yale Law School Professor Bruce
Ackerman has argued, environmental regulations on oil and gas firms that require best available
technology implementation are counterproductive because they waste billions of dollars by
ignoring variations among wells in the cost of reducing pollution, 11 3 ignoring geographic variations
in pollution effects, 114 penalizing productive industries because they can 'afford' the costs of
regulatory compliance, 115 harm international competitiveness, 116 and reinforcing agency inertia. 117
Second, government administrators do not need to acquire the detailed information needed to
determine the feasible and appropriate level of control for each plant or product. Instead, once an
economic system is in place, control decisions are made by plant executives and engineers, not
career politicians. The result is that delays, distortions, and centralized regulation costs are greatly
reduced. Third, as is not the case with mandated specific control technologies, incentive systems
permit regulators to impose control technologies in a flexible manner. Economic incentives,                                  ,.
therefore, permit each energy firm to devise the control methods that are the most appropriate,
effective, and cheapest for its particular circumstances. Fourth, incentive systems do not impose
penalties on new products and plants. Indeed, all sources of pollution or chemical risk are subject
to the same incentive level as new products and plants do not have to go through a cumbersome
review process. Fifth, economic incentives provide firms with a carrot to devise new products or

113
      See also Thomas H Tietenberg, EMISSIONS TRADING, AN EXERCISE IN REFORMING POLLUTION POLICY (1965);
Robert Crandall, CONTROLLING INDUSTRIAL POLLUTION (1983); INCENTIVE ARRANGEMENTS FOR ENVIRONMENTAL
PROTECTION (1983); Lester Lave, THE STRATEGY OF SOCIAL REGULATION (1981); Bruce Ackerman and William
Hassler, CLEAN COAL/DIRTY AIR: OR How THE CLEAN AIR ACT B ECAME A MULTIBILLION-DOLLAR BAIL-OUT FOR
HIGH- J.,FIJR        Al. PR · O\~ .' hRS 1981 · Bmc A ·I errmm1 Dale W. Jl e nders o11 Jame:. • Sawyer, Jr. , and Susan
R · -~- ckerman , T HF U~I ' l~RT JN, F. R I.I P R E t-:V.IR NMLN l'A.L · UALITY 1974 ) :
11 '1 ' lt:ph n Brc er, A -·r iv . L ll:3 e1n'i1 102 (2005); sec a.l!;u Lephen Breyer RnGULA'llUN i\NID ITS REFORM (1982).
115
   Pelel· I l uber, Th~: Oli.1-Ne.w Divis.ton in} 1'.1·k Ref.;Zllaticm, 9' VA. L. REV. I 02.'i J983 ).
116
    llseph Kal~-, 711 · b11p(1 I rJ/DomesJic Environmen1al R gtilaro, , l'olirries.on U. . intern 1tional Competitiveness,
in ENERGY AND ENVTL. POL'Y CENTER, JOHN F. KENNEDY SCH. OF GOV'T HARV. U., Discussion Paper Series
(1985).
117
      Robert Crandall and Paul Portney, NATURAL RESOURCES AND THE ENVIRONMENT: THE REAGAN APPROACH
(1984).

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production technologies that reduce pollution or chemical risk. This state of affairs is preferable to
a centralized regulatory regime because under the latter arrangement firms only have an incentive
to find cheaper ways to comply with existing regulations. Sixth, incentive systems for firms to pay
for using the public's air and water resources provide the government with new sources of revenue
for national defense and deficit reduction. One might counter than an environmental policy
centered on economic incentives would be perverse because it deprecates basic values by
permitting human health and environmental integrity to be traded for dollars. This claim, however,
confounds ends with means and simply ignores the fact that resources must be allocated on the
basis of weighting competing values in a society with limited resources. More specifically, the
mere fact that a jurisdiction uses economic incentives to achieve its environmental goals does not
mean that the goals themselves must be selected through cost-benefit analysis. No one doubts, for
instance, that it would be desirable to ensure that the beach waters in Miami, Malibu, Makaha, or
Myrtle Beach remain clear and scenic - the only question is whether the imposition of unnecessary
costs through regulatory regimes that even prominent environmentalists have been critical of is the
best way to accomplish that goal.
         Placing federal environmental policy to one side, though, both the U.S. Constitution's
Takings Clause and Article I §17 of the Texas Constitution prevent the commandeering of private
property without just compensation. 118 Even though the two clauses are not worded identically,
the Texas Supreme Court has deferred to the Supreme Court's interpretation of the Fifth
Amendment in state takings cases despite a wide range of center-right criticism decrying several
doctrines in the field from conservative members of the bench, bar, and professoriate. 119 More than
that, the Texas Supreme Court in one instance has even assumed without deciding that federal
takings claims must be adjudicated before reaching the merits of identical state claims despite the
Fourteenth Amendment's implicit condemnation of the practice because, again, part of the process
the State provides includes the protection provided by the State constitution. 120 One might retort
that this practice is quite harmless because it has no ultimate effect on case disposition. There are
two responses to this claim. First, it can be rather difficult to determine whether an event or rule is



118
    U.S. CONST. amend. V; TEX. CONST. art. I§ 17.
119
     See, e.g., Bernard Siegan, ECONOMIC LIBERTIES AND THE CONSTITUTION (1980); Michael W.
McConnell, Contract Rights and Property Rights: A Case Study in the Relationship between Individual Liberties and
Constitutional Structure, 76 CALIF. L. REV. 267 (1988); Richard Epstein, The Mistakes of 1937 A Federalist Society
Symposium: Constitutional Protections ofEconomic Activity: How They Promote Individual Freedom, 11 Geo. Mason
U. L. Rev. 5 (1988); Frank Easterbrook, The Constitution ofBusiness A Federalist Society Symposium: Constitutional
Protections of Economic Activity: How They Promote Individual Freedom - Panel 11: The Takings Clause, the
Contracts Clause, and Other Economic Rights Provisions of the Constitution, 11 Geo. Mason U. L. Rev. 53 (1988).
120
    Mayhew v. Town ofSunnyvale, 964 S.W.2d 922 (Tex. 1998); City of Houston v. Trail Enterprises, Inc., 300 S.W.3d
736 (Tex. 2009); City Of Houston v. O'Fiel, No . 01-08-00242-CV, 2009 WL 214350 (Tex. App. Jan. 29, 2009);
Buffalo Equities, Ltd. v. City of Austin, No. 03-05-00356-CV, 2008 WL 1990295 (Tex. App. May 9, 2008); City of
Houston v. Kolb, 982 S.W.2d 949 (Tex. App. 1999); City of Crowley v. Ray, 558 S.W.3d 335 (Tex. App. 2018), reh'g
denied (Sept. 20, 2018), review denied (Mar. 29, 2019); City of Houston v. Mack, 312 S. W.3d 855 (Tex. App. 2009);
TCI W. End, Inc. v. City of Dallas, 274 S.W.3d 913 (Tex. App. 2008); Maguire Oil Co. v. City of Houston, 243
S.W.3d 714 (Tex. App. 2007); City of Anson v. Harper, 216 S.W.3d 384 (Tex. App. 2006); City of Harlingen v. Obra
Homes, Inc., No. 13-02-268-CV, 2005 WL 74121 (Tex. App. Jan. 13, 2005); Coble v. City of Mansfield, 134 S.W.3d
449 (Tex. App. 2004); Mont Belvieu Square, Ltd. v. City of Mont Belvieu, Tex., 27 F. Supp. 2d 935 (S.D. Tex. I 998);
In re Am. State Bank to Obtain Testimony of Wade, No. 07-03-0483-CV, 2005 WL 1967262 (Tex. App. Aug. 16,
2005); LJ&J Corp. v. City of Dallas, No. CIV. 3:94-CV-2420-H, 1998 WL 320257 (N.D. Tex. June 8, 1998).

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outcome determinative. 121 Justice Frankfurter's opinion in Guaranty Trust v. York, a relatively
well-known choice-of-law decision, provides an apt illustration of this dynamic. 122 That case
involved a New York equity proceeding asserting a breach of fiduciary duty by Guaranty Trust in
its dealings with the holders of certain notes. The Court here was solely concerned with whether
the suit either was time barred under the Empire State's statute of limitations or a federal court
sitting in equity could apply the common law doctrine of laches to permit a suit that would have
been untimely under state law so long as the defendant would not have suffered prejudice from the
delay. 123 Justice Frankfurter began by attempting to harmonize federal equity practice with Erie
Railroad Co. v. Tompkins's infamous command that "there is no federal general common law" 124
and that to the extent that the "common law .. .is enforced in a state ... [it] is not the common law
generally but the law of that State existing by the authority of that state:" 125
                            From the beginning, there has been a good deal of talk in the
                    cases that federal equity is a separate legal system. And so it is,
                    properly understood. The suits in equity of which the federal courts
                    have had "cognizance" ever since 1789 constituted the body of law
                    which had been transplanted to this country from the English Court
                    of Chancery. But this system of equity "derived its doctrines, as well
                    as its powers, from its mode of giving relief." .. .In giving federal
                    courts "cognizance" of equity suits in cases of diversity jurisdiction,
                    Congress never gave, nor did the federal courts ever claim, the
                    power to deny substantive rights created by State law, or to create
                    substantive rights denied by State law (internal citations omitted). 126
        The result is that federal courts sitting in diversity could apply equitable doctrines so long
as they gave effect to the parties' rights as defined by state law and, thus, were duty bound to apply
state law where enforcement of the opposing federal rule would "substantially affect the
enforcement of the right as given by the State." 127 The problem? Members of the bench, bar, and
ivory tower have struggled since to arrive on a reasonable and principled consensus on what
constitutes a rule that "substantially affect[s] the enforcement of the right as given by the State." 128
Second, this counter-claim also assumes that the Texas Supreme Court, while deferring to Supreme
Court precedent, is at least following the applicable cases correctly. It is not even clear, however,
that this is true because, as of the time of this article's writing, litigants raising federal takings
claims are still required to exhaust state remedies before their Fifth Amendment arguments may
be considered. 129 Because this exhaustion requirement is a creature of the Texas Supreme Court's

121
    Linda J. Silberman, Allan R. Stein, Tobias Barrington Wolff, CIVIL PROCEDURE: THEORY AND PRACTICE 430-40
(2017).
122
    Guaranty Trust Co. v. York, 326 U .S. 99 (1945).
123
    Tobias Wolff, Choice of Law and Jurisdictional Policy in the Federal Courts, 165 U. PA. L. REV . 1863 (2017).
124
    Henry Friendly, In Praise of Erie - and of the New Federal Common Law, 39 N.Y.U. L. REV. 383 (1964).
12s   Id.
126
      Guaranty Trust Co. v. York, 326 U .S. 99, 105 (1945); see also C.C. Langdell, SUMMARY OF EQUITY PLEADING
xxvii (1877).
127
    Guaranty Trust Co. v. York, 326 U.S. 99, 105 (1945).
128
    Linda J. Silberman, Allan R. Stein, Tobias Barrington Wolff, CIVIL PROCEDURE: THEORY AND PRACTICE 430-
40 (2017); Peter Westen and Jeffrey Lehman, Is There Life for Erie after the Death of Diversity, 78 MICH. L. REV.
311 (1980).
129
    Williamson City. Planning v. Hamilton Bank, 473 U.S. 172 (1985); Hollywood Park Humane Soc'y v. Town of
Hollywood Park, No. SA-03-CA-1312-XR, 2004 U.S. Dist. LEXIS 3957, at 2-7 (W.D. Tex. Mar. 10, 2004); but see

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ripeness doctrine which originally stems from the U.S. Constitution's "case or controversy"
requirement in Article III, if one were to ignore the Due Process Clause for the moment,
consideration of federal claims before their state counterparts would be permissible if Texas courts
maintained less permissive justiciability requirements than their federal counterparts. The
problem? Again, the Texas Supreme Court has summarily adopted federal standing and ripeness
doctrines without so much as pausing to reflect on the merits of doing so. 130
         This reflexive assimilation extends beyond procedural rules and effects substantive
doctrine as well. To see why this is so a brief review of the Supreme Court's Fifth Amendment
Takings Clause doctrine is in order. Takings can either be physical or regulatory in nature -
although the former is more common. 131 In actions involving real property, a possessory taking
occurs when a federal or State official directly appropriates an individual's interest or title in their
land. 132 Thus, property and constitutional law scholars alike often refer to possessory takings as
physical takings because in most condemnation matters, "the condemner physically enters upon
the condemnee's land and compels the transfer to itself of an estate or lesser interest, such as an
easement." 133 In the words of Justice Stevens, though, possessory takings "are as old as the
Republic itself and, for the most part, involve the straightforward application of per se rules." 134
Thus, when "the government physically takes possession of an interest in property for some public
purpose, it has a categorical duty to compensate the former owner regardless of whether the interest
that is taken constitutes an entire parcel or merely a part thereof." 135 Regulatory takings, by way
of contrast, occur once state authorities have, in the words of Justice Holmes, "go[ne] too far" with
a "government regulation of private property" such that the regulation becomes "so onerous that
its effect is tantamount to a direct appropriation or ouster." 136 Two types ofregulatory takings are
viewed as "per se" condemnations under this framework. "First, where government requires an
owner to suffer a permanent physical invasion of her property - however minor - it must provide

Knick v. Township of Scott, 862 F.3d 310 (3d Cir. 2017) cert granted to determine "[w]hether the Court should
reconsider the part of the Supreme Court's Williamson County decision that requires property owners to exhaust
state-court remedies before litigating takings claims in federal courts?" For criticism of the doctrine, see Michael W.
McConnell, Horne and the Normalization of Takings Litigation: A Response to Professor Echeverria, 43 Env. L. Rep.
10749 (2013); Scott A. Keller, Judicial Jurisdiction Stripping Masquerading As Ripeness: Eliminating the Williamson
County State Litigation Requirement for Regulatory Takings Claims, 85 TEX. L. REV. 199 (2006); J. David Breemer,
You Can Check Out but You Can Never Leave: The Story of San Remo Hotel-the Supreme Court Relegates Federal
Takings Claims to State Courts Under A Rule Intended to Ripen the Claims for Federal Review, 33 B.C. ENVTL. AFF.
L. REV. 247,247 (2006); Josh Patashnik, Bringing A Judicial Takings Claim, 64 STAN. L. REV. 255 (2012); Michael
M. Berger, Happy Birthday, Constitution: The Supreme Court Establishes New Ground Rules for Land-Use Planning,
20 URB. LAW. 735, 756 (1988); Michael Berger, Vindicating the Rights of Private Land Development in the Courts,
32 URB. LAW. 941 (2000); Joel Block, Takings Claims: Are the Federal Courts Truly Open?, 8 Mo. ENVTL. L. &
POL'Y REV. 74 (2001); Thomas E. Roberts, Fifth Amendment Taking Claims in Federal Court: The State
Compensation Requirement and Principles of Res Judicata, 24 URB. LAW. 479, 511 (1992); but see Jonathan F.
Mitchell, Judicial Review and the Future of Federalism, 49 ARIZ. ST. L. J. 1091 (2017).
130
    Alamo Express, Inc. v. Union City Transfer, 309 S.W.2d 815, 827-28 (Tex. 1958); Gattis v. Duty, 349 S.W.3d 193,
203 (Tex. App. 2011);
131
    See, e.g., Yee v. City of Escondido, 503 U.S. 519, 522 (1992) (dividing takings claims into physical invasion and
regulatory takings claims); Keio v. City of New London, 545 U.S. 469 (2005).
132
    Jan Laitos, LAW OF PROPERTY RIGHTS PROTECTION: LIMITATIONS ON GOVERNMENTAL POWERS §8.02 (2007).
133
    William Stoebuck, NONTRESPASSORY TAKINGS IN EMINENT DOMAIN 1 (1977); see generally Richard Epstein,
TAKINGS: PRIVATE PROPERTY AND THE POWER OF EMINENT DOMAIN (1985).
134
    Tahoe-Sierra Pres. Council v. Tahoe Reg'! Planning Agency, 535 U.S. 302, 322 (2002).
135
    United States v. Pewee Coal Co., 341 U.S. 114, 115 (1951).
136   Id.

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just compensation." 137 Second, the government must provide remuneration when it pursues a
"regulation that completely deprives an owner of "all economically beneficial us[ e]" of her
prope1iy" but such payment is limited to the extent that "background principles of nuisance and
property law" independently restrict the owner's intended use of the property. 138 Otherwise,
regulatory claims are evaluated under the multi-factor test annunciated in Penn Central Transp.
Co. v. New York City. 139 This standard looks to (1) "[t]he economic impact of the regulation on the
claimant and, particularly, the extent to which the regulation has interfered with distinct
investment-backed expectations," and (2) the "character of the governmental action" - i.e.
whether the state action amounts to a physical invasion or instead merely affects property interests
through "some public program adjusting the benefits and burdens of economic life to promote the
common good." 140 As Energy Law Professor Bruce Kramer has noted, early federal and Texas
takings litigation over local authority to regulate oil and gas projects often failed to distinguish
between substantive due process, equal protection, and takings claims. 141 From the beginning of
the 1970s to the late 1990s, the Texas Supreme Court relied on the test set out in City ofAustin v.
Teague to resolve state takings claims. 142 Teague involved a property owner who sought a "water
development permit" from Austin to improve an 8 ½ acre lot near Highway 35. 143 Although the
City's staff originally granted the application, the Planning Commission and City Council
ultimately denied the permit to preserve natural wetlands near the southern portion of downtown
Austin. After a jury trial, the city lost and then appealed. The Texas Supreme Court articulated a
separate test for adjudicating § 17 takings claims that would impose liability upon the state when
its action "rendered [the real property] wholly useless," "the government burden created a
disproportionate diminution in economic value or caused a total destruction of the value," or when
the "government's action against an economic interest of an owner [was] for its own advantage." 144
The Court clarified this admittedly cryptic standard in Taub v. City of Deer Park when it found
that a compensable taking arises only when a regulatory action constitutes an unreasonable
interference with the landowner's right to use and enjoy her property. 145 Under this revised
approach, Article I, § 17 did not compel the state and its cities to guarantee the "profitability of
every piece of land subject to its authority" and the burden was on the aggrieved landowner to
prove a "sufficiently severe economic impact" to succeed on the merits with a state takings claim.
This regime ostensibly changed, however, in 1998 when the Texas Supreme Court incorporated
the Penn Central test into its State takings clause analysis in Mayhew v. Town of Sunnyvale and
formally surrendered its role as a conservative "laboratory of democracy" in Sheffield



137
    See Loretto v. Teleprompter Manhattan CATV Corp., 458 U.S. 419 (1982) (state law requiring landlords to permit
cable companies to install cable facilities in apartment buildings effected a taking).
138
    Lucas v. South Carolina Coastal Council, 505 U.S. 1003, 1019 (1992).
139
      438 U.S. 104 (1978).
140   Id.
141
   Brnce Kramer, The Pit and the Pendulum: Local Government Regulation of Oil and Gas Activities Returns from
the Grave, in 50 SOUTHWEST LEGAL FOUNDATION INSTITUTE ON OIL AND GAS LAW AND TAXATION §4.01 (1999);
see also Champlin Ref Co. v. Corp. Comm 'n, 286 U.S. 210 (1932); Thompson v. Consol. Gas Util. Corp., 300 U.S.
55 (1937).
142
    City ofAustin v. Teague, 570 S.W.2d 389 (Tex. 1978).
143
    Id. at 390.
144
    Id. at 392.
145
    Taub v. City of Deer Park, 882 S.W.2d 824 (Tex. 1994).

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Development Co. v. City of Glenn Heights with its admonition that Texas courts should "look to
federal takings cases for guidance in applying our own [State] constitution." 146
         "An [appointive] despotism was not the government we fought for." 147 When the Supreme
Court adopts a deferential standard of review of a particular class of constitutional claims, it often
does so with the implicit understanding that its power "to stay experimentation in things social and
economic is a grave responsibility as [d]enial of the right to experiment may be fraught with serious
consequences to the nation." 148 More specifically, to the extent that a lax standard of review
reflects not only the Court's perceived institutional incompetence to impose a uniform standard on
fifty different jurisdictions with different circumstances, 149 but also, its invitation to state courts
and legislatures to fill the regulatory void, blind adherence to the federal standard undermines the
dual sovereignty system. 150 This is particularly the case with Texas - a state where the cun-ent
regime of political elites ostensibly disagrees deeply with the notion that review under the Fifth
Amendment's Takings Clause should be deferential at all. 151 Consider at least five problems with
cun-ent doctrine. First, under cun-ent federal takings doctrine, city authorities in Dallas, San
Antonio, and El Paso have abrogated the common law presumption of free and unrestrained use
by subjecting the landowner's rights to the demands of ever increasing zoning regulations. 152 To
take just a few examples, under common law principles, a landowner can develop a property in
whatever manner the owner prefers so long as the owner's use does not constitute a nuisance to
her neighbors or the community at large. 153 Some Texas cities also often elect to impose enormous
"development fee" or "impact fee" exactions for government permits in an abusive manner. 154
These one-time fees which are imposed on builders and then passed onto home-owners through

146
    Mayhew v. Town of Sunnyvale, 964 S.W.2d 922, 934 (Tex. 1998); New State Jee Co. v. Liebmann, 285 U.S. 262
(1932) (Brandeis, J., dissenting); Sheffield Dev. Co. v. City of Glenn Heights, 140 S.W.3d 660 (tex. 2004).
147
    Thomas Jefferson, NOTES ON THE STATE OF VIRGINIA, Query 13, 120-21 (1785).
148
    New State Jee Co. v. Liebmann, 285 U.S. 262, 311 (1932) (Brandeis J., dissenting) see also San Antonio Independent
School District v. Rodriguez, 411 U.S. 1 (1973) ("[t]hese practical considerations, of course, play no role in the
adjudication of the constitutional issues presented here. But they serve to highlight the wisdom of the traditional
limitations on this Court's function. The consideration and initiation of fundamental reforms with respect to state
taxation and education are matters reserved for the legislative processes of the various States, and we do no violence
to the values of federalism and separation of powers by staying our hand.)"
149
    Stephen Breyer, ACTIVE LIBERTY 56-66 (2005).
150
    Jeffery Sutton, 51 IMPERFECT SOLUTIONS: STATES AND THE MAKING OF AMERICAN CONSTITUTIONAL LAW 1-30
(2018).
151
    See, e.g., Brief of the States of Texas, Arizona, and North Dakota as Amicus Curiae in No. 14-725, Home v.
Department of Agriculture; Vetoing Property Rights, https://www.gregabbott.com/hands-off-our-land/; Tell
Lawmakers to Stop Abuse of Property Rights, https://www.gregabbott.com/petition-poll/tell-lawmakers-stop-abuse-
pro pe rlv-rights/; Greg Abbott for Texas Governor: Property Tax Platform, https://www.gregabbott.com6YP.:
content/uploads/2018/0 I /PropertyTaxReform.pdf; Governor Greg Abbott Pushes For Limits on School Property Tax
Hikes, httos://www.exoressnews.com/ news/12.0 Iitics/texas lcg.islaturelarticl.e/Gov-Gre_g-Abhott-pushes-for-limit-on-
schoo1-13358780. php; High Property Taxes are the Epicenter of Texas Lt. Gov. Dan Patrick's Re-Election Campaign,
https ://www .houstonc 11 ron ic Ie .com/111:'ws/p I lit ks,'.t~~.!!S:'!!t!ic le/Higb_-pmpe.rtv-iaxes.-:a.re-1.he.-er icenter-of-~~as-
l3330954. php       Bonnen        Chairs       Committee             Examining         Property      Rights       And       Coastal  Issues,
http ://w ww .denn isbonnen .com/index. ph p/ins ider-s-report/item/23-bo'nnen-cha irs-comm ittee-exam in in g-property:
rights-and-coastal-issues. Nate Persily, "Introduction," in PUBLIC OPINION AND CONSTITUTIONAL CONTROVERSY I 0
(2008) .
152
    Houston, to the delight of those who prefer to live in close proximity to a variety of businesses and housing
structures, as avoided this pitfall. Bernard Siegan, Non-Zoning in Houston, 13 J.L. & ECON. 71 (1970).
153
    Keith Hirokawa, Property as Capture and Care, 74 ALB. L. REV. 175, 198 (20 l 0).
154
    Ehrlich v. City Of Culver City, 911 P.2d 429 (1996); Home Builders Ass'n v. City ofScottsdale, 930 P.2d 993 (Ariz.
1997).

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higher prices, are used by cities to fund the construction of roads, sidewalks, parks, and fire
stations. 155 While impact fees first appeared during the 1950s in Califomia, 156 they are now
commonplace in hundreds of city codes across the State including in McKinney, Austin, Pearland,
Keller, New Braunfels, Frisco, San Marcos, College Station, Houston, Baytown, Fort Worth,
Frisco, El Paso, Allen, Galveston, Greenville, Arlington, Boerne, Taylor, South Lake, Seguin,
Tomball, Missouri City, Dallas, Magnolia, Midland, Brownsville, San Antonio, Orange, Corpus
Christi, and Lubbock, among many others. 157 Indeed, a 2006 survey by Kansas State University
researchers concluded that the fees add $11,000 to the going rate for the most valuable asset that
most American families will ever own. While municipalities often justify development fees as
necessary to fund public improvements or administrative costs, in reality, the devices are little
more than extortionary tools targeted at real estate developers or parties who have chosen to
construct their own home to cover budget shortfalls that city officials could not address through
generally applicable taxes. Under current federal takings doctrine, there must be a nexus and a
rough proportionality between an imposed condition (or in this case fee) and the anticipated public
harm.158 Where impact fees are wildly disproportionate to the anticipated impact of the
development, resort to the courts is often the only way individuals can secure relief. A case from
California provides a cautionary tale of this standard's flexibility. When Jozette Banzon and her
husband decided that they wanted to build a single-family home for their children on a comer plot
in Elk Grove, California, California officials conditioned the construction permit on the couple
paying $240,357 for road improvements in the surrounding community. While there was a rough
relationship between the fee and the condition because it is common, and now expected, for
suburban homes to have access to public streets, the State effectively attempted to force one family
to subsidize the cost of road construction for an entire neighborhood rather than ask all the citizens
of Elk Grove to pay for a public good that they all benefit from. 159 The difficulties don't stop here,
though, because of the vices of triple taxation and regulation. Building permits are often difficult
to obtain because land use authorities are vested with wide-discretion to make judgment calls as
to whether proposed projects satisfy zoning requirements. 160 This discretion permits municipal
authorities to hold applications in perpetual limbo to extract concessions from homeowners and
businesses that employ state residents. 161 Because there can be no return on a real estate investment
that cannot be developed while an application is pending, this practice hits small business, female,

155
    Ronald H. Rosenberg, The Changing Culture of American Land Use Regulation: Paying for Growth with Impact
Fees, 59 SMU L. Rev. 177 (2006)
156
    Brian Blaesser and Christine Kentopp, Impact Fees: The Second Generation, 38 WASH. U. J. URB. & CONTEMP. L.
55, 60 (1990).
157
    Brief for the Institute of Justice and the Cato Institute as Amici Curiae Supporting Petitioner at 11-12, Koontz v.
St. Johns River Water Management District, 133 S.Ct. 2586 (2012) (No. 11-1447).
158
    Nol/an v. California Coastal Commission, 483 U.S . 825 (1987); Dolan v. City of Tigard, 512 U.S. 374 (1994); see
also Koontz v. St. Johns River Water Mgmt. Dist., 570 U.S. 595,595, 133 S. Ct. 2586, 2589, 186 L. Ed. 2d 697 (2013);
Palazzolo v. Rhode Island, 533 U.S. 606,617, 121 S. Ct. 2448, 2457, 150 L. Ed. 2d 592 (2001); Lambert v. City &
Cty. of San Francisco, 529 U.S. 1045, 120 S. Ct. 1549, 1551, 146 L. Ed. 2d 360 (2000); Philip Morris, Inc. v.
Harshbarger, 159 F.3d 670, 676 (1st Cir. 1998); Commercial Builders of N. California v. City of Sacramento, 941
F.2d 872 (9th Cir. 1991); Hillcrest Prop. , LLP v. Pasco Cty., 915 F.3d 1292, 1298 (11th Cir. 2019); Ridge Line, Inc.
v. United States, 346 F.3d 1346, 1352 (Fed. Cir. 2003); Boone v. United States, 743 F. Supp. 1367, 1377 (D. Haw.
1990), affd, 944 F.2d 1489 (9th Cir. 1991); Amoco Oil Co. v. Vil/. ofSchaumburg, No. 91 C 4973, 1992 WL 229591,
at *3 (N.D. Ill. Sept. 11, 1992); Skora v. City ofPortland, 544 F. Supp. 2d 1128 (D. Or. 2008).
159
    These political process problems are not new. See generally John Hart Ely, DEMOCRACY AND DISTRUST: A
THEORY OF JUDICIAL REVIEW (1980); see also McCulloch v. Maryland, 17 U.S . 316 (1819).
160
    See, e.g., Sanitation & Recycling Indus., Inc. v. City ofNew York, 107 F.3d 985, 995 (2d Cir. 1997).
161
    Richard Epstein, The Harms and Benefits ofNol/an and Dolan, l 5 N. ILL. U. L. REV. 479, 483 (1995).

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and minority business owners the hardest. Texas has a peculiar interest in avoiding this result
because the previous three Governors, George W. Bush, Rick Perry, and Greg Abbott, have all
prioritized the cultivation of a business friendly environment through tax initiatives designed in
part to recruit young, highly educated, but over taxed individuals from the East and West Coasts
to the State and, directed their state Solicitors General to further that objective through state
litigation and amicus brief filings in other jurisdictions. 162
        Fourth, regardless of one's beliefs on whether modem takings doctrine should be overruled
to conform with the original understanding of the Clause, 163 one could argue, as New York
University Law Professor Richard Epstein and Georgetown Law Professor Randy Barnett have,
that current doctrine is nonetheless still out of step with that understanding. 164 As Stanford Law
Professor Michael McConnell has recounted, during the mid-eighteenth century, compensation for
government takings were made through statutory authorization or judicial decision. 165 By 1789,
though, only Vermont and Massachusetts, included just compensation requirements in their
constitutions. 166 While there are few sources from the 1791 congressional debates that touch on of
the Takings Clause and scholars disagree on the present significance of the provision, 167 the Just
Compensation Clause has a long pedigree in the English common law. Indeed, at common law, as
Sir Edward Coke argued, it was axiomatic that the negative right to own property was coextensive
with the right to make reasonable use of the property, and to do so at the exclusion of the rest of
the world. 168 As William Blackstone elaborated, the right of property is an "absolute right, inherent
in every Englishman ... which consists in the free use, enjoyment, and disposal of all his [or her]
acquisitions, without any control or diminution save only by the laws of the land." 169 More than
that, Blackstone also insisted that if the legislature required a landowner to surrender her or his
property for the common good, it had to render to the holder "a full indemnification and equivalent
for the injury thereby sustained." 170 Even if one disagrees with the central thesis of Professor
Epstein or Professor Barnett, the central point here is not that their perspective on the Takings
Clause ought to be adopted as a matter of federal constitutional law but rather, that the Texas bench
and bar, which is ostensibly staffed by many self-declared original public meaning originalists
ought to consider this discrepancy as just one more reason to resist lock-stepping in this area.

162
    See generally Wayne Thorburn, RED STATE: AN INSIDER'S STORY OF HOW THE GOP CAME TO DOMINATE TEXAS
POLITICS (2014); For illustrative filings, see Robinson v. Crown Cork & Seal Co., No. 06-0714, 2008 Tex. LEXIS 5
(Tex.Jan 11, 2008); Methodist Healthcare System v. Rankin, 307 S.W.3d 283 (Tex.2010); City of Pasadena v. Smith,
292 S.W.3d 14 (Tex. 2009);
163
    Antonin Scalia, 1997 Wriston Lecture: On Interpreting The Constitution, available at: https://www.manhattan-
inst ilule.01'!!, 1Hml/ I 997-wrfat0n-lecttll·e-i1 llen,rel ing-con ·1 jllJlic 11-R963 .I 1lml; J Harvie Wilkinson III, COSMIC
CONSTITUTIONAL THEORY: WHY AMERICANS ARE LOSING THEIR INALIENABLE RIGHT TO SELF-GOVERNANCE (2011 );
Richard Posner, LAW, PRAGMATISM, AND DEMOCRACY (2003).
164
    See Richard Epstein, TAKINGS: PRIVATE PROPERTY AND THE POWER OF EMINENT DOMAIN (1985); Randy Barnett,
RESTORING THE LOST CONSTITUTION (2003).
165
    Michael W. McConnell, Contract Rights and Property Rights: A Case Study in the Relationship between Individual
Liberties and Constitutional Structure, 76 CALIF. L. REV. 267 (1988)
166
    Mass. Const. of 1780, pt. I, art. X, reprinted in 1 Federal or State Constitutions, Colonial Charters, And Other
Organic Laws of the United States 958 (1878); Vt. Const. of 1786, ch. I, § 2, reprinted in 1 Federal or State
Constitutions, Colonial Charters, And Other Organic Laws of the United States 1859 (1878).
167
     ; Compare Bruce Ackerman, PRIVATE PROPERTY AND THE CONSTITUTION (1977) with Richard Epstein, TAKINGS:
PRIVATE PROPERTY AND THE POWER OF EMINENT DOMAIN (1985).
168
    See 1 Edward Coke, THE INSTITUTES OF LAWS OF ENGLAND, ch. 1 sec. 1 (1797).
169
    1 William Blackstone, COMMENTARIES ON THE LAWS OF ENGLAND 41 (1765).
170
    Id. at 139.

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        Fifth, Williamson County's exhaustion requirement also introduces federal confusion into
Texas' state courts. If the reader will recall from Part II, that decision requires that a plaintiff"seek
just compensation through the procedures the State has provided for doing so" before turning to
the federal courts. 171 It follows that in cases before Texas state courts presenting both state and
federal takings claims, one would assume that the nominal order for claim disposition would assign
priority to state claims not only because of Williamson County, but also, the Due Process Clause.
However, because Texas state courts are also courts of limited subject matter jurisdiction and
impose the same ripeness requirements on litigants that their Article III counterparts do, some have
reversed the claim disposition order ostensibly from confusion. This state of affairs, however, is
unnecessary because it is far from clear that Williamson County's doctrinal underpinnings even
support a state litigation requirement. To take just one example, the Court in Williamson drew an
analogy to Ruckelshaus v. Monsanto Co., a case concerning claims brought against the federal
government under the Tucker Act. There, Monsanto alleged that the government's disclosure of
trade secrets submitted confidentially in compliance with the Federal Insecticide, Fungicide, and
Rodenticide Act (FIFRA) amounted to an unconstitutional taking. 172 The Tucker Act, however,
provided the exclusive procedural mechanism for providing compensation as well as a federal
forum for resolving those cases. 173 Monsanto was only concerned with the question of whether the
company could bring its Tucker Act suit immediately or first had to exhaust FIFRA's remedial
provisions, which required the company to participate in settlement or arbitration proceedings.
Notice, though, how the Court uses Monsanto's holding in a case solely about two twentieth
century federal statutes passed after the switch in time that saved nine, as a major premise. to
support the following conclusion about the meaning of a Constitutional provision ratified in 1791:
                 taking claims against the Federal Government are premature until
                 the property owner has availed itself of the process provided by the
                 Tucker Act ... Similarly, if a State provides an adequate procedure
                 for seeking just compensation, the property owner cannot claim a
                 violation of the Just Compensation Clause until it has used the
                 procedure and been denied just compensation.
The problem? We aren't in Westminster Hall anymore: as every first year constitutional law
student learns, constitutional provisions take precedence over statutes, the former supersedes the
latter if there is a conflict, and, perhaps with the exception of the Dormant Commerce Clause,
Reconstruction Amendments, Nineteenth, Twenty-Third, Twenty-Fourth, and Twenty-Sixth
Amendments, Congress' ipse dixit on one occasion alone a century removed from the founding or
Fourteenth Amendment's ratification cannot control constitutional questions. 174 The other case
cited in Williamson County for the state co·urt exhaustion principle, Parrat v. Taylor, a Due Process
Clause decision, likewise does not support this result. 175 In Parrat, the Court found that a
prisoner's due process claim under42 U.S.C. §1983 did not become ripe until the inmate exhausted
adequate state post-deprivation remedies. 176 Parrat itself, however, did not require a party to



171
    473 U.S. 185, 194.
172
    467 U.S. 998.
173
    28 u.s.c. §1491.
174
    Saikrishna Prakash and John Yoo, People t- Legislature, 39 HARV. J. L. & PUB. POL'Y. (2016).
175
    451 U.S. 527 (1981).
176
    451 U.S. at 543.

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pursue each and every conceivable state court remedy available. 177 Sixth, even assuming for the
sake of argument, that Texas state courts treated county courts as if they were sovereign entities
with reserved constitutional prerogatives that preceded the formation of the 1836 republic or the
State itself after its admission to the union in 1845 (and they don't), 178 Williamson County would
still create a regime where property owners would be deprived of a State forum for violation of
their Fifth Amendment rights. This is so because the claim and issue preclusion doctrines would
bar the re-litigation of claims or issues in State court once a county court resolved them. 179 On this
question, Williamson County's interpretation in the inferior federal courts provides a cautionary
tale. Indeed, the various circuit courts of appeals have applied the claim and issue preclusion
doctrines to hold that once a takings case is litigated in state court, it cannot be re-litigated in
federal court. 180 In sum, the requirement of duplicative adjudication of the same claim, in addition
to being a time-wasting hurdle for courts and litigants even when a federal claim is allowed, often
altogether bars federal courts from reviewing plaintiffs' Fifth Amendment claims for just
compensation. In fact, between 1990 and 1997, federal courts, citing Williamson County, declined
to review over 90 percent of all cases that dealt with land use takings. 181 In the words of Justice
Brennan, for no other class of federal constitutional plaintiffs, "who are entitled to full
consideration of their claims on the merits," is "the courthouse door" slammed so often. 182 This is
not to say that Williamson County's mandate that State takings claims be considered before federal
ones is not ultimately correct - the Due Process Clause commands it. But to the extent that the rule

177
     Williamson Cty. Reg'! Planning Comm'n v. Hamilton Bank of Johnson City, 473 U.S. 172, 195 n.14 (1985); see
also J. David Breemer, Overcoming Williamson County's Troubling State Procedures Rule: How the England
Reservation, Issue Preclusion Exceptions, and the Inadequacy Exception Open the Federal Courthouse Door to Ripe
Takings Claims, 18 J. LAND USE & ENVTL. L. 209,229 (2003).
178
    Although the idea does sound fanciful, there are some southern states that have maintained gubernatorial electoral
regimes that accorded a status to counties that resembles the position of the States in the union today. See, e.g., Gray
v. Sanders, 372 U.S. 368 (1963). Also, the reference to counties here is rather consequential as cities, but not counties,
with home rule authority "possess the power of self-government and look to the Legislature not for grants of authority,
but only for limitations on their authority." TEX. LOC. GOV'T CODE§ 5 l .072(a); Dall. Merch. 's & Concessionaire's
Ass'n v. City of Dall., 852 S.W.2d 489, 490-91 (Tex.1993); BCCA Appeal Grp., Inc. v. City of Houston, 496 S.W.3d
1, 7 (Tex. 2016). In any event, for the purposes of the claim being made here, the distinction is one without a difference
because "[t]he Texas Constitution mandates that no city ordinance "shall contain any provision inconsistent with the
Constitution of the State, or of the general laws enacted by the Legislature of this State." TEX. CONST. art. XI, §
5(a). Therefore, a home-rule city's ordinance is unenforceable to the extent that it is inconsistent with either the federal
or State constitutions. The result is that if one subscribes to the claim that the conservative political elites in the State
believe that Williamson County was incorrectly decided in part because it prevents claimants from litigating in the
federal, State, or local forum of their choice, as the recent amicus brief filed by Ken Paxton, Scott Keller, Jeffrey
Mateer, and Bill Davis in Knick v. Township of Scott suggests, the State Supreme Court ought to not impose this
federal requirement on local courts - regardless of whether the local entities retain any rulemaking authority. Brief for
Texas and Oklahoma as Amici Curiae Supporting Petitioners at 1, Knick v. Township of Scott., 138 S.Ct. 1262 (2018)
(No. 17-647).
179
    New Hampshire v. Maine, 532 U.S. 742, 748-49 (2001).
180
    See, e.g., Rainy Bros. Constr. Co. v. Memphis & Shelby County Ed ofAdjustment, 178 F.3d 1295 (6th Cir. 1999);
Frontal Royal and Warren County Indus. Park Corp. v. Town of Frontal Royal, 135 F.3d 275 (4th Cir. 1998); Dodd
v. Hood River County, 136 F.3d 1219 (9th Cir. 1993); Fields v. Sarasota Manatee Airport Auth., 953 F.2d 1299 (11th
                                        1


Cir. 1992); Wilkinson v. Pitkin County Ed. of County Comm 'rs, 142 F.3d 1319 (10th Cir. 1998); Palomar Mobilehome
Park Ass 'n v. City of San Marcos, 989 F.2d 362 (9th Cir. 1993); Fields v. Sarasota Manatee Airport Auth., 953 F.2d
1299(11 th Cir. 1992); Peduto v. City ofNorth Wildwood, 878 F.2d 725 (3d Cir. 1989).
181
    Alex Annett, The Heritage Foundation, How Congress Can End the "Regulatory Limbo" Blocking Property
Owners' Access to Justice, FYI No. 154 October 1, 1997.
182
    See, e.g.,, Gregory Stein, Regulatory Takings and Ripeness in Federal Courts, 48 VAND. L. REV. 1, 23 (1995) ("the
state compensation portion of [Williamson] finds no parallel in the ripeness cases from other areas of the law").

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and other abstention doctrines are ostensibly a product of a national court seeking to respect the
jurisdiction of fifty different state court systems, 183 why are state courts of last resort with limited
subject matter jurisdiction and ripeness requirements adopting this peculiar exhaustion doctrine
and confusing lower state courts in the process?
        If the people of Texas have not "ceased to be their own rulers" and refuse to "resign their
Government into the hands of' the Supreme Court, the question then becomes which interpretation
of Article I §17 best adheres to the provision's text, history, structure, and purpose as well as the
State of Texas' unique ethos. 184 This inquiry is of particular interest to Texas' oil and gas litigators
because the Texas Supreme Court has not yet decided what standard applies to municipal
ordinances that limit or prohibit oil and gas development specifically without providing just
compensation. 185 The First Court of Appeals' decision in Trail Enterprises, Inc. v. City ofHouston
(Trail II), provides some guidance. 186 There, the City of Houston passed an ordinance prohibiting
mineral drilling in lands that it exercised extraterritorial jurisdiction over and annexed Trail
Enterprises' mineral bed beneath Lake Houston. In the initial 1995 lawsuit in the Fourteenth
District Court, Trail Enterprises lost on summary judgment because their adverse possession claim
was time barred by the state Civil Practice and Remedies Code. 187 In 1997, Houston attempted to
commandeer the mineral-rich land surrounding Lake Houston through similar means and Trail
Enterprises filed an inverse condemnation action challenging the ordinance. After both parties
filed cross motions for summary judgment and the District Court granted the City's request, Trail



183
    See Rooker v. Fidelity Trust Co., 263 U.S. 413 (1923); District of Columbia Court of Appeals v. Feldman, 460
U.S. 462 (1983); Susan Bandes, The Rooker-Feldman Doctrine: Evaluating Its Jurisdictional Status, 74 NOTRE DAME
L. REV. 1175 (1999).
184
    Abraham Lincoln, First Inaugural Address, available at http://avalon.law.yale.edu/ 19th century/lincolnl.asp (last
accessed April 8, 2019); see also Phillip Bobbitt, CONSTITUTIONAL FAITH (1982).
185
    The Texas Supreme Court's 2004 decision in Sheffield Development Company v. City of Glenn Heights, 140
S.W.3d 660 (Tex.2004), dealt with land development and zoning, which presents different concerns from mineral
extraction. Not only have several Texas court of Appeals explicitly declined to extend the Sheffield framework to oil
and gas extraction, others have commented that the decision is no different from other land use restrictions that Texas
courts have found could support an inverse condemnation proceeding for nearly a century. For cases declining to
extend the Sheffield framework to other areas, see Rowlett/2000, Ltd. v. City of Rowlett, 231 S. W.3d 587 (Tex. App.
2007); Vil/. of Tiki Island v. Ronquille, 463 S.W.3d 562 (Tex. App. 2015); City of Lorena v. BMTP Holdings, L.P.,
409 S.W.3d 634 (Tex. 2013); BMTP Holdings, L.P. v. City of Lorena, 359 S.W.3d 239 (Tex. App. 2011), affd, 409
S.W.3d 634 (Tex. 2013); Comunidad Balboa, LLC v. City of Nassau Bay, 402 S.W.3d 479 (Tex. App. 2013); Baker
v. City of Robinson, 305 S.W.3d 783 (Tex. App. 2009). For a list of illustrative inverse condemnation proceedings,
see, e.g., City of Wink v. Griffith Amusement Co., 129 Tex. 40, 100 S.W.2d 695, 700 (1936); City of Abilene v. Burk
Royalty Co., 470 S.W.2d 643,646 (Tex.1971); State v. Momin Prop., Inc., No. 01-12-00854-CV, 2013 WL 2445076,
*7 (Tex.App.-Houston [1st Dist.] June 6, 2013, pet. filed); City of Houston v. Texan Land & Cattle Co., 138 S.W.3d
382, 387 (Tex.App.-Houston [14th Dist.] 2004, no pet.); Westgate, Ltd. v. State, 843 S.W.2d 448, 452 (Tex.1992);
City of Dallas v. Blanton, 200 S.W.3d 266, 271 (Tex. App.--Dallas 2006, no pet); Gen Servs. Com'n v. Little-Tex
Insulation Co., Inc., 39 S.W.3d 1,598 (Tex. 2001); Bell v. City of Dallas, 146 S.W.3d 819, 825 (Tex. App.-- Dallas
2004, no pet); Edwards Aquifer Authority v. Day, 369 S.W.3d 814 (Tex. 2012), City ofAustin v. Teague, 570 S.W.2d
389 (Tex. 1978); DuPuy v. City of Waco, 396 S.W.2d 103 (Tex. 1965); State v. Fiesta Mart, Inc., 233 S.W.3d 50, 53
(Tex. App.--Houston [14th Dist.] 2007, pet. denied); see also, Timothy Riley, Note, Wrangling with Texas Urban
Wildcatters: Defending Texas Municipal Oil and Gas Development Ordinances Against Regulatory Takings
Challenges, 34 VERMONT L. REV. 340 (2007).
186
    Trial Enters., Inc. v. City of Houston (Trail II), No. 14-01-00441-CV, 2002 Tex. App. LEXIS 1872 (Tex. App.-
Houston Mar. 14, 2002).
187
    Trail Enterprises, Inc. v. City of Houston, 957 S.W.2d 625, 631 (Tex. App. 1997).

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Enterprises appealed, and the First Court of Appeals reversed. 188 In reaching this conclusion, the
Court clarified that Article I § 17 was violated only if the Houston ordinance did not "substantially
advance[ d] legitimate state interests; denied property owners all economically viable use of their
property, or unreasonably interfered with property owners' right to use and enjoy their
property." 189 Here, unreasonable interference is determined by analyzing the "economic impact of
the regulation and the extent to which the regulation interferes with distinct investment-backed
expectations." 190 In evaluating a regulation's economic impact, the relevant comparison is between
the taken value and the value remaining with the property excluding "anticipated gains or potential
future profits." 191 And the permitted and existing uses on the property are the "primary
expectations" of a property owner when considering investment-backed expectations. 192 The First
Court of Appeals' test is the appropriate standard for Article I § 17 Statewide for two reasons. First,
unlike a traditional land development project, oil and gas ventures often affect both horizontal and
vertical property interests and implicate multiple estate claims if the petroleum has been severed
from the surface or held by a third party through a lease. 193 Texas law, rightly, has long encouraged
non-renewable energy production to promote commerce and national self-sufficiency; 194 indeed,
as the Texas Supreme Court declared in 1977:
                 the landowner is regarded as having absolute title in severalty to the
                 oil and gas in place beneath [her or] his land. The only qualification
                 of that rule of ownership is that it must be considered in connection
                 with the law of capture and is subject to police regulations. The oil
                 and gas beneath the soil are considered a part of the realty. Each
                 owner ofland owns separately, distinctly and exclusively all the oil
                 and gas under [her or] his land and is accorded the usual remedies
                 against trespassers who appropriate the minerals or destroy their
                 market value." 195
        Thus, "every owner or lessee is entitled to a fair chance to recover the oil or gas in or under
[her or] his land, or their equivalent in kind, and any denial of such fair chance amounts to


188
    Trial Enters., Inc. v. City of Houston (Trail II), No. 14-01-00441-CV, 2002 Tex. App. LEXIS 1872 (Tex. App.-
Houston Mar. 14, 2002).
189
    Id. at 7.
190 Id.
191
    Id. at n.5.
in Id.
193
    Owen Anderson, John Dzienkowski, John Lowe, Robert Peroni, David Pierce, Ernest Smith, OIL AND GAS LAW
AND TAXATION 1-14 (2017).
194
    Sergio Chapa, Texas crude oil production breaks 1970s record HOUST. CHRON. (2019).
195
    Elliffv. Texon Drilling Co., 146 Tex. 575,580,210 S.W.2d 558,561 (1948); see also Halbouty v. R.R. Comm'n,
163 Tex. 417, 357 S.W.2d 364 (1962); SWEPL L.P. v. Camden Res., Inc., 139 S.W.3d 332 (Tex. App. 2004); Gregg
v. Delhi-Taylor Oil Corp., 162 Tex. 26,344 S.W.2d 411 (1961); Seagull Energy E & P, Inc. v. R.R. Comm'n of Texas,
99 S.W.3d 232 (Tex. App. 2003), order withdrawn (July 2, 2004), affd sub nom. Seagull Energy E & P, Inc. v. R.R.
Comm'n, 226 S.W.3d 383 (Tex. 2007); Shelby Operating Co. v. City of Waskom, 964 S.W.2d 75 (Tex. App. 1997);
Browning Oil Co. v. Luecke, 38 S.W.3d 625 (Tex. App. 2000); R.D. Oil Co. v. R.R. Comm'n a/Texas, 849 S.W.2d
871 (Tex. App. 1993); Ryan Consol. Petroleum Corp. v. Pickens, 266 S.W.2d 526 (Tex. Civ. App. 1954), affd, 155
Tex. 221,285 S.W.2d 201 (1955); Breton Energy, L.L.C. v. Mariner Energy Res., Inc., 764 F.3d 394 (5th Cir. 2014);
In re Hawn, 149 B.R. 450 (Bankr. S.D. Tex. 1993), affd in part sub nom. Hawn v. Am. Nat. Bank., No. CIV. A. C-
93-102, 1996 WL 142521 (S.D. Tex. Jan. 23, 1996); In re Hess, 61 B.R. 977 (Bankr. N.D. Tex. 1986); Brown v.
United States, No. 1-279, 1970 WL 337 (N.D. Tex. June 17, 1970).

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confiscation." 196 In furtherance of this state objective, it follows that when evaluating the impact
of a municipal oil and gas ordinance that curtails or prohibits production, Texas courts ought not
to aggregate the mineral estate with the surface estate. This is so because aggregation of both
interests would likely preclude a takings claim to a municipal regulation that prohibited drilling. 197
After all, in the words of Federalist Society Property Rights Group Chairman, James Burling "if
only a portion of the beneficial or productive use of the parcel of property is completely destroyed,
or if only a distinct severable property interest (such as a mineral right) is completely destroyed,
then a court may find that there is a partial taking." 198 This approach is consistent with the Texas
Supreme Court's obligation to assign an independent meaning to the state's takings clause that
does not simply follow the U.S. Supreme Court's interpretation of the Fifth Amendment. Indeed,
the U.S. Supreme Court "repeatedly has held that the relevant parcel to be examined is not the
affected portion of the property but the entire parcel, or what the Court calls the parcel as a
whole." 199 The confiscatory rule can be traced back to Penn Central where Justice Brennan
quipped that "in deciding whether a particular governmental action has effected a taking, th[ e]
Court focuses both on the charter of the action and on the nature and extent of the interference
with rights in the parcel as a whole." 200 Explicit adoption of the standard, though, did not come
until Keystone Bituminous Coal Ass 'n v. DeBenedictis, a case concerning a coal mine operator
seeking to enjoin enforcement of a Pennsylvania law requiring operators to leave a certain amount
of coal behind to prevent damage subsidence. 201 There, the Court in commenting that takings
claimants may not rely "on .. .legalistic distinctions within a bundle of property rights" rejected the
coal operator's assertion that the support estate - the coal left in place to avoid subsidence - should
be separated from the mineral estate. 202 The Texas Supreme Court, to its credit, has previously
suggested that estates ought to be analyzed separately but has declined to make the point clear. To
take just a few examples, the Court has compared taken and remaining property interests in
eminent domain challenges 203 and summarily dismissed an opinion from the Second Court of
Appeals in Fort Worth that adopted the parcel-as-a-whole test. 204 Second, again, given that several
Texas energy law doctrines, even those that purportedly qualify absolute rights in the mineral
estate, have been consciously designed to incentivize production and accelerate oil extraction (see
Appendix II), 205 Texas state courts ought to consider reading Article I §17's requirement of

196
    Gulf Land Co. v. At!. Ref Co. 131 S.W.2d 73 (Tex. 1939); Atl. Ref. Co. v. R.R. Comm'n ofTex., 162 Tex. 274,
346 S.W.2d 801 (1961); Texaco, Inc. v. R.R. Comm'n of Texas, 716 S.W.2d 138 (Tex. App. 1986), writ refused NRE
(Dec. 3, 1986); Colorado Interstate Gas Co. v. Sears, 362 S.W.2d 396 (Tex. Civ. App. 1962), writ refused NRE (Feb.
13, 1963); Lightning Oil Co. v. Anadarko E & P Onshore LLC, 480 S.W.3d 628 (Tex. App. 2015), affd sub nom.
Lightning Oil Co. v. Anadarko E&P Onshore, LLC, 520 S.W.3d 39 (Tex. 2017).
197
    Douglas Kendall, TAKINGS LITIGATION HANDBOOK: DEFENDING TAKINGS CHALLENGES TO LAND USE
REGULATIONS 24 (2000).
198
    James Burling, Private Property Rights and the Environment After Palazzolo, 30 B.C. ENVTL. AFF. L. REV. 1, 51
(2002).
199
     Timothy Dowling, The Parcel-as-a-Whole Rule and its Importance in Defending Against Regulatory Takings
Challenges, in TAKING SIDES ON TAKING ISSUES: PUBLIC AND PRIVATE PERSPECTIVES 76 (2002).
200
    Penn Cent. Transp. Co. v. New York City, 438 U.S. 104, 130-31 (1978); Andrus v. Allard, 444 U.S. 51, 65 (1979).
201
    Keystone Bituminous Coal Ass 'n v. DeBenedictis, 480 U.S. 470 (1987).
202
    Id. at 500.
203
    Taub v. City of Deep Park, 882 S.W.2d 824,827 (Tex. 1994); City ofAustin v. Capitol Livestock Auction Co., 453
S.W.2d 461 (Tex. 1970).
204
    Town of Flower Moundv. Stefford Estates Ltd. P'ship, 135 S.W.3d 620 (Tex. 2004).
205
    The table in Appendix I was obtain with the courtesy of the Texas Railroad Commission. See Texas Crude Oil
Production and Well Counts, Texas Railroad Commission, available at https://www.rrc.state.tx.us/oi1-gas/research-
and-statistics/prod uclmn-daw/ htRL • r1cnl-µrnduc Lit' 1 -dam/crudc-o i1-prod_uction -and-we 11-counts-si nee- I 93 5/

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"adequate compensation" for takings as requiring a just and reasonable return on equity. 206 By way
of background, in financial accounting, return on equity is the cost to the oil and gas firm of raising
capital. To attract investors, of course, an oil and gas firm must offer a sufficient risk-adjusted
expected return on equity that should be commensurate with returns on investments in other
enterprises having corresponding risks and sufficient to assure confidence in the financial integrity
of the enterprise, so as to maintain its credit and to attract capital. Otherwise put, a return on equity
should allow a utility to adequately compete for the investor's dollar. The emphasis here is not on
the returns of current shareholders, but rather ensuring that future capital may continue to be
attracted so long as other operations remain in the black. This conception of compensation aligns
well with an economic analysis of the concept because as former Seventh Circuit Judge and law-
and-economics scholar, Richard Posner, has underscored, in determining compensation the
primary question is whether "the shareholders [or sole proprietor or partners] had notice of the"
likelihood that the monetary value of their interest in the relevant venture could be decreased
through a given regulation. 207 Indeed, assuming the firm in question has issued either debt or equity
instruments to finance its operations, no compensation may be due at all. This is so because "if the
investors are bondholders, the regulated firm is presumably paying them a rate of interest
sufficiently high to compensate them for the disadvantages that the [state or city ordinance] may
impose upon them." And "[i]f they are stockholders, the rate of return on equity
capital.. .presumably was, when the [initial investment was made], sufficiently high to make the
investment remunerative." 208 Because markets with decent liquidity are presumed to be
information efficient, 209 those who take a conservative view of financial markets and securities
regulation, ought to be more supportive of state remuneration for takings involving rural
homesteads, sole proprietorships, or limited partnerships, or corporations qua corporations that do
not own all of their stock rather than corporate shareholders. This theory would likely bear the
most practical implications in derivative shareholder suits by recalcitrant investors seeking to have
the state provide them with compensation that they already implicitly gained in the market. 210



 Coastal Oil & Gas Corp. v. Garza Energy Tr., 268 S.W.3d 1, 13 (Tex. 2008); Halbouty v. R.R. Comm'n., 163 Tex.
417,357 S.W.2d 364, 374 (1962); Elliff v. Texan Drilling Co., 146 Tex. 575,210 S.W.2d 558, 561 (1948); Corzelius
v. Harrell, 143 Tex. 509, 186 S.W.2d 961, 964 (1945); Brown v. Humble Oil & Ref Co., 126 Tex. 296, 83 S.W.2d
935, 940 (1935); Stephens County v. Mid-Kansas Oil & Gas Co., 113 Tex. 160, 254 S.W. 290,292 (1923); see also
Houston & Tex. Cent. Ry. Co. v. East, 98 Tex. 146, 81 S.W. 279,280 (1904); Ryan Consol. Petrol. Corp. v. Pickens,
155 Tex. 221, 285 S.W.2d 201, 210 (1955) (Wilson, J., joined by Hickman, C.J., and Garwood, J., dissenting). The
rule of capture in this instance encourages many of the inefficiencies that property and tort scholars have associated
with regulations that encourage 'races to the courthouse' or in this cases 'races to drill.' Pierson v. Post, 3 Cai. R. 175
2 Am. Dec. 264 (1805); see also Richard Posner, ECONOMIC ANALYSIS OF LAW XXX (2014). Nonetheless, even
though Texas no longer has the infant energy industry that was the initial justification for the rule, neither the state
Supreme Court or lege has saw fit to abolish the rule through its 115-year existence ostensibly for policy reasons.
206
    Tex. Const. Art. I § 17.
207
    Richard Posner, ECONOMIC ANALYSIS OF LAW 464 (2014).
208
    Id. at 465.
209
     Eugene F. Fama, Efficient Capital Markets: A Review of Theory and Empirical Work, THE JOURNAL OF
FINANCE 383-417 (1970)
210
    While one could argue that homeowners, farmers, and small business owners also receive implicit compensation
in the form of bolstered reap property values, because the market for these goods is not nearly as information efficient
as a publicly traded exchange, one cannot be certain that the correct amount of compensation is being rendered. This
position is consistent with related securities law scholarship by prominent Republicans in the field; see also Joseph A.
Grundfest, Disimplying Private Rights ofAction under the Federal Securities Laws: The SEC's Authority, 107 HARV.
L. REV. 961 (1994) (arguing for the cubing of private rights of actions for shareholders under SEC Rule 10b-5); John

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        State taxation provides yet another example of this phenomenon. Article VIII §22 of the
 1876 Texas Constitution limits government expenditure increases in a two-year appropriations
cycle. The provision's lackluster performance has been accentuated by other aspects of the state
constitution which ironically despite Article II §l's admonition that the powers of the state
government "shall be divided into three distinct departments, each of which shall be confided to a
separate body of magistracy" concentrated powers in the hands of the Lieutenant Governor and
House Speaker in response to a series of seemingly abusive vetoes by James (Pa) Ferguson in the
early Twentieth Century. 211 The Lieutenant Governor is often considered the most powerful figure
in Texas politics because she has the power to appoint members to Senate committees, assign bills
to those committees, and exercise control over several aspects of the budget process. 212 The
Governor, by way of contrast, is usually confined to (1) calling special sessions (which often prove
necessary because lege meets for only 180 days every two years); 213 (2) delivering state of the state
addresses; 214 (3) vetoing or signing bills; 215 (4) filing vacancies that may arise in the state's U.S.
Senate delegation and on various state agencies and courts; 216 (5) serving as commander-in-chief
of the state militia; 217 (6) projecting the amount of revenue needed to carry out state
expenditures; 218 (7) granting reprieves and pardons with the recommendation of the State Board
of Pardons and Parole; 219 (8) declaring special elections for certain elective offices; 220 (9)
extraditing fugitives; 221 and (10) proposing the State budget. The 1876 Constitution, though,
contains other limits on state taxation - lege may not collect taxes via statutes that impose levies
on a subset of individuals who themselves are part of a large group of similarly situated
taxpayers; 222 public funds may not be distributed to individuals, associations, or municipal
corporations except in matters involving "public calamity;" 223 ad valorem taxes are prohibited; 224




C. Coffee, Jr., Reforming the Securities Class Action: An Essay on Deterrence and its Implementation, 106 COLUM.
L. REV. 1534 (2006).
211
    Ironically, while many today view the Texas Governorship as a stepping stone to higher national office within the
Republican Party, and is exempt from complying with writs of mandamus or quo warranto issued by the State courts,
the Texas Governor is actually the fifth most power executive official in the state behind the Lieutenant Governor,
Attorney General, Secretary of State, Comptroller?, and Agricultural Commissioner. See TEX. CONST. art. V, §3; see
also In re Occidental Chem. Corp., 561 S.W.3d 146 (Tex. 2018), reh'g denied (Dec. 14, 2018); In re Allcat Claims
Serv., L.P., 356 S.W.3d 455 (Tex. 2011); Johnson v. Tenth Judicial Dist. Court of Appeals at Waco, 280 S.W.3d 866,
874 (Tex. Crim. App. 2008); City of Round Rock v. Whiteaker, 241 S.W.3d 609, 635 (Tex. App. 2007); A & T
Consultants, Inc. v. Sharp, 904 S.W.2d 668, 672 (Tex. 1995); Clear Lake City Water Auth. v. Salazar, 781 S.W.2d
347,349 (Tex. App. 1989); Pat Walker & Co. v. Johnson, 623 S.W.2d 306,308 (Tex. 1981)
212
    Brian McCall, THE POWER OF THE TEXAS GOVERNOR 5 (2010).
213
    TEX. CONST. art. IV, §8.
214
    TEX. CONST. art. IV, §9.
215
    TEX. CONST. art. IV, §14.
216
    U.S. CONST. amend. XVII; see also David Schleicher, Federalism and State Democracy, 95 TEX. L. REV. 763
(2017).
217
    TEX. CONST. art. IV, §7.
218
    TEX. CONST. art. IV, §9.
219
    TEX. CONST. art. IV, § 11.
220
    TEX. CONST. art. IV, § 12.
221
    TEX. CONST. art. IV, §10.
222
    TEX. CONST. art. VII, §3.
223
    TEX. CONST. art. III, §51.
224
    TEX. CONST. art. VIII, § 1-e.

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and the state budget must remain balanced with certain qualifications. 225 Given these limitations,
delegated revenues from the state's gasoline tax and public lottery are of substantial importance. 226
        The amendment, though, has also been less than effective in constraining government
largess because of the Texas Supreme Court's reliance on federal concepts from foreign relations
law in interpreting the provision. To take just one example, in Hendee v. Dewhurst, the Third Court
of Appeals found that §22 was self-executing only to the extent that it "prohibited legislative action
that is inconsistent with its provisions" but did not speak to the judicial enforceability of the
provision's taxation and expenditure clauses. 227 The Court's citation practice in a case involving
only a state constitutional question is peculiar. In Texas:
                            "a constitutional provision is said to be self-executing if it
                   supplies a sujjicient rule by means of which the right given may be
                   erzjoyed and protected, or the duty imposed may be enforced; and it
                   is not self-executing when it merely indicates principles, without
                   laying down rules by means of which these principles may be given
                   force of law ... quoting T Cooley, Constitutional Limitations."
                   Similarly, "a ''political question," at least as it has been defined in
                   the federal courts, is one that involves (1) "a lack of judicially
                   discoverable and manageable standards for resolving it," or (2) "a
                   textually demonstrable constitutional commitment to a coordinate
                   political department ... quoting Baker v. Carr (italics added)". 228
        There are at least two noteworthy features from this passage. First, while it is customary
for public international law scholars to speak of "self-executing" treaties, the concept is ostensibly
foreign to state constitutional law because questions there do not implicate the same separation-
of-powers or national security concerns that their federal counterparts do; indeed, state statutes or
policies that conflict with federal action in this realm are at risk of scythe via preemption. 229 A
"self-executing" treaty is a treaty that creates a domestic legal obligation in the absence of
implementing legislation. 230 Although all treaties that create private rights of action are self-
executing, not all self-executing treaties necessarily create private rights of action. Thus, the Third
Restatement on Foreign Relations Law cautions that "whether a treaty is self-executing is a
question distinct from whether the treaty creates private rights or remedies." 231 This is all well and
good but to quote Yale Law School Professor Harold Koh, "is international law really state
law?"232

        One might counter that the Texas Supreme Court's hesitance to essentially imply a cause
of action from a state constitutional provision is not controversial because federal courts have
expressed similar reticence in interpreting Article Ill's "arising under" clause and the federal
question statute 28 U.S.C. § 1331. The flaw? Again, this comparison hoists apples next to oranges

225
      TEX. CONST. art. Ill, §49a.
226
      TEX. TAX CODE ANN. 162 (Vernon 2006); TEX. Gov'T CODE ANN. 466.357 (Vernon 2006).
227
    Hendee v. Dewhurst, 228 S.W.3d 354 (Tex. App. 2007).
228
    Id. at 369.
229
    Zschernigv. Miller, 389 U.S. 429 (1968).
230
    Oona A. Hathaway, Sabria McElroy & Sara A. Solow, International Law at Home: Enforcing Treaties in U.S.
Courts, 37 YALE J. INT'L L. 51-76 (2012).
211 Id.
232
    Harold Koh, Is International Law Really State Law, 111 HARV. L. REV. 1824 (1998).

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because it assumes a regime of limited subject matter jurisdiction for both federal and state courts
- a concept at odds with hombook first-year civil procedure. Second, the opinion's citation to
Thomas Cooley's Constitutional Limitations turns a blind eye to the fact that the work was pivotal
in securing support for the doctrine of substantive due process, a standard that, of course, originally
appeared in Chief Justice Taney's intellectually dishonest and universally condemned opinion in
Dred Scott v. Sanford, in the mid nineteenth century - a reason why many left-of-center and right-
of-center legal scholars refrain from relying on the treatise in their own scholarship. 233 In a state
such as Texas where the rule of law and the right to life are regarded as almost sacrosanct and
references to the evil of Dred Scott in Republican primary debates (where judges must actually
stand for election among intensely partisan voters) serves as a political dog whistle for abortion
ban support, this reliance is baffling. 234 As Justice Scalia, once recounted, the Due Process Clause
"has been interpreted to prevent the government from taking away certain liberties beyond
those ... that are specifically named in the Constitution."235 Skeptics of this theory need look no
further than to Emanuel Leutze's 1859 portrait of Roger Taney that hangs in the Harvard Law
School's Caspersen Room. The painting depicts Taney in the second year after the Court's
"greatest self-inflicted wound." 236 In the words of Justice Scalia, "Taney is in all
                 black, sitting in a shadowed red armchair, left hand resting upon a
                 pad of paper in his lap, right hand hanging limply, almost lifelessly,
                 beside the inner arm of the chair. He sits facing the viewer and
                 staring straight out. There seems to be on his face, and in his deep-
                 set eyes, an expression of profound sadness and disillusionment.
                 Perhaps he always looked that way, even when dwelling upon the
                 happiest of thoughts. But those of us who know how the lustre of his
                 great Chief Justiceship came to be eclipsed by Dred Scott cannot
                 help believing that he had that case-its already apparent
                 consequences for the Court and its soon-to-be-played-out
                 consequences for the Nation-burning on his mind. [As he sought
                 to call ... the contending sides of national controversy to end their
                 national division by accepting a common mandate rooted in the
                 Constitution. 237
        "When [women and] men have realized that time has upset many fighting faiths, they may
come to believe even more than they believe the very foundations of their own conduct" that "by
foreclosing all democratic outlet for the deep passions issues arouse, by banishing the issue from
the political forum that gives all participants, even the losers, the satisfaction of a fair hearing and
an honest fight, by continuing the imposition of a rigid national rule instead of allowing for


233
    See, e.g., Akhil Amar, AMERICA'S CONSTITUTION: A BIOGRAPHY (2006); Joshua Hawley, The Intellectual Origins
of (Modern) Substantive Due Process, 93 TEX. L. REV. 275 (2014). Although Taney is frequently and rightfully
derided for this opinion, he was one of the most influential jurists in the early nineteenth century and the legal
mastermind behind many of Andrew Jackson's polices. See Bernard Schwartz, Supreme Court Superstars: The Ten
Greatest Justices, 31 TULSA L.J. 93 (1995).
234
    Planned Parenthood of Se. Pennsylvania v. Casey, 505 U.S. 833, 1001----02 (1992) (Scalia, J., dissenting).
235
    Antonin Scalia, A MATTER OF INTERPRETATION: FEDERAL COURTS AND THE LAW 24 (1997).
236
    Charles Evans Hughes, THE SUPREME COURT OF THE UNITED STATES: ITS FOUNDATION, METHODS AND
ACHIEVEMENTS 50 (1928).
237
    Planned Parenthood of Se. Pennsylvania v. Casey, 505 U.S. 833, 1001----02 (1992) (Scalia, J., dissenting).

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regional differences," it intensifies political anguish. 238 "It may or may not be a good thing to
guarantee individual liberties ... but the Due Process Clause ... by its inescapable terms guarantees
only process." 239 The result is that the words of Justice John McLean ring true on this matter for
"when a strict interpretation of the Constitution, according to the fixed rules which govern the
interpretation of laws, is abandoned, and the theoretical opinions of individuals are allowed to
control its meaning, we have no longer a Constitution; we are under the government of individual
men, who for the time being have power to declare what the Constitution is, according to their own
views of what it ought to mean." 240 Even if one disagrees with this analysis on substantive due
process, which would be fair, at the very least they ought to be able to see why it would be
inadvisable for judges seeking re-election in a Republican primary dominated by Christian
fundamentalists to be citing to legal literature that sophisticated voters could fairly associate with
on-demand abortion.
        Third, this importation of the federal political question doctrine, a measure that was initially
conceived with delicate matters of national or international importance in mind, is inappropriate
on the State level for yet another reason: in Texas, a State plaintiff has a virtually indefeasible right
to have her claims adjudicated in a State forum once she has properly invoked that court's subject
matter jurisdiction. 241 One might counter that this response assumes the conclusion that the
political question doctrine does not place limits on the subject-matter jurisdiction of Texas State
courts. Fair enough. To this contention, the response must be that as a purely logical matter, why
does it follow that the mere ipse dixit that the federal political question doctrine constrains the
jurisdiction of Texas courts under the Texas constitution is true simply because federal courts are
so constrained? This reasoning would be unacceptable in any other context. If a first year contracts
or sports law student told her professor that Tom Brady's contract was subject to team waiver
merely because Aaron Judge also happened to have a contract that was subject to waiver, without
another constitutionally grounded premise devoid of personal policy preferences, that assertion
would be sternly rejected. Yet, the only response that one could present here is that this logical
fallacy is much ado about nothing because nine admittedly elected judges said so. Here as
elsewhere the words of Former Solicitor General Robert Jackson ring true: the Texas Supreme
Court is "not final [within the State] because [it is] infallible ... [it is] infallible only because [it is]
final."
      IV.     How the Texas Solicitor General Can Prevent Lockstepping
        The Office of the Texas Solicitor General, though, has the institutional capacity to prevent
lock-stepping in the Lone Star State's appellate courts through direct intervention under Texas
Rule of Appellate Procedure 58.8, certification under State Appellate Rule 58.1, amicus filings
under State Appellate Rule 11, and the corresponding processes under Federal Rules of Appellate
Procedure 15 and 29. From the first occasion that John Hemphill, Royall Wheeler, and Abner
Lipscomb convened the Texas Supreme Court's "Old Court" in December 1846 to the late
twentieth century, courts of last resort in the Lone Star state conducted their proceedings without

23s Id.
239
    Antonin Scalia, A MATTER OF INTERPRETATION: FEDERAL COURTS AND THE LAW 24 (1997).
240
    Dred Scott v. Sandford, 19 How. 393, 621 (1857) (McLean, J., dissenting).
241 One could argue that such a policy implicitly underlies the Texas Supreme Court's admonition "that when [the

Court's] jurisdiction is properly invoked as to one point set forth in the application for writ of error, [it] acquire[s]
jurisdiction of the entire case." Harry Eldridge Co., Inc. v. T.S. Lankford & Sons, Inc., 371 S.W.2d 878, 879
(Tex.1963).

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the assistance of a state solicitor general. 242 During this interim period, though, the need for able
assistance was apparent. To take just a few examples, Justice Lipscomb, a native South Carolinian
who had read law in the offices of John C. Calhoun, previously served as Chief Justice of the
Alabama Supreme Court, and was often assigned to write the Court's procedure cases, was often
forced to pen plainly written opinions that were devoid of citation to legal authorities. Justice
Wheeler, a classically educated lawyer from Vermont and law firm partner alongside Texas 'fire-
eater' Williamson Oldham, also struggled as he rarely wrote on matters that did not involve
criminal law and released dissenting opinions that the bar deemed repetitive. 243 Even the most
learned of the three, the Chief Justice suffered difficulties. Hemphill had graduated second in his
class at Jefferson College where he was known for his facility with languages, also read law under
Senator Calhoun, and gained notoriety in the state for his treatises on Spanish land law earning
him the honorific title as the "John Marshall ofTexas."244 However, Hemphill's rightful frustration
with the archaic English common law pleading system, and his proclivity to suggest the
incorporation of the much more efficient Spanish and Mexican procedures into Texas courts,
aroused the ire of his colleagues on the bench as well as that of bar practitioners. 245 More than that,
because the 1845 Court was statutorily required to ride circuit and hear cases in three cities -
Austin, Galveston, and Tyler - pressures to produce uniform opinions were accentuated. 246 The
result is that the Court issued only 100 opinions - most of which concerned issues of debt, land
titles, and procedure - after its first term. 247 Under Chief Justice Oran Roberts' leadership, the
Civil War Court fared little better due in large part to private violence against suspected unionists,
which a few members of the political elite such as Sam Houston denounced. In any event, because
Texas had attracted an uncomfortable amount of debtors from Mississippi, Alabama, and
Tennessee from the 1840s to 1850s because of its lax collection laws and the Civil War, the
legislature froze collections on bonds, promissory notes, bills of exchange, and contracts until
1864. Thus, "though the courts were kept open for criminal business relating to military operations
there was little else of a judicial nature transacted during the war period."248 The Texas Supreme
Court's relatively recent amendments to the Texas Rules of Appellate Procedure during the 1990s
suggest that its concern with an overburdened docket has a modem analogue. To take just one
example, prior to 1990, appeals from the Texas Court of Appeals to the State Supreme Court were
theoretically a matter of right and required only the filing of a fifty-one-page petition for a writ of
error under Texas Rule of Appellate Procedure 133. 249 After increased docket loads began to take
their toll during the 1980s, however, the Court modified that provision in the 1990 amendments to
Appellate Rule 133 such that "in all cases where the Supreme Court is not satisfied that the opinion
of the court of appeals in all respects has correctly declared the law but is of the opinion that the
application presents no error which requires reversal, or is of such importance to the jurisprudence


242
    Texas technically has two state courts of last resort - the Texas Supreme Court, which handles appeals in civil
cases and the Texas Court of Criminal Appeals, which, as its name suggests, reviews criminal matters.
243
    See, e.g., Coles v. Kelsey, 13 Tex. 75 (Tex.1854); but see Jones v. State, 13 Tex. 168 (1854).
244
    Andrew Walker, Mexican Law and the Texas Courts, 55 BAYLOR L. REV. 225, 244 (2003)
245
    Sydney Samuels, REPORT ON CEREMONY COMMEMORATING THE 100 YEARS OF EXISTENCE OF THE SUPREME
COURT OF TEXAS.
246
    See, e.g., Letter of Royall Wheeler to Oran M. Roberts, (September 20, 1849).
247
    See, e.g., Foster v. Van Norman, 1 Tex. 636 (Tex.1846); Cobbs v. Coleman, 14 Tex. 594 (Tex.1855).
248
    Dudley Wooten, A COMPREHENSIVE HISTORY OF TEXAS, 1685-1897 144 (1898).
249
    In re Johnson, 569 S.W.2d 882 (Tex.1978); Trad v. General Crude Oil Co., 474 S. W.2d 183 (Tex.1971).
  Michael Hatchell and Robert Calvert, Some Problems of Supreme Court Review, 6 ST. MARY'S L.J. 303, 309
(1974); Nagle v. Nagle, 633 S.W.2d 796, 802 (Tex. 1982)

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of the State as to require correction," the Court would deny the petition. Rule 133 has since been
repealed. Its modem analogues, however, Texas Rule of Appellate Procedure 53 and 56, not only
make clear that "[t]he petition for review procedure replaces the writ of error procedure" but also,
that the Court will eschew appeals as of right in granting the petition in favor of considering
                         whether the justices of the court of appeals disagree on an
                 important point oflaw; whether there is a conflict between the courts
                 of appeals on an important point oflaw; whether a case involves the
                 construction or validity of a statute; whether a case involves
                 constitutional issues; whether the court of appeals appears to have
                 committed an error of law of such importance to the state's
                 jurisprudence that it should be corrected; and whether the court of
                 appeals has decided an important question of state law that should
                 be, but has not been, resolved by the Supreme Court. 250
         OSG is significant in this context because the Texas Solicitor General is well equipped to
assist the Texas Supreme Court in avoiding lock-stepping as the various state attorneys general,
for the most part, are well positioned to help federal courts accommodate different jurisdictions
with diverse policy preferences. Prominent members of the appellate bench and bar have long
called for this development. Chief Justice Warren Burger lamented the quality of state appellate
advocacy and filings before the Supreme Court at a conference at Georgetown Law during the
early 1980s. 251 Indeed, as Justice Scalia recounted, this was a period when "states were throwing
away important points of law, not just for their state, but for the other 49" as well. 252 Things
appeared to have changed since that time, though. The states' turnaround can be traced to 1982
with the foundation of a Supreme Court advocacy group within the National Association for
Attorneys General office. The move, of course, coincided with the low point of judicially enforced
federalism in Garcia v. San Antonio Metropolitan Transit Authority. 253 In the words of NAAG
Supreme Court Project Founder, Douglas Ross, coordination was intended to eliminate this
deficiency as "states should have guardians of their interests on watch ... to maximize the
effectiveness of ... [their] role in making our federalism a reality" (See Table 6). 254
                                                        Table 6
                  State Amicus Participation in Supreme Court Cases 1960-1994           --
      Year       Number of Percentage Number of            Number of          Number of
                   Cases    of Supreme        Briefs     Individual State     Victories
                               Court          Filed       Interventions
                              Docket
      1960           4           3               8              11                2
      1961           8           7              11              33                4
      1962     -~   13
                             -·
                                 10
                                            --  40             124                6

250
    Tex. R. App. P. 56.
251
    Warren Burger, Conference on Supreme Court Advocacy Foreword, 33 CATH. U. L. REV. 525 (1983).
252
    Jennifer Senior, In Conversation with Antonin Scalia, N.Y. Mag. (Oct. 6, 2013).
253
    469 U.S. 528 (1995).
254
    Douglas Ross, Safeguarding Our Federalism: Lessons or the States from the Supreme Court, 45 PUB. ADMIN. REV.
723 (1985). The author is greatly indebted to Shane Gleason for Figure I. Shane Gleason, The Dynamics of Legal
Networks: State Attorney General Amicus Brie/Coalition Formation, 39 JUST. SYS. J. 253 (2018).

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    1963           7         5           7            20               3
    1964           8         7          18            21               3
    1965           5         5           9             86              2
    1966          18         17        20             20               7
    1967          16         13        25              58              5
    1968          12         11        47             76               3
    1969          17         15         58            75               8
    1970          13         10        25             63               6
    1971          13         9          17             69               5
    1972         21          13        39             71               12    --
    1973         14           9        24             72               10
    1974         17          12        54             192              7
    1975         25          16        68             145              9
    1976         21          14        34             174              9
    1977         26          19        134           207               8
    1978         13          9         65             75               6
    1979         12          9         13             67               4
                                                -           -
    1980          11         8          36            169              7
-   1981         17          11         25           298               7
    1982         18         12          29           524               10
    1983         22         15          33           509               11
    1984         33         21          47           329              19
    1985         30         19          41           303              18
    1986         48         31         491           658              27
    1987         40         27         257           472              13
    1988         40         27          53           494              24
    1989         39         29          47           764              21
    1990         39         29          98           1403             16
    1991         22         35          63           754              14
    1992         40         20          25           434               9
    1993         31         45          48           588              16
    1994         40         30          38           572              11




                                       42
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                                                 Figure 1

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                                                 Table 7

                                                       43
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                    Citations to Amicus Briefs in SuJreme Court Opinions 2008-2013
            Total Citations to Amicus Briefs                             606
             Citations to Statements of Fact                             124
       Citations for Facts in a Maioritv Opinion                          75
      Citation for Facts Without a Party Response                         89
      Citations for Facts to Amicus Briefs Alone                          76



       These efforts have been successful as the reversal rates for State court of last resort
decisions adopting the position of the State Solicitor General have decreased somewhat from the
1960s - after accounting for the Court's shrinking docket load following Byron White's retirement
from the bench. 255
                                                        Table 8
               U.S. Supreme Court Disposition of State High Court Decisions 1953-2003
                            Warren Court (1953- Burger Court (1969-          Rehnquist Court
                                   1969)                    1986)              ( 1986-2004)
            Affirmed                250                      252                    168
            Reversed                268                      194                     68
--          Remanded                394                      386                    292
--
        The Supreme Court's rules have contributed to this trend by according the states some
preferred status with intervention and amicus filings. Under 28 U.S.C. §2403, for instance, states
may intervene if the constitutionality of a state statute is drawn into question. 256 Supreme Court
Rule 29 .4(c) supplements this statutory provision by requiring petitioners to serve notice of a
constitutional challenge to a state statute "on the Attorney General of that State."257 In a similar
vein, just as the U.S. Solicitor General may file an amicus brief in the Court as of right under
Supreme Court Rule 37.4, 258 a corresponding privilege is extended to "State[ s], Commonwealth[ s],
Territor[ies], or Possession[s]" when the amicus brief is "submitted by its Attorney General." 259
       The result has been steady improvement in oral argument advocacy. In 2005, for instance,
Chief Justice Roberts noted that "the rise of Supreme Court and appellate practice departments in
major law firms" and "a corresponding development on the state and local government side" was
                                                                    °
a welcome "phenomenon of the past twenty-five years." 26 Former Third Circuit Judge Ruggero
Aldisert, the author of a widely read book on appellate brief writing among legal writing

255
    Because Justice White believed strongly that certiorari should be granted whenever there was a conflict among
the circuits, the Court's decreased caseload following his departure was not all that surprising and must be
accounted for when evaluating these figures. See Ruth Bader Ginsberg, Remembering Justice White, 74 U. COLO. L.
REV. 1283, 1285 (2003).
256
    28 U.S.C. §2403 .
257
    SUP. CT. R. 29.4(c).
258
    SUP. CT. R. 37.4.
259   Id.
260
   John Roberts, ORAL ADVOCACY AND THE RE-EMERGENCE OF A SUPREME COURT BAR, 30 J. SUP. CT. HIST. 68 , 77
(2005).

                                                       44
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instructors, 261 has made similar comments in public going so far as to argue that "appellate
advocacy is specialized work ... draw[ing] upon talents and skills which are far different from those
utilized in other facets of practicing law. " 262 Thus, the fact that one is "a good trial lawyer does
not mean that [she or he] will be a qualified appellate advocate." 263 Perhaps the most influential
reason for this development in the Lone Star state has been demand from Attorneys General John
Cornyn, Greg Abbott, and Ken Paxton for staff with substantial experience in handling high-stakes
appeals, 264 strategic appellate litigation and amicus brief filing in courts beyond the Red and
Texarkana Rivers, and a perceived need to present consistent positions before the various Texas
Court of Appeals, the Texas Supreme Court, the Texas Court of Criminal Appeals, and the Fifth
Circuit. To give the reader a taste of the expansive nature of OSG' s litigation docket, the Office
has represented the interests of Texas before the United States District Court for the District of
Columbia,265 the Seventh Circuit, 266 the D.C. Circuit,267 and even the North Dakota Supreme
Court. 268 Courts across the nation have also recognized OSG's reputation for exemplary work by
inviting the Office to participate in pending cases. Of particular note here is the Supreme Court's
2009 invitation to Solicitor General Ted Cruz to express the views of Texas alone in Medellin v.
Texas, a case involving whether the ICJ's ex post determination that an arrested murderer and
rapist was entitled to embassy notification under the Vienna Convention on Consular Relations
could void the rapist's conviction and subsequent death penalty sentence. While it is customary
for the Court to regularly call upon the U.S. Solicitor General to express her views on such matters
(known as a 'CVSG' among appellate practitioners) and, it at least used to be customary for the
Court to invite the states as a group to express their views, 269 this is the only recorded instance in
which a single state has been invited to file. 270 The Texas Supreme Court and Fifth Circuit have
entered similar invitations. 271
        The Texas Office of the Solicitor General (or OSG as agency insiders refer to the
establishment)272 can be traced back to Dan Morales' 1993 order creating the 'State Solicitor'
position within the Texas Attorney General's Office. The position was abolished in 1995 but the

261
    Ruggero Aldisert, WINNING ON APPEAL: BETTER BRIEFS AND ORAL ARGUMENT (1992).
262
    Id. at 3.
263 Id.
264
    James Ho, The Office of the Solicitor General: Ten Years of Representing Texas Interests, TEXAS APPELLATE
ADVOCATE 104 (2009).
265
    Newdow v. Roberts, 2009 WL 10695674 (D.D.C. 2009).
266
    Sherman v. Koch, 623 F. 3d 501 (7th Cir. 2010).
267
    Seegars v. Gonzalez, 396 F.3d 1248 (D.C Cir. 2005); Parker v. District of Columbia, 478 F.3d 370 (D.C. Cir.
2007).
268
    Hansen v. Scott, 687 N.W.2d 247 (N.D. 2004).
269
    During the mid-twentieth century, the several states, for instance, were invited to participate as a group in Brown
v. Board ofEducation of Topeka, 347 U.S. 483 (1954); Brown v. Board ofEducation of Topeka, 349 U.S. 294 (1955);
Milne v. Milne, 381 U.S. 948 (1965); Younger v. Harris, 401 U.S. 37 (1971); Brandenburg v. Ohio, 395 U.S. 444
(1969); Reed v. Reed, 404 U.S. 71 (1971); South Carolina v. Katzenbach, 383 U.S. 301 (1966).
270
    James Ho, The Office of the Solicitor General: Ten Years of Representing Texas Interests, TEXAS APPELLATE
ADVOCATE (2009).
271
    See, e.g., Order, State of Texas v. $281,420.00 in U.S. Currency, No. 08-0465 (Tex. Dec. 19, 2008); Order, In re
J.O.A., 283 S.W.3d 336 (Tex. Mar. 27, 2009); Order, in re Memorial Hermann Healthcare Sys., No. 08-1046 (Tex.
Sept. 25, 2009); Order, City of Dallas v. VSC, LLC, No. 08-0265 (Tex. June 5, 2009); Order, City of Dallas v. Stewart,
No. 09-0257 (Tex. Nov. 20, 2009); Perez v. Region 20 Education Service Center, 307 F.3d 318 (5th Cir. 2002);
Rothgery v. Gillespie County, 491 F.3d 293 (5th Cir. 2007).
272
    James Ho, The Office of the Solicitor General: Ten Years of Representing Texas Interests, Texas Appellate
Advocate (2009).

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original office occupant, Max Renea Hicks, was followed by two state attorneys, Javier Guajardo
and Jim Todd, and continued to coordinate appellate litigation for the State. In 1999, after John
Cornyn retired from Seat Seven on the Texas Supreme Court, he created the OSG. 273 The OSG
performs three essential duties for the State of Texas. First, the office supervises all appellate
litigation for the Attorney General and, much like the U.S. Solicitor General for litigation involving
the national government, 274 approves all civil and criminal appeals in state and federal courts
involving the state, its agencies, and its officials. While the majority of the state's appeals in the
various Texas Court of Appeals are handled by the able lawyers in the trial divisions of the
Attorney General's Office, OSG provides input on the arguments that are made on the appellate
level, edit briefs written by trial division attorneys, and moot advocates. Second, OSG attorneys
personally handle those matters that are determined to be of overriding significance. To take just
a few example, Solicitors General Greg Coleman, Ted Cruz, James C. Ho, Jonathan Mitchell, and
Scott Keller have argued in cases involving the status of state procedural defaults under
international law, 275 the constitutionality of state and federal legislative districts that are based on
total citizen (as opposed to resident) population, 276 certificates of appealability under AEDP A, 277
and the Religious Land Use and Institutionalized Persons Act278 before the Supreme Court. OSG
has also been party to high profile appeals involving the University of Texas' pre-2000 affirmative
action prograrn, 279 UT's top-ten percent plan, 280 Ralph Nader's challenge of the Texas Election
Code's signature and filing requirements, 281 a facial challenge to Indiana's 2005 voter
identification statute, 282 the defense of a three drug lethal injection protocol, 283 the defense of
capital punishment for child rape, 284 the proper standard for determining inmate mental capacity, 285
Batson challenges, 286 the adequacy of state jury instructions in capital cases, 287 the Ex Post Facto
Clause, 288 the Prison Litigation Reform Act, 289 the Twenty-First amendment and dormant
commerce clause, 290 Native American gambling operations, 291 ERISA preemption, 292 the Texas
Open Meetings Act, 293 the Texas Public Information Act, 294 state sovereign irnrnunity, 295 the Texas

273
    Ryan J. Owens & Patrick C. Wohlfarth, State Solicitors General, Appellate Expertise, and State Success Before
the U.S. Supreme Court, 48 LAW & Soc'y REV. 657 (2014) .
274
    Drew Days III, No Stripped Pants and Morning Coat: The Solicitor General In The State And Lower Federal
Courts, 11 GA. ST. L. REV. 645 (1995).
275
    Medellin v. Texas, 552 U.S. 491 (2008).
276
    Evenwel v. Abbott, 578 U.S. _ (2016).
277
    Gonzalez v. Thaler, 565 U.S. 134 (2012).
278
    Sossamon v. Texas, 563 U.S. 277 (2011).
279
    Hopwoodv. Texas, 78 F.3d 932 (1996).
 °
28
281
    Fisher v. Univ. of Texas at Austin, 136 S. Ct. 2198 (2016).
    Nader v. Connor, 332 F. Supp. 2d 982 (W.D. Tex. 2004) affd, 388 F.3d 137 (5th Cir. 2004) (per curiam).
282
    Crawfordv. Marion County Election Board, 553 U.S. 181 (2008).
283
    Baze v. Rees, 553 U.S. 35 (2008).
284
    Kennedy v. Louisiana, 554 U.S. 407 (2008).
285
    Panetti v. Quarterman, 551 U.S. 930 (2007).
286
    Thaler v. Haynes, 559 U.S. 43 (2010).
287
    Smith v. Texas, 550 U.S. 297 (2007).
288
    Carmell v. Texas, 529 US 513 (2000).
289
    United States v. Ruiz, 536 U.S . 622 (2002)
290
    Siesta Village Market LLC v. Steen, 595 F.3d 249 (5th Cir. 2010).
291
    Kickapoo Traditional Tribe of Texas v. Texas, 129 S.Ct. 32 (2008).
292
    Aetna Health Inc. v. Davila, 542 U.S. 200 (2004)
293
    Rangra v. Brown, 566 F. 3d 515 (5th Cir. 2009).
294
    Abbottv. City of Dallas, 453 S.W.3d 580 (Tex. App. 2014).
295
    Tooke v. Mexia, 197 S.W.3d 325 (Tex. June 30, 2006).

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Transportation Code, 296 the Texas Pledge of Allegiance, 297 tort reform, 298 and state antitrust
settlements. 299 Finally, OSG advises the Attorney General and other attorneys within the agency
on complex constitutional and legal questions. It should be noted, though, that the Opinions
Committee overseen by the Deputy Attorney General for Legal Counsel, not the OSG, issues
formal written opinions on the Attorney General's behalf.
         Skeptics might contend that this proscription will not be as effective as it could be because
of recent amicus brief filing trends at the Court. 300 Indeed, experienced members of the Supreme
Court Bar routinely consent to amicus brief filings in their cases and, even in those instances,
where consent is withheld, the Court often grants motions for leave to file, with the effect of
"permitting essentially unlimited numbers of filings of amicus briefs in argued cases." 301 This
problem is compounded by the fact that states used to file as amici in cases before the Court en
mass rather than as one unit. 302 State amicus briefing may also suffer from reliance on authorities
that were created in anticipation of litigation. This conduct is particularly problematic because
federal courts do not tolerate it elsewhere as Evidence Rule 803(6) discounts business records
created in anticipation of litigation as they are presumed to inaccurately reflect firm activities.
While manufacturing factual records in collusive cases has been a regular activity since the
Marshall Court, 303 the problem has been exacerbated by the internet. As Allison Larson, Michael
Rustad, and Thomas Koenig have highlighted, this problem is acute in matters involving "junk
social science" where "empirical findings [are] presented to the Justices by amici ... [and] have the
aura of social science but do not follow the scientific truth-seeking norms that regulate valid
research. " 304 This development, though, is not much of a surprise because members of the Supreme
Court bar maintain close relationships with repeat-player institutional amici and amici often cite
to studies that they have funded or conducted themselves. 305 Amicus representation at the Court
has also suffered from briefing presenting minority positions in social science or hard science
fields. This conundrum has been complicated by the fact that groups claiming no expertise on the
relevant factual subjects have nonetheless been submitting these factual authorities to the Court.
       A skeptic might reply that these problems are much ado about nothing because the
adversarial system provides enough checks on misinformation. The theory here is that because
amicus briefs at the merits stage are due seven days after the brief for the litigant the amicus


296
    Texas Department of Transportation v, City of Sunset Valley, 146 S.W.3d 637 (Tex. 2004).
297
    Elk Grove Unified School Dist. v. Newdow, 542 U.S. 1 (2004).
298
    Watson v. Harris County Hospital Association, No. 2:08CV8 l (E.D. Tex. 2008).
299
    In re Lease Oil Antitrust Litigation, 570 F.3d 244,251 (5th Cir.2009).
300
    Joseph Kearney and Thomas Merrill, The Influence ofAmicus Briefs on the Supreme Court, 148 U. PENN. L.
REV. 743 (2000).
301 Id.
302
    Cornell W. Clayton; Jack McGuire, State Litigation Strategies and Policymaking in the US. Supreme Court, 11
KAN. J.L. & PUB. POL'Y 17, 23 (2001).
303
    Griswold v. Connecticut, 381 U.S. 4 79 (1965).
304
    Allison Orr Larsen, The Trouble with Amicus Facts, 100 Va. L. Rev. 1757 (2014).
305
     Marc Galanter, Why the "Haves" Come out Ahead: Speculations on the Limits ofLegal Change, 9 LAW & SOCIETY
REVIEW 95 (1974);; see also Brief for the Generic Pharmaceutical ass'n as Amicus Curiae Supporting Respondents,
FTC v. Actavis, Inc., 133 S. Ct. 2223 (2013); Brief of the National Venture Capital Ass'n as Amicus Curiae in Support
of Respondent, Ass'n for Molecular Pathology v. Myraid Genetics, 133 S. Ct. 2107 (2013); Brief of the National
Ass'n of Criminal Defense Lawyers as Amicus Curiae in Support of Petitioners Supporting Reversal, Smith v. United
States, 133 S. Ct. 714 (2013).

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supports is filed, there will be sufficient incentive to call attention to the error. 306 Murphy's Law,
though, suggests otherwise. Indeed, most appellate advocates would at least think twice about
drawing attention to a brief with data that ostensibly supports the other side, especially when it
might have been unread, in the hopes that the Justices would agree with a methodological critique
of a study cited in the brief and disregard it altogether. 307 More than that, given that information
from amici is presented after the record is closed, briefing provides the only check for incorrect
factual citations. The low response rate to these errors are indicative of the adversarial system's
failure.
         This problem could be combated in a number of ways. One set of solutions would focus
on limiting the number of briefs purporting to provide expert testimony by restricting the number
of amicus briefs with new extra-record factual information. Indeed, District Courts routinely
engage in this practice under Federal Rule of Evidence 702, which declares that any proffered
testimony on scientific, technical, or specialized knowledge must be based on sufficient facts or
data, be the product of reliable principles and methods, and result from a consistent application of
principles and methods to the facts of the case. 308 If that option proved unsatisfactory, the Court
could instead decline to accept any amicus brief filed with factual claims that were not backed
with an explanation of the data methods; require that statements be supported with publicly
available data (rather than emails or articles that are ostensibly on file with the author but closed
to scrutiny by the Justices); permit parties to respond to unreliable facts in amicus briefs; or as
former Seventh Circuit Judge Richard Posner has done, scold amici in opinions for unreliable
statements. 309 Yet another suggestion flows from an analogy to the Federal Rules of Evidence.
Under Evidence Rule 704, there are strict limits on expert witnesses offering opinions on the law
or generally opining on the case's outcome. 310 The theory here is that the commentary detracts
from the status of the expert as a neutral advisor. In a similar vein, the Court, borrowing a move
from the Second Circuit, could impose a rule forbidding any amicus brief presenting factual claims
from adding any additional legal argument. 311 The reform could potentially improve amicus brief
accuracy by discouraging state advocacy groups from making stretch factual claims beyond their
institutional capacity and facilitating more scrutiny for fact-checking among the Justices and their
clerks. Third, the Court could make a point of ensuring that factual questions relevant to the case
were disclosed in the certiorari grant - especially if a field of professionals who are
underrepresented as amici before the Court such as scientists possess expertise over the matter. 312
The Court, for instance, could appoint an amicus to brief the fact it is more interested in learning
about, appoint a special master to hear the submitted views and screen out factual claims as it does




306
    See Sup. Ct. R. 37(3)(a).
307
    Stephen M. Shapiro, Kenneth S. Geller, Timothy S. Bishop, Edward A. Hartnett, and Dan Himmelfarb, SUPREME
COURT PRACTICE (2013).
308
    Fed. R. Evict. 702.
309
    Ryanv. Commodity Futures Trading Commission, 125 F. 3d 1062 (CA7, Posner, J., in chambers, Sept. 16, 1997).
31
  °
311
    Fed. R. Evid. 704.
    See Hygh v. Jacobs, 961 F.2d 359,364 (2d Cir. 1992); Andrews v. Metro N Commuter R.R., 882 F.2d 705 (2d
Cir. 1989); FAA v. Landy, 705 F.2d 624 (2d Cir. 1983).
312
    See, e.g., Stephanie Tai, Friendly Science: Medical, Scientific, and Technical Amici Before the Supreme Court,
78 WASH. U. L.Q. 789 (2000).

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for the very few cases arising under its originaljurisdiction, 313 or simply inform the bar of its desire
through the certiorari grant.
         A different but related concern focuses on the rise of brief ghosting writing by, and
collusion with, other parties. The Court, though, has ample tools to deal with this concern as well.
Indeed, Supreme Court Rule 37.6 normally requires amicus briefs to indicate whether the counsel
of record authored the brief in whole or part, whether she or he funded "the preparation or
submission of the brief," and to identify every individual or entity that also made financial
contributions in the "first footnote on the first page" of the brief. 314 States, however, are currently
exempted from this requirement. There is no reason, however, why the Court couldn't simply
amend the provision to police interest group ghost writing or payments that are, rightly or wrongly,
understood to influence brief credibility. This reform, among other things, would provide states
with an incentive to keep amicus deliberations and preparations within their offices where
institutional constraints are more likely to align with state interests.
                                                  CONCLUSION
        Texas is an exceptional State in an exception nation. The reasons for this were laid out by
Justice Brandeis nearly a century ago in Whitney v. California as . "those who won our
independence" both at Yorktown and San Jacinto knew "that it is hazardous to discourage thought,
hope and imagination; that the path of safety lies in the opportunity to discuss freely supposed
grievances and proposed remedies, and that the fitting remedy for evil counsels is good ones .. " To
be sure these words were uttered in the context of a dispute concerning an individual rights claim
against the State, but the Texas Supreme Court's current pattern of embracing federal doctrine
with nary a consideration for the peculiar circumstances in which it is situated or, the fact that the
federal doctrines were crafted to facilitate State experimentation is a silence that is all the more
menacing because it "discourages" Texans from exercising the first freedom: the right to govern
themselves as "a free and independent" polity that is unencumbered by State legal rules designed
for a union of fifty different governments rather than Texas itself.




313
    Stephen M. Shapiro, Kenneth S. Geller, Timothy S. Bishop, Edward A. Hartnett, Dan Himmelfarb, SUPREME
COURT PRACTICE (2013).
314
    SUP. CT. R. 37.6.

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                                                            Appendix I

                                                                                                                           Crude Oil
        Crude Oil                                                                                                          Reserves
        Production    Daily Avg. Production                               Percent Change in   Avg. Per Well Production     as of Jan.
 Year   (Mbbl)        (Mbbl/day)              Number of Producing Wells   Production          (bbl/day)                    1 (Mbbl)


 2018     1,274,569   3,492                   187,401                     24.13%              18.63                        n/a


 2017     1,026,765   2,813                   187,139                     5.35%               15.03                        15,936


 2016     974,612     2,663                   178,927                     -3.00%              14.88                        n/a


 2015     1,004,774   2,752                   193,807                     11.58%              14.20                        13,057


 2014     900,492     2,467                   190,331                     28.07%              12.96                        14,058


 2013   703 ,119      1,926                   179,797                     31.88%              10.71                        12,004


 2012     533,141     1,457                   167,864                     35.36%              8.68                         11,101


 2011     393,880     1,079                   161 ,402                    10.36%              6.69                         8,108


 2010     356,911     978                     158,451                     3.59%               6.17                         6,356


 2009     344,527     944                     157,807                     -0.61%              5.98                         5,496


 2008     346,632     947                     156,588                     3.10%               6.07                         4,555




                                                                 50




                                                                                   I.
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                                                                                                                          Crude Oil
        Crude Oil                                                                                                         Reserves
        Production   Daily Avg. Production                               Percent Change in   Avg. Per Well Production     as of Jan.
 Year   (Mbbl)       (Mbbl/day)              Number of Producing Wells   Production          (bbl/day)                    1 (Mbbl)


 2007   336,222      921                     153,223                     -1.37%              6.01                         5,122


 2006   340,885      934                     151,832                     -0.97%              6.15                         4,871


 2005   344,226      943                     151,286                     -1.43%              6.23                         4,919


 2004   349,233      957                     151,205                     -2.24%              6.33                         4,613


 2003   357,240      979                     153,461                     -1.94%              6.38                         4,583


 2002   364,314      998                     155,865                     -3.84%              6.40                         5,015


 2001   378,849      1,038                   159,357                     -4.97%              6.51                         4,944


 2000   398,678      1,092                   161,097                     -2.00%              6.76                         5,273


 1999     406,815    1,115                   162,620                     -11.08%             6.90                         5,339


 1998     457,499    1,253                   170,288                     -6.42%              7.40                         4,927


 1997     488,860    1,339                   175,475                     -1.32%              7.60                         5,687


 1996     495,378    1,357                   175,277                     -3.24%              7.72                         5,736




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                                                                                                                          Crude Oil
        Crude Oil                                                                                                         Reserves
        Production   Daily Avg. Production                               Percent Change in   Avg. Per Well Production     as of Jan.
 Year   (Mbbl)       (Mbbl/day)              Number of Producing Wells   Production          {bbl/day)                    1 (Mbbl)


 1995   511,962      1,403                   177,397                     -5.45%              7.91                         5,743


 1994   541,482      1,486                   179,955                     -5.76%              8.26                         5,847


 1993   574,568      1,577                   186,342                     -6.22%              8.46                         6,171


 1992   612,692      1,677                   193,310                     -5.27%              8.67                         6,441


 1991     646,776    1,770                   196,292                     0.13%               9.02                         6,797


 1990   645,941      1,765                   194,962                     -0.70%              9.05                         7,106


 1989     650,514    1,784                   190,821                     -6.83%              9.35                         6,966


 1988     698,224    1,909                   196,580                     -3.70%              9.71                         7,043


 1987     725,029    1,988                   199,354                     -7.53%              9.97                         7,112


 1986     784,106    2,150                   200,055                     -5.60%              10.75                        7,152


 1985     830,597    2,281                   210,477                     -1.76%              10.84                        7,782


 1984     845,502    2,313                   207,451                     -0.42%              11.15                        7,557




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                                                                                                                           Crude Oil
        Crude Oil                                                                                                          Reserves
        Production    Daily Avg. Production                               Percent Change in   Avg. Per Well Production     as of Jan.
 Year   (Mbbl)        (Mbbl/day)              Number of Producing Wells   Production          (bbl/day)                    I (Mbbl)


 1983     849,072     2,328                   197,983                     -2.60%              11.76                        7,539


 1982     871,780     2,388                   191,319                     -2.87%              12.48                        7,616


 1981     897,573     2,459                   183,991                     -3 .60%             13.36                        8,093


 1980     931,078     2,544                   175,673                     -4.85%              14.48                        8,206


 1979     978,544     2,681                   169,826                     -6.00%              15.79                        8,284


 1978     1,040,966   2,852                   166,365                     -5.46%              17.14                        8,911


 1977     1,101,137   3,017                   163,746                     -4.58%              18.42                        9,751


 1976     1,153,941   3,153                   160,546                     -2.68%              19.64                        10,080


 1975     1,185,683   3,248                   160,603                     -3.22%              20.22                        11,001


 1974     1,225,166   3,357                   159,702                     -2.54%              21.02                        11,756


 1973     1,257,057   3,444                   159,090                     -0.50%              21.65                        12,144


 1972     1,263,412   3,452                   167,233                     6.85%               20.64                        13,023




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                                                                                                                           Crude Oil
        Crude Oil                                                                                                          Reserves
        Production    Daily Avg. Production                               Percent Change in   Avg. Per Well Production     as of Jan.
 Year   (Mbbl)        (Mbbl/day)              Number of Producing Wells   Production          (bbl/day)                    1 (Mbbl)


 1971     1,182,371   3,239                   172,696                     -2.09%              18.76                        13,195


 1970     1,207,625   3,309                   177,221                     9.08%               18.67                        13,063


 1969     1,107,146   3,033                   183,141                     1.78%               16.56                        13,809


 1968     1,087,825   2,972                   187,681                     1.30%               15.84                        14,494


 1967     1,073,848   2,942                   192,100                     7.35%               15.31                        14,077


 1966     1,000,325   2,741                   196,308                     7.24%               13.96                        14,303


 1965     932,810     2,556                   197,924                     0.45%               12.91                        14,299


 1964     928,606     2,537                   199,119                     1.44%               12.74                        14,573


 1963     915,420     2,508                   198,236                     2.39%               12.65                        14,648


 1962     894,023     2,449                   197,659                     -0.08%              12.39                        14,849


 1961     894,765     2,451                   196,396                     0.30%               12.48                        14,758


 1960     892,084     2,437                   192,627                     -5.54%              12.65                        14,859




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                                                                                                                           Crude Oil
       Crude Oil                                                                                                           Reserves
     · Production     Daily Avg. Production                               Percent Change in   Avg. Per Well Production     as of Jan.
 Year (Mbbl)          (Mbbl/day)              Number of Producing Wells   Production          (bbl/day)                    1 (Mbbl)


 1959     944,410     2,587                   188,934                     3.79%               13.69                        14,322


 1958     909,958     2,493                   182,633                     -13.99%             13.65                        14,555


 1957     1,057,997   2,899                   176,705                     -1.94%              16.41                        14,783


 1956     1,078,886   2,948                   168,930                     7.62%               17.45                        14,933


 1955     1,002,480   2,747                   158,598                     5.03%               17.32                        14,982


 1954     954,434     2,615                   149,142                     -4.61%              17.53                        14,998


 1953     1,000,545   2,741                   142,159                     -0.92%              19.28                        14,916


 1952     1,009,793   2,759                   136,398                     1.80%               20.23                        15,314


 1951     991,983     2,718                   130,309                     21.29%              20.86                        13,581


 1950     817,842     2,241                   123,271                     11.03%              18.18                        13,509


 1949 . 736,627       2,018                   115,483                     -17.54%             17.47                        12,484


 1948     893,314     2,454                   109,643                     9.45%               22.38                        11,777




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                                                                                                                          Crude Oil
        Crude Oil                                                                                                         Reserves
        Production   Daily Avg. Production                               Percent Change in   Avg. Per Well Production     as of Jan.
 Year   (Mbbl)       (Mbbl/day)              Number of Producing Wells   Production          (bbl/day)                    I (Mbbl)


 1947     816,188    2,236                   105,537                     7.98%               21.19                        11,646


 1946   755,900      2,071                   103,109                     0.65%               20.09                        11 ,470


 1945     751,045    2,058                   101,225                     1.34%               20.33                        10,835


 1944     741,126    2,025                   99,746                      26.16%              20.30                        I 1,324


 1943     587,436    1,609                   98,596                      22.94%              16.32                        I 1,545


 1942     477,828    1,309                   98,757                      -4.28%              13.25                        10,975


 1941     499,208    1,368                   98,802                      2.58%               13.85                        10,623


 1940     486,662    1,330                   95,214                      2.12%               13.97                        9,768


 1939     476,550    1,306                   89,914                      1.66%               14.52                        9,447


 1938     468,782    1,284                   85,137                      -7.37%              15.08                        6,422


 1937     506,067    1,386                   77,565                      20.84%              17.87                        6,010


 1936     418,776    1,144                   68,054                      11.49%              16.81                        5,500




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                                                                                                                                                      Crude Oil
           Crude Oil                                                                                                                                  Reserves
           Production       Daily Avg. Production                                          Percent Change in        Avg. Per Well Production          as of Jan.
    Year   (Mbbl)           (Mbbl/day)              Number of Producing Wells              Production               (bbl/day)                         1 (Mbbl)


    1935   375,617           1,029                  59,461                                                          17.31




                                                                    Appendix II
                                TOTAL OIL PRODUCTION (Ban-els; includes Crude Oil and Condensate)                                                         I
    MONTH                   2013            2014                2015       I       2016              2017                   2018               2019
   JANUARY               70,389,862      88, 184.,951    106,430,414       l     103,221,974       98,832,934          119,146,904     * 109,324,168
  FEBRUARY               65,307,192      81,161,303      99,249,640              95_,511,793       92,352,860          110,624,811
    MARCH                73,974_,640     91,784,947      111,751,958             100,795,371      102,458,086          126,752,515
I APRJL                  72,728,627      91,472,560      106,690,777             96,366,141        99,363,039          124,019,080
I     MAY            I   7J,387,599      95,141,780      108,410,874             97,821,347       105,188,727          127,750,854
      JUNE               76,016,307      94,326,889      103,257,049             93,925,827       102,657,016          127,486,161
      JULY               80,104,720      99,677,998      106,351,981             97,048,490       106_., 690,695       130,896,160
    AUGUST                81,145,372     101,320,503     105,301 469             96,981 ,915      103,655,785          132,255,311
  SEPTEMBER          I    80,081,193     98,435,217      101,893,334             93,394,165       105,599,467          129,358,872
   OCTOBER                83,437,832     103,907,879     104,724,393             97,607,824       115,426,253          130,758,505                        I
  NOVEMBER                80,853,978     103,267,671     101,143,026              94,713,837      l 15_., 232,587      122,753,754
  DECEMBER                86,238,457     109,668,841     102,554,033              97,949,036      120,433,982          123,624,465
    ANNUAL               927,665,779    1,158,350,539 1 1,257,759,008           1,165,343,720    1,267,891,431        1,505,427,392
I    TOTAL


I                    TOTAL NATURAL GAS PRODUCTION (MCF, includes Gas Well Gas and Casffi$head Gas)
i     MONTH                 2013             2014               2015                2016              2017                  2018               2019
     JANUARY             689,606,267     702,890,851         746,296,987        714,412,898       653,253,467          699,468,584      679,550,371
    FEBRUARY             630,037,438     637,549,094         685,985,260        671,225,030       605,077,183          650,827,479
      MARCH              702,013,642     722,331,694         762,917,457        713,938, 165      666.,873 ,634        733,852,830

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                                                                                                                                                   -
   APRIL  I 684,439,214           713,889,454         741-.,845,766         685,749,892    I    651,123,516         716,457,943
    MAY     714,481,165           745,803,909         759,720,229           705,196,352         682,939,803         755,441,365
    JUNE    694387.106            726,205,334         732,938,127           681,500,728         666,953,721         736,473,267
    JULY    718,075,326           749,059,150         759,338,461           696,848,205         697,566,269         762,940,418
  AUGUST    719,351,370           755,100,023         754,661 ,181          692,648,065         680,258,596         771,091,687
 SEPTEMBER 695,629,503            724_,572,217        730,172,608           659,690,760         670,294,749         744_,692,325
  OCTOBER   719,788_,421          755,318,323         745,157,455           679,336,796         712,261,271         755,427,176
 NOVEMBER   685,071,863           731,230,129         715_,960,414          649,066,106         699,590,282         720,407,243
 DECEMBER   696,372,118           770,689,437         723,731,905           654,312,369         717,307,159         730,282,186
  ANNUAL   8,349,253,433         8,734,639,615       8,858, 725,850        8,203,925,366       8,104,099,650       8,777,362,503    679,550,371
   TOTAL


                                 TOTAL CRUDE OIL PRODUCTION (measured in barrels)
   MONTH          2013                2014         2015           2016         2017                                     2018            2019
  JANUARY     59,013,475          74_,510,672  90,315,435     88,918,117   86,705,477                               103,990,663     * 96,064,595
 FEBRUARY     54,887,618           68,710,680  84,535,271     82,422,997    81,256,151                               96,747,354
   MARCH      61 ,933,783          77,744,773  95,356,097     87~008,780   90,501,499                               110_,609,793
    APRIL      61,005,704         77,365,246   91 ,045,454    83,083,641    87,603,862                              108,276,215
    MAY        65,024,_669         80,422,718  92,200,695     84,321 ,718  92,857,373                               111__,719,392
    JUNE       64,195,092          80,385,946   88,343 ,333   81,132,527   90,653,160                               111,765,936
    JULY       67,898~603          84,755.118  91,261.976     84_.220,871  93_,660,015                              114,458,898
   AUGUST      69,010,889          86,398,557  90,417,960     83,841 ,469  90,976,872                               116,255,573
 SEPTEMBER     68,036,771          84,436,665   87,648,814    81 ,033,576  92,061,920                               113,776,113
  OCTOBER     70,314,436           88,470,519   89,922,549    85,032,414   99,989,942                               114,688,399
 NOVEMBER      68,346,873          87,923,182   86,720,797    82,793,460   100,400,818                              107,465,913
 DECEMBER      72,737,651          92,997,807   88,112,275    85,893,473 l 104,933,766                              108,223,309
  ANNUAL      782,405,564         984,121,883 1,075,880,656 1,009,703,043 1,111,600,855                            1,317,977,558    96,064,595
   TOTAL


                    CONDENSATE (condensateJJJ."_O_!).uction from gas wells, measured in barrels)
   MONTH         2013        I       2014        I       2015         I        2016        l       2011        I       io1s            2019

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   JANUARY          11,376J87          13,674,279        16,115,039         14J09,857       I   12,127,457          15,156,241        * 13,259,573
  FEBRUARY           10,419,574         12,450,623        14,714,369         13,088,796          11,096,709         13,877,457
    MARCH            12,040,857         14,040,174        16,395,861         13,786,591          11..,956,587       16,142,722
     APRIL           11,722,923         14,107,314        15,645,323         13,282,500     I    11,759,177     I   15,742,865                       I
      MAY           12,362,930         14,719,062    I    16,210,179         13,499,629         12,331,354      I   16,031,462                       I
      JUNE          11,821..,215   I    13,940,943   I    14,913,716         12,793,300          12,003,856         15,720,225
      JULY           12,206,117         14,922,880        15,090,005   l     12,827.,_619        13,030,680          16,437,262                      I
    AUGUST           12,134,483         14,921,946        14,883,509         13,140,_446         12,678,913          15,999,738
  SEPTEMBER          12,044,422    I    13,998,552        14,244,520         12,360,589          13,537,547          15,582,759
   OCTOBER           13,123,396         15,437,360        14,801,844   I     12,575,410          15,436,311          16,070,106
  NOVEMBER           12,507,105    I    15J44,489         14,422,229         11,920J77           14,831,769          15,287,841
  DECEMBER           13,500, 806        16,671,034        14,441,758   I     12.,_055,563        15,500,216          15,401,156
    ANNUAL      I   145,260,215        174,228,656       181,878,352        155,640,677         156,290,576         187,449,834       13,259,573
I    TOTAL


I                        GAS WELL GAS (natural gas production from gas wells, measured in MCF)
      MONTH          2013          2014          2015           2016           2017            2018           2019
     JANUARY      571A51,210    553,140.,_275 562,328,711   510,413,005     450,867,586     466,886,011 t * 439,864,494
    FEBRUARY      520,072,502   498,474,719   508,769,539   478,602,109     414,825,809     431,057,598
      MARCH     I 511,263,910   560,292,982   561,659,662   506,790,758     454,343,153     482,109,862
       APRIL      558,327,639   550,975,696   541,145,493   487,773,323     443,585,759     467,684,324
        MAY     l 580,066,898 573,927,811 551,403,271 501,820,663 460,554,236 492,113,062 I
        JUNE      562,197,560   554,181,433   529,124,219   482,247,642     448,918,510     477,354,902
        JULY      579,024,616   568,280,014   545,678,209   489,830,251     469,786,144     493,226,706
      AUGUST      577,074,794   568,934,080   541,293,112   486,709,591     458,248,762     495,574,6o3 I
    SEPTEMBER     553,932,220   543,287,029   520,923,126   462,284,741     450,873,178     473,159,636
     OCTOBER      575,238,810   566,538,755   532,682,605   474,028,045     476,267,695     481,184,196
    NOVEMBER      546,239,724   550,131,353   513,994,182   451,133,537     467,272,212     460,261,424
    DECEMBER      551,986,540   576_,866,146  518,977,754   454,136,191     480,014,560     468,735,121
      ANNUAL     6,752,876,483 6,665,030,293 6,427,979,883 5,785,769,856 ] 5,475,557,604 1 5,689,401,445   439,864,494            I
       TOTAL


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                 CASINGHEAD GAS (casinehead eas production from oil wells, measured in MCF)
   MONTH         2013          2014     I    2015           2016          2017            2018             2019
  JANUARY     118,155,057   149,750,576   183,968,276   203,999,893   202__,3 85_,881 232,582,573      * 239,685,877
 FEBRUARY     109,964,936   139,074,375   177,215,721   192,622,921   190,251,374     219_, 769,881
   MARCH      124,749~672   162,038,712   201,257,795   207,147,407   212,530,481     251,742,968
    APRIL     126,111,575   162,913,758   200,700,273   1971976,569   208,137,    757 248,773,619
     MAY      134,414,267   171,876,098   208,316,958   203,375,689   222,385,567     263,268,303
     JUNE     132,189,546   172,023,901   203,813,908   199,253,086   218,035,211     259__, 118,365
     JULY     139,050~710   180,779,136   213,660,252   207,017,954   227,780,125     269,713,712
   AUGUST     142,276,576   186,165,943   213,368,069   205,938,474   222,009,834     275,517,084
 SEPTEMBER    141,697,283   181,285,188   209,249,482   197,406,019   219,421,571     271,532,689
  OCTOBER     144,549,611   188,779,568   212,414,850 I 205 308,151   235,993__,576   274,242,980
 NOVEMBER     138,832)39    181.098~776   201,966,232   197,932,569   232,318,070     260,145,819
 DECEMBER     144,385,578   193,823,291   204,754,151   200,176_,178  237,292,599     261 ,547,065
   ANNUAL    1,596,376,950 2,069,609,322 2,430,745,967 2,418,155,510 2,628,542,046 3,087,955,058       239,685,877
    TOTAL




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